Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 1 of 255 PageID #: 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF KENTUCKY
                            PADUCAH DIVISION

LWD PRP GROUP,                          )
                                        )
      Plaintiff,                        )
                                        )
               v.                                           5:12CV-127-R
                                        ) Civil Action No. ___________
                                        )
ACF INDUSTRIES LLC; ACCENT STRIP, INC.; ) ELECTRONICALLY FILED
ADENA HEALTH SYSTEM; ADVANCE            )
PROCESS SUPPLY CO.; ADVANCED            )
RESOURCE RECOVERY, LLC; AERO-MARK, )
INC.; AGI-SHOREWOOD; AIRPORT            )
TERMINAL SERVICES, INC.; ALAMCO         )
WOOD PRODUCTS, LLC; ALL AMERICAN        )
GROUP, INC.; ALL WASTE, INC.;           )
ALLEGHENY COUNTY, PENNSYLVANIA;         )
ALLEGHENY TECHNOLOGIES, INC.;           )
ALLIANCE RESOURCE PARTNERS, LP;         )
ALSCO INC.; AMERICAN GREETING CORP.; )
AMETEK, INC.; AMLI RESIDENTIAL          )
PROPERTIES; AN-KOR RACK CO., INC.; THE )
ANDERSONS, INC.; ANDOVER COILS, LLC;    )
APEX OIL COMPANY, INC.; ARELCO          )
PLASTICS FABRICATING CO.; ARMS          )
EQUIPMENT, INC.; ARTISTIC FINISHES,     )
INC.; ATKORE INTERNATIONAL, INC.; AVX )
CORPORATION; B-B PAINT CORP.; B.H.      )
BUNN CO.; B&B ROOFING &                 )
CONSTRUCTION; BASS PRO SHOPS, INC.;     )
BATTS, INC.; BELL AND HOWELL, LLC;      )
BEMIS COMPANY, INC.; BIPACCO            )
COATINGS, LLC; BLAIN SUPPLY, INC.; BLUE )
BIRD CORPORATION; BMO HARRIS BANK       )
N.A.; BPS, INC.; BRECKINRIDGE-GRAYSON   )
COUNTY, KENTUCKY; BUNTON SEED CO.;      )
BUTLER TOOL, INC.; C&R AG SUPPLY, INC.; )
CAA OF INDIANA, INC.; CARBOLINE         )
COMPANY; CARMAN CLEANERS; CASTLE        )
METAL FINISHING CORP.; CATALENT, INC.; )
CENTRAL ILLINOIS PUBLIC SERVICE         )
COMPANY; CFPG LTD.; CHATTEM             )
CHEMICALS, INC.; CHEM GROUP, INC.;      )
CHEM PROCESSING, INC.; CHICAGO PARK     )
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 2 of 255 PageID #: 2




DISTRICT; CITY OF BOWLING GREEN,             )
KENTUCKY; CITY OF CEDAR RAPIDS,              )
IOWA; CITY OF KEOKUK, IOWA; CITY OF          )
LOUISVILLE, KENTUCKY; CLINTON                )
ELECTRONICS CORP.; CLONDALKIN                )
GROUP INC.; CM PACKAGING GROUP LLC;          )
CNA INTERNATIONAL INC.; COLUMBIA             )
COUNTY, NEW YORK; COLUMBIA GULF              )
TRANSMISSION COMPANY; COMMERCE               )
HOLDING CO., INC.; COMMERCIAL                )
VEHICLE GROUP, INC.; CONSOLIDATED            )
GRAPHICS, INC.; CONTINENTAL AG;              )
CONTINENTAL MOTORS, INC.; COOPER US,         )
INC.; CORNETT MACHINE SHOP, INC.;            )
CUPPLES PRODUCTS CO.; CURTIS-TOLEDO,         )
INC.; CURWOOD, INC.; CUSTOM                  )
AGRICULTURE FORMULATORS, INC.;               )
DAHLSTROM DISPLAY, INC.; DANAHER             )
CORP.; DARAMIC LLC; DAYCO PRODUCTS,          )
LLC; DAYTON SUPERIOR CORP.; DECOART,         )
INC.; DEL-HOMES, INC.; DELAWARE              )
TERMINAL CO.; DES MOINES AREA                )
COMMUNITY COLLEGE; DEWITT                    )
BARRELS, INC.; DIAMOND PACKAGING             )
CORPORATION; DIS-TRAN WOOD                   )
PRODUCTS; DISTTECH, INC.; DOMINION;          )
DORIC PRODUCTS, INC.; DRESSER                )
INDUSTRIES INC.; DRIV-LOK, INC.; DRIVE       )
SOURCE INTERNATIONAL, INC.; THE              )
DUROX CO.; E.D. ETNYRE & CO.; EASTON-        )
BELL SPORTS, INC.; ECKO PRODUCTS             )
GROUP, LLC; ECONOMY BOAT STORE;              )
EFTEC NORTH AMERICA LLC; EGGERS              )
INDUSTRIES, INC.; 1883 PROPERTIES, INC.;     )
ELECTRIC ENERGY, INC.; ELECTROLUX            )
NORTH AMERICA, INC.; EMC                     )
CORPORATION; ENVIRONMENTAL                   )
COATINGS, INC.; ENVIRONMENTAL                )
SERVICES OF NORTH AMERICA, INC.;             )
ESTRON CHEMICAL, INC.; EVANITE FIBER         )
CORPORATION; EVANS TEMPCON, INC.;            )
EXCEL TSD, INC.; EXIDE TECHNOLOGIES;         )
FANNIN COUNTY, TEXAS; FANSTEEL, INC.;        )
FARRELL-CALHOUN PAINT, INC.; FAYETTE         )
COUNTY SCHOOLS, KENTUCKY; FIBA               )
TECHNOLOGIES, INC.; FILER AUTO BODY,         )



                                      2
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 3 of 255 PageID #: 3




INC.; FILTER SYSTEMS, INC.; THE              )
FINISHING COMPANY; FLEET IMAGE OF            )
LANSING, INC.; FORTUNE BRANDS HOME &         )
SECURITY, INC.; FOX VALLEY SYSTEMS,          )
INC.; FREEHOLD CARTAGE, INC.; FRESH          )
MEADOWS-NEW YORK DRY CLEANERS;               )
THE GATES CORPORATION; GENERAL               )
LOOSE LEAF BINDERY CO.; GEORGIA              )
WORLD CONGRESS CENTER; GORDON                )
SMITH & CO.; GRAFTOBIAN LTD.; GREAT          )
DANE L.P.; GREENLEE DIAMOND TOOL             )
CO.; GREENWAY ENVIRONMENTAL, INC.;           )
GRUP ANTOLIN NORTH AMERICA, INC.;            )
HANNAH MARITIME CORP.; HARDINGE              )
INC.; HAS COMPLETION CENTER, INC.;           )
HAWKINS, INC.; HEARTH & HOME                 )
TECHNOLOGIES, INC.; HEICO                    )
CORPORATION; HERITAGE                        )
ENVIRONMENTAL SERVICES, INC.;                )
HERITAGE TRANSPORT, LLC; HEXCEL              )
CORP.; HEYMAN PROPERTIES; HILLAERO           )
MODIFICATION CENTER; HINKLE CHAIR            )
CO., INC.; HOGE LUMBER CO.; HOLLISTER        )
INCORPORATED; HORNING WIRE                   )
CORPORATION; HOUGHTON                        )
INTERNATIONAL, INC.; HOUSING                 )
AUTHORITY OF HOPKINSVILLE,                   )
KENTUCKY; HSBC NORTH AMERICA                 )
HOLDINGS, INC.; HUGHES PARKER                )
INDUSTRIES, LLC; HURST CHEMICAL              )
COMPANY; HUSCO INTERNATIONAL, INC.;          )
HYDE PARK ONE HOUR MARTINIZING;              )
ILLINOIS DEPARTMENT OF AGRICULTURE;          )
ILLINOIS DEPARTMENT OF CORRECTIONS;          )
ILLINOIS DEPARTMENT OF                       )
TRANSPORTATION; ILLINOIS STATE               )
UNIVERSITY; INSULATED ROOFING                )
CONTRACTORS; THE INTERPUBLIC GROUP           )
OF COMPANIES, INC.; IOWA PRECISION           )
INDUSTRIES, INC.; IPC GLOBAL                 )
SOLUTIONS; IRWIN SEATING CO.; J.C.           )
BAKER & SON, INC.; JAMES MARINE, INC.;       )
JARDEN CORPORATION; JEFFERSON                )
COUNTY PUBLIC WORKS; JMC STEEL               )
GROUP; KELLWOOD CO.; KEMPEN PAINT            )
CO.; KENTUCKYONE HEALTH, INC.;               )



                                      3
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 4 of 255 PageID #: 4




KRAUTH ELECTRIC CO.; LAUREL                  )
MOUNTAIN WHIRLPOOLS, INC.; LBC               )
HOUSTON, LP; LEEDS SEATING COMPANY;          )
LEON PLASTICS, INC.; LONE STAR               )
INDUSTRIES, INC.; LONGABERGER CO.;           )
LOUISVILLE & JEFFERSON COUNTY M.S.D.;        )
M.C. CHEMICAL COMPANY; MACON                 )
RESOURCES, INC.; MADISONVILLE AUTO           )
PARTS, INC.; MALTA WINDOWS & DOORS;          )
MARCHEM CORPORATION; MARINETTE               )
MARINE CORPORATION; MATHEWS                  )
MARBLE MANUFACTURING, INC.;                  )
MCLAUGHLIN BODY COMPANY; THE                 )
MCPHERSON COMPANIES; MEGAFAB, INC.;          )
MEI LLC; MEREDITH CORPORATION;               )
MERIDIAN AUTOMOTIVE SYSTEMS, INC.;           )
METAL FORMS CORP.; MEYER STEEL               )
DRUM, INC.; MICHIGAN DEPARTMENT OF           )
CORRECTIONS; MICROBAC                        )
LABORATORIES, INC.; MID-VALLEY               )
PIPELINE CO.; MID-WESTERN                    )
COMMERCIAL ROOFERS, INC.; THE                )
MIDDLEBY CORPORATION; MITSUBISHI             )
MOTORS NORTH AMERICA, INC.; MOEN             )
INCORPORATED; MOTION INDUSTRIES,             )
INC.; MOTOR CASTINGS CO., INC.;              )
MOUNTAINEER GAS CO.; MURRAY                  )
EQUIPMENT INC.; NAGLE PUMPS, INC.;           )
NATIONAL DETROIT, INC.; NATIONAL             )
RAILWAY EQUIPMENT CO.; NAUTILUS,             )
INC.; NEW JERSEY DEPARTMENT OF               )
TRANSPORTATION; NILFISK-ADVANCE,             )
INC.; NITTO DENKO AMERICA, INC.;             )
OAKDALE CONSTRUCTION CO.; OHIO               )
DEPARTMENT OF REHABILITATION AND             )
CORRECTIONS; OHIO DEPARTMENT OF              )
TRANSPORATION; OSRAM SYLVANIA                )
PRODUCTS, INC.; PADUCAH RENT-A-CAR,          )
INC.; THE PANTRY, INC.; PARKER               )
PLASTICS CORP.; PATRIACH PARTNERS,           )
LLC; PCI SERVICES, INC.; PENNSYLVANIA        )
DEPARTMENT OF TRANSPORATION;                 )
PENNSYLVANIA URBAN REDEVELOPMENT             )
AUTHORITY; THE PENRAY COMPANIES,             )
INC.; PEOPLES NATURAL GAS COMPANY            )
LLC; PETERBILT MOTORS COMPANY;               )



                                      4
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 5 of 255 PageID #: 5




PETROCLEAN, INC.; PHILIP SERVICES            )
CORPORATION; PILOT TRAVEL CENTERS            )
LLC; PINELLAS COUNTY SCHOOL BOARD;           )
PIT STOP GROCERY; PLASCORE, INC.;            )
PLASTICS ENGINEERING CO.; PLY GEM            )
HOLDINGS INC.; PLYWOOD & DOOR                )
MANUFACTURERS CORP.; PMRS, INC.;             )
PORT JEFFERSON COUNTRY CLUB;                 )
POWEREX INC.; PRECISION PRODUCTS             )
GROUP, INC.; PSC, LLC; PUBLISHERS            )
PRINTING CO., LLC; QUBICAAMF                 )
WORLDWIDE; R.G. SMITH CO., INC.;             )
RAWLINGS SPORTING GOODS CO., INC.;           )
RELOCATABLE CONFINEMENT                      )
FACILITIES; RESCAR, INC.; RESERVE            )
ENVIRONMENTAL SERVICES, INC.;                )
REXNORD INDUSTRIES, INC.; RG STEEL,          )
LLC; RICERCA INC.; RIVERSIDE                 )
CORRECTIONAL FACILITY; ROCKFORD              )
MANUFACTURING GROUP, INC.;                   )
ROCKLAND CORP.; ROLL FORMING                 )
CORPORATION; SAFEWAY INC.; SAINT-            )
GOBAIN ABRASIVES, INC.; SCA AMERICAS;        )
SCHOOT GEMTRON CORPORATION;                  )
SCHUMACHER ELECTRIC CORP.; SCOTT             )
INDUSTRIES, LLC; SEA GULL LIGHTING           )
PRODUCTS, LLC; SEARS HOLDING                 )
CORPORATION; SEMI BULK SYSTEMS, INC.;        )
SEMLING-MANKE CO.; SEVILLE FLEXPACK          )
CORP.; SHAW-LUNDQUIST ASSOCIATES,            )
INC.; SHOP N’ GAS, INC.; SIGNATURE           )
FLIGHT SUPPORT; SLOCUM PONTIAC               )
SUBARU INC.; SMITH & WESSON HOLDING          )
CORP.; SOLUCORP INDUSTRIES, LTD.;            )
SOUTH COUNTY TECHNICAL SCHOOL;               )
SPARTAN MOTORS, INC.; SPAWN MATE,            )
INC.; THE STANDARD GROUP; STAR GAS           )
PARTNERS, L.P.; STERIS CORP.; STERLING       )
HARDWARE, LLC; STMICROELECTRONICS;           )
STOLLE MACHINERY COMPANY, LLC;               )
STOLPER INDUSTRIES, INC.; STOUT              )
INDUSTRIES, INC.; STP, INC.; STREATER,       )
INC.; STRIPPER FURNITURE RESTORATION         )
INC.; SUN-TIMES MEDIA HOLDINGS, LLC;         )
SUNRISE PACKAGING FILM; SUPERIOR OIL         )
COMPANY, INC.; SYNTECHNICS, INC.; T&F        )



                                      5
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 6 of 255 PageID #: 6




INDUSTRIES INC.; TAKEDA                                 )
PHARMACEUTICALS NORTH AMERICA,                          )
INC.; TECH 2000 WOODWORKS, INC.;                        )
TETRA PAK INC.; TI AUTOMOTIVE; TITAN                    )
EXPRESS, INC.; TITAN INTERNATIONAL,                     )
INC.; TITAN TUBE FABRICATORS, INC.;                     )
TOM FRANK ENTERPRISES, INC.; TOWER                      )
INTERNATIONAL, INC.; TRANSIT                            )
AUTHORITY OF RIVER CITY, KENTUCKY;                      )
TRI-CON INDUSTRIES, LTD.; TRUMBULL                      )
RIVER SERVICE, INC.; TWA INC.;                          )
TWINPLEX MANUFACTURING CO.; UNITED                      )
PETROLEUM SERVICE, INC.; UNITED                         )
STATES GYPSUM CO.; UNIVERSAL MUSIC                      )
GROUP, INC.; UNIVERSITY OF ILLINOIS-                    )
URBANA MAIN CAMPUS; UNIVERSITY OF                       )
IOWA; URBAN RENEWAL & COMMUNITY                         )
DEVELOPMENT AGENCY; US ECOLOGY,                         )
INC.; USEC, INC.; VANCHEM, INC.; VI-JON,                )
INC.; W.R. GRACE & CO.; WABTEC CORP.;                   )
WADE BILLADEAU FARMS, INC.; WARREN                      )
PAINT & COLOR CO.; WASTE EXPRESS,                       )
INC.; WATTS & DURR OIL COMPANY, INC.;                   )
WESTWIND COMPOSITES INC.; WHEELER                       )
LUMBER, LLC; WIL-RICH LLC; WILLERT                      )
HOME PRODUCTS, INC.; WIPAIRE, INC.;                     )
WOLVERINE PIPE LINE CO.; WOODWARD,                      )
INC.; WURTH USA, INC.; XPAC, INC.;                      )
YENKIN-MAJESTIC PAINT CORP.; YUNKER                     )
INDUSTRIES, INC.; ZALK JOSEPHS                          )
FABRICATORS LLC; ZELLER                                 )
TECHNOLOGIES, INC.,                                     )
                                                        )
       Defendants.                                      )


                                          COMPLAINT

       For its Complaint, Plaintiff LWD PRP Group (“LWD PRP Group”), by and through

counsel, states and alleges as follows:

                                 STATEMENT OF THE CASE

       1.      This is a civil action pursuant to the provisions of the Comprehensive

Environmental Response, Compensation and Liability Act of 1980, as amended, 42 U.S.C.


                                                6
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 7 of 255 PageID #: 7




§ 9601 et seq. (“CERCLA”), for recovery of past and future response costs incurred and to be

incurred by the LWD PRP Group for response activities undertaken and to be undertaken at the

LWD Incinerator Site, which consists of that portion of LWD, Inc. Superfund Site at 2745

Industrial Boulevard in Calvert City, Marshall County, Kentucky, where operations at the former

LWD waste incinerator occurred, as well as any area where hazardous substances that migrated

from the LWD waste incinerator have come to be located (hereinafter “LWD Incinerator Site).

        2.      The LWD PRP Group seeks cost recovery and contribution from each Defendant

pursuant to Sections 107(a) and 113(f) of CERCLA, 42 U.S.C. §§ 9607(a) and 9613(f), and

pursuant to Kentucky Revised Statutes § 224.01-400, for past and future response costs which

the LWD PRP Group has paid and may pay in the future at the LWD Incinerator Site, along with

a declaration as to each Defendant’s liability and an allocation of past and future response costs

among all parties.

                                   JURISDICTION AND VENUE

        3.      This Court has jurisdiction over the subject matter of this action pursuant to

Sections 107(a) and 113(b) of CERCLA, 42 U.S.C. §§ 9607(a) and 9613(b), providing

jurisdiction over controversies arising under CERCLA; and pursuant to 28 U.S.C. § 1331,

providing for jurisdiction over controversies involving federal questions of law.

        4.      Venue is proper in this district pursuant to Sections 107(a) and 113(b) of

CERCLA, 42 U.S.C. §§ 9607(a) and 9613(b), and 28 U.S.C.§§ 1391(b) and (c), because the

release or threatened release of hazardous substances occurred at or from the LWD Incinerator

Site located in this judicial district.




                                                  7
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 8 of 255 PageID #: 8




                                  FACTUAL BACKGROUND

       5.      The LWD Incinerator Site is the area of the LWD, Inc. Superfund Site where a

former hazardous waste incinerator operated from the 1970s until 2004.

       6.      The LWD Incinerator Site operated under the Resource Conservation and

Recovery Act (“RCRA”) from approximately 1980 through mid-2004

       7.      RCRA requires individuals who generate or transport hazardous waste, or who

operate a facility for recycling, treating, storing, or disposing (TSD) of hazardous waste, to notify

EPA or their authorized State waste management agency of their regulated waste activities and

obtain a U.S. EPA Identification (ID) Number (also known as a RCRA ID Number) (hereinafter

“EPA ID No.”)

       8.      Each of the Defendants, and/or their predecessors and/or affiliated entities,

generated and/or transported waste containing hazardous substances, which waste was disposed

of at the LWD Incinerator Site, using RCRA hazardous waste manifests with EPA ID No(s).

issued to each such Defendant, and/or predecessor(s) and/or affiliated entity(ies) (hereinafter

“manifested waste”)

       9.      The entities who operated the LWD Incinerator Site over time compiled the

RCRA hazardous waste manifests of shipments of manifested waste sent to the LWD Incinerator

Site into annual reports the LWD Incinerator Site operators were required to submit to EPA

(hereinafter “Annual Reports”).

       10.     The entities who operated the LWD Incinerator Site over time submitted multiple

hazardous waste permit applications, some of which were denied by the Kentucky Department of

Environmental Protection (“KDEP”).




                                                 8
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 9 of 255 PageID #: 9




        11.     These operating entities received numerous Notices of Violation from KDEP on

various issues (e.g., leaking drums, leaking roll-off containers, containers with holes, waste

accumulating in containment areas, wastes that were fuming and had strong solvent odors, and

pumps leaking scrubber water).

        12.     The LWD Incinerator Site owners and operators failed to comply with multiple

Orders intended to address the ongoing environmental issues at the LWD Incinerator Site.

        13.     In February 2006, KDEP requested assistance from U.S. EPA’s (“EPA’s”)

Emergency Response and Removal Branch (“ERRB”) Superfund Division in an effort to

categorize environmental hazards at the LWD Incinerator Site.

        14.     The ERRB performed a removal site evaluation in February 2006 and determined

that a time-critical removal action was necessary to stabilize the LWD Incinerator Site due to the

threats of release of unknown substances posed by a large tank farm and containment area with

the potential to cause an off-site release.

        15.     EPA signed an initial Action Memorandum regarding the LWD Incinerator Site in

March 2006, and two additional Action Memoranda in April and August 2006

        16.     Based on the fact the LWD Incinerator Site was abandoned, EPA commenced a

time-critical response action at the LWD Incinerator Site the week of March 6, 2006.

        17.     Results from sampling performed by EPA at this time showed elevated

concentrations of various hazardous substances were present on the LWD Incinerator Site.

        18.     A Final CERCLA Emergency Response Action and Removal Site Evaluation

Report prepared for EPA and dated July 28, 2006 recommended that a removal action be

conducted at the LWD Incinerator Site in accordance with 40 CFR Part 300, Section 415(b)(1).




                                                 9
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 10 of 255 PageID #: 10




        19.     This recommendation was based on the following criteria: (1) actual or potential

 exposure to nearby human populations, animals, or the food chain from hazardous substances or

 pollutants; (2) hazardous substances or pollutants in drums, barrels, tanks, or other bulk storage

 containers, that may pose a threat of release of hazardous substances at or from the LWD

 Incinerator Site; (3) weather conditions that may cause hazardous substances or pollutants to

 migrate or be released at or from the LWD Incinerator Site; and (4) threat of fire or explosion.

        20.     EPA conducted a time-critical removal action between March 2006 and February

 2007 to reduce some of the urgent threats posed by several areas of the LWD Incinerator Site.

        21.     On March 1, 2007, 58 potentially responsible parties, including members of the

 LWD PRP Group, entered into an Administrative Settlement Agreement and Order on Consent

 for Removal Action (hereinafter “Removal Action AOC”) with EPA to perform specified

 remaining time-critical removal action activities at the LWD Incinerator Site and to pay EPA’s

 future response costs associated with the LWD Incinerator Site

        22.     The LWD PRP Group and other PRPs who entered into the Removal Action AOC

 completed the Removal Action AOC activities in September 2009, when EPA issued a

 September 29, 2009 Notice of Completion of same.

        23.     The LWD PRP Group is currently negotiating with EPA regarding a settlement

 pursuant to Section 122(h) of CERCLA, 42 U.S.C. § 9622(h), for EPA’s past response costs at

 the LWD Incinerator Site, which costs exceed $4.8 million.

        24.     The LWD PRG Group is also currently negotiating with KDEP regarding certain

 remediation, monitoring and maintenance activities that KDEP is requiring to be conducted at

 the LWD Incinerator Site, and regarding KDEP’s past and future response costs.




                                                 10
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 11 of 255 PageID #: 11




        25.     To date, the LWD PRP Group has incurred over $9.5 million in LWD Incinerator

 Site response costs.

        26.     The $9.5 million in past response costs incurred by the LWD PRP Group do not

 include all attorneys’ fees and expenses that are closely tied to response actions at the LWD

 Incinerator Site, which the LWD PRP Group is also entitled to recover against parties liable

 under CERCLA.

        27.     The LWD PRP Group will continue to incur LWD Incinerator Site response costs

 to perform the actions required by the EPA and the State of Kentucky.

                                         THE PARTIES

        28.     The LWD PRP Group consists of the following entities in their own right, and as

 assignees of all entities who have or will assign their CERCLA cost-recovery and contribution

 rights to the LWD PRP Group: Air Products and Chemical, Inc.; Akebono Brake Corporation;

 Albaugh, Inc.; Arkema Inc.; Ashland Inc.; Atlantic Richfield Company/BP Products North

 America, Inc./The Standard Oil Company; Goodrich Corporation, formerly The B.F. Goodrich

 Company; Three Rivers Management, Inc., agent for Beazer East, Inc.; Chase Brass & Copper

 Co.; Dart Container Corporation of KY, a MI corporation; Environmental Enterprises Inc.;

 DanChem Technologies, Inc.; CNA Holdings LLC; Illinois Central Railroad Company; InChem

 Corp.; International Specialty Products, Inc.; Koppers Inc.; Marathon Petroleum Company LP as

 assignee of Marathon Oil Company; Milliken & Company; NCR Corporation; The Lubrizol

 Corporation; Giant Resource Recovery, Inc.; PepsiCo, Incorporated; Phelps Dodge Industries,

 Inc.; Pollution Control Industries, Inc.; Rineco; Safety-Kleen Systems, Inc.; Shell Oil Company

 and Its Affiliates and Subsidiaries; Motiva Enterprises LLC; Steelcase Inc.; Hamilton Sundstrand

 Corporation, formerly Sundstrand Aerospace; Philips Electronics North America Corporation;




                                                 11
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 12 of 255 PageID #: 12




 Givaudan Flavors Corporation; Teva Pharmaceuticals USA, Inc.; Texas Gas Transmission, LLC;

 Textileather Corporation; SET Environmental, Inc.; United States Steel Corporation; R.T.

 Vanderbilt Company, Inc.; Waste Control Specialists LLC; Westlake Vinyls, Inc.; and

 Weyerhaeuser NR Company.

        29.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 ACF Industries LLC (“ACF”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        30.    ACF is the parent company to ACF Industries – Shippers Car Line and ACF

 Industries.

        31.    EPA issued EPA ID No. MOD006280119, ILD006273809, MOT300010022 and

 MOD122878309 to ACF.

        32.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 25,240 lbs. were transported from

 ACF Industries, with EPA ID No. MOD006280119, to the LWD Incinerator Site in 1985; three

 shipments of manifested waste containing hazardous substances totaling 14,286 lbs. were

 transported from ACF Industries - Shippers Car Line, with EPA ID No. ILD006273809, to the

 LWD Incinerator Site in 1986; one shipment of manifested waste containing hazardous

 substances totaling 19,500 lbs. was transported from ACF Industries - Shippers Car Line, with

 EPA ID No. MOT300010022, to the LWD Incinerator Site in 1986; two shipments of manifested

 waste containing hazardous substances totaling 6,092 lbs. were transported from ACF Industries

 - Shippers Car Line, with EPA ID No. MOT300010022, to the LWD Incinerator Site in 1987;

 two shipments of manifested waste containing hazardous substances totaling 7,455 lbs. were

 transported from ACF Industries - Shippers Car Line, with EPA ID No. MOT300010022, to the




                                               12
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 13 of 255 PageID #: 13




 LWD Incinerator Site in 1988; one shipment of manifested waste containing hazardous

 substances totaling 7,330 lbs. was transported from ACF Industries - Shippers Car Line, with

 EPA ID No. MOT300010022, to the LWD Incinerator Site in 1989; and one shipment of

 manifested waste containing hazardous substances totaling 2,749 lbs. was transported from ACF

 Industries - Shippers Car Line, with EPA ID No. MOD122878309, to the LWD Incinerator Site

 in 1990.

        33.    The total weight attributable to ACF at the LWD Incinerator Site is 82,653 lbs.

        34.    To date, ACF has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        35.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Accent Strip, Inc. (“Accent Strip”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        36.    Accent Strip is also known as Accent Strip Co.

        37.    EPA issued EPA ID No. NYD986909026 to Accent Strip Co.

        38.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 10,000 lbs. was transported from

 Accent Strip Co., with EPA ID No. NYD986909026, to the LWD Incinerator Site in 1995.

        39.    The total weight attributable to Accent Strip at the LWD Incinerator Site is 10,000

 lbs.

        40.    To date, Accent Strip has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        41.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Adena Health System (“Adena”) pay its equitable share of LWD Incinerator Site response costs




                                                13
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 14 of 255 PageID #: 14




 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        42.      Adena is the successor to Medical Center Hospital.

        43.      EPA issued EPA ID No. OHD981961360 to Medical Center Hospital.

        44.      According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 110,519 lbs. were transported from

 Medical Center Hospital, with EPA ID No. OHD981961360, to the LWD Incinerator Site in

 1990; and one shipment of manifested waste containing hazardous substances totaling 42,640

 lbs. was transported from Medical Center Hospital, with EPA ID No. OHD981961360, to the

 LWD Incinerator Site in 1991.

        45.      The total weight attributable to Adena at the LWD Incinerator Site is 153,159 lbs.

        46.      To date, Adena has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        47.      By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Advance Process Supply Co. (“Advance Process”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        48.      EPA issued EPA ID No. ILD089087993 to Advance Process.

        49.      According to Annual Reports for the LWD Incinerator Site, ten shipments of

 manifested waste containing hazardous substances totaling 238,738 lbs. were transported from

 Advance Process, with EPA ID No. ILD089087993, to the LWD Incinerator Site in 1987; and

 six shipments of manifested waste containing hazardous substances totaling 112,372 lbs. were

 transported from Advance Process, with EPA ID No. ILD089087993, to the LWD Incinerator

 Site in 1988.

        50.      The total weight attributable to Advance Process at the LWD Incinerator Site is




                                                 14
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 15 of 255 PageID #: 15




 351,110 lbs.

        51.     To date, Advance Process has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        52.     By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Advanced Resource Recovery, LLC (“Advanced Resource”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        53.     Advanced Resource is also known as Environmental Waste Controls, Inc.

        54.     EPA issued EPA ID No. MID057002602 to Environmental Waste Controls, Inc.

        55.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 500 lbs. was transported from

 Environmental Waste Controls, Inc., with EPA ID No. MID057002602, to the LWD Incinerator

 Site in 1987; one shipment of manifested waste containing hazardous substances totaling 1,250

 lbs. was transported from Environmental Waste Controls, Inc., with EPA ID No.

 MID057002602, to the LWD Incinerator Site in 1988; one shipment of manifested waste

 containing hazardous substances totaling 2,749 lbs. was transported from Environmental Waste

 Controls, Inc., with EPA ID No. MID057002602, to the LWD Incinerator Site in 1990 and one

 shipment of manifested waste containing hazardous substances totaling 1,376 lbs. was

 transported from Environmental Waste Controls, Inc., with EPA ID No. MID057002602, to the

 LWD Incinerator Site in 1992.

        56.     The total weight attributable to Advanced Resource at the LWD Incinerator Site is

 5,875 lbs.

        57.     To date, Advanced Resource has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.




                                               15
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 16 of 255 PageID #: 16




        58.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Aero-Mark, Inc. (“Aero-Mark”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        59.    EPA issued EPA ID No. OHD987056694 to Aero-Mark.

        60.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 16,944 lbs. was transported from

 Aero-Mark, with EPA ID No. OHD987056694, to the LWD Incinerator Site in 2000.

        61.    The total weight attributable to Aero-Mark at the LWD Incinerator Site is 16,944

 lbs.

        62.    To date, Aero-Mark has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        63.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 AGI-Shorewood pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

        64.    AGI-Shorewood is the successor to Queen Group Kentucky, Inc.

        65.    EPA issued EPA ID No. KYD006366843 to Queen Group Kentucky, Inc.

        66.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 13,745 lbs. were transported from

 Queen Group Kentucky, Inc., with EPA ID No. KYD006366843, to the LWD Incinerator Site in

 1988; and two shipments of manifested waste containing hazardous substances totaling 17,868

 lbs. were transported from Queen Group Kentucky, Inc., with EPA ID No. KYD006366843, to

 the LWD Incinerator Site in 1989.

        67.    The total weight attributable to AGI-Shorewood at the LWD Incinerator Site is




                                               16
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 17 of 255 PageID #: 17




 31,612 lbs.

        68.    To date, AGI-Shorewood has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        69.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Airport Terminal Services, Inc. (“ATS”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        70.    EPA issued EPA ID No. MOD060573185 to ATS.

        71.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 20,263 lbs. were transported from

 ATS, with EPA ID No. MOD060573185, to the LWD Incinerator Site in 1987.

        72.    The total weight attributable to ATS at the LWD Incinerator Site is 20,263 lbs.

        73.    To date, ATS has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        74.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Alamco Wood Products, LLC (“Alamco”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        75.    EPA issued EPA ID No. MND985716554 to Alamco.

        76.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 51,940 lbs. were transported from

 Alamco, with EPA ID No. MND985716554, to the LWD Incinerator Site in 1994; one shipment

 of manifested waste containing hazardous substances totaling 15,320 lbs. was transported from

 Alamco, with EPA ID No. MND985716554, to the LWD Incinerator Site in 1999; five

 shipments of manifested waste containing hazardous substances totaling 68,600 lbs. were




                                               17
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 18 of 255 PageID #: 18




 transported from Alamco, with EPA ID No. MND985716554, to the LWD Incinerator Site in

 2001; thirteen shipments of manifested waste containing hazardous substances totaling 191,640

 lbs. were transported from Alamco, with EPA ID No. MND985716554, to the LWD Incinerator

 Site in 2002; and three shipments of manifested waste containing hazardous substances totaling

 47,660 lbs. were transported from Alamco, with EPA ID No. MND985716554, to the LWD

 Incinerator Site in 2003.

        77.     The total weight attributable to Alamco at the LWD Incinerator Site is 375,160

 lbs.

        78.     To date, Alamco has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        79.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant All

 American Group, Inc. (“All American”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        80.     All American is formerly known as Coachmen Industries.

        81.     EPA issued EPA ID No. IND190010652 to Coachmen Industries.

        82.     According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 46,470 lbs. were transported from

 Coachmen Industries, with EPA ID No. IND190010652, to the LWD Incinerator Site in 1991;

 one shipment of manifested waste containing hazardous substances totaling 350 lbs. was

 transported from Coachmen Industries, with EPA ID No. IND190010652, to the LWD

 Incinerator Site in 1992 and one shipment of manifested waste containing hazardous substances

 totaling 500 lbs. was transported from Coachmen Industries, with EPA ID No. IND190010652,

 to the LWD Incinerator Site in 1993.




                                                18
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 19 of 255 PageID #: 19




        83.       The total weight attributable to All American at the LWD Incinerator Site is

 47,320 lbs.

        84.       To date, All American has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        85.       By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant All

 Waste, Inc. (“All Waste”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        86.       All Waste is the successor to Allwaste Container Services and Allwaste Tank

 Cleaning, Inc.

        87.       EPA issued EPA ID No. ILD984817270 to Allwaste Container Services and EPA

 ID No. ILD980607105 to Allwaste Tank Cleaning, Inc.

        88.       According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 16,035 lbs. was transported from

 Allwaste Tank Cleaning, Inc., with EPA ID No. ILD980607105, to the LWD Incinerator Site in

 1989; two shipments of manifested waste containing hazardous substances totaling 3,161 lbs.

 were transported from Allwaste Container Services, with EPA ID No. ILD984817270, to the

 LWD Incinerator Site in 1993; one shipment of manifested waste containing hazardous

 substances totaling 3,050 lbs. was transported from Allwaste Container Services, with EPA ID

 No. ILD984817270, to the LWD Incinerator Site in 1994; one shipment of manifested waste

 containing hazardous substances totaling 4,587 lbs. was transported from Allwaste Container

 Services, with EPA ID No. ILD984817270, to the LWD Incinerator Site in 1995; ten shipments

 of manifested waste containing hazardous substances totaling 201,195 lbs. were transported from

 Allwaste Container Services, with EPA ID No. ILD984817270, to the LWD Incinerator Site in




                                                  19
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 20 of 255 PageID #: 20




 1997; and two shipments of manifested waste containing hazardous substances totaling 42,260

 lbs. were transported from Allwaste Container Services, with EPA ID No. ILD984817270, to the

 LWD Incinerator Site in 1998.

        89.    The total weight attributable to All Waste at the LWD Incinerator Site is 270,288

 lbs.

        90.    To date, All Waste has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        91.    By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Allegheny County, Pennsylvania (“Allegheny County”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        92.    EPA issued EPA ID No. PAD987277449 to Allegheny County, Pennsylvania

 Maintenance District #2 and EPA ID No. PAD981730815 to Allegheny County, Pennsylvania

 Department of Aviation.

        93.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 68,420 lbs. were transported from

 Allegheny County, Pennsylvania Department of Aviation, with EPA ID No. PAD981730815, to

 the LWD Incinerator Site in 1992; one shipment of manifested waste containing hazardous

 substances totaling 3,336 lbs. was transported from Allegheny County, Pennsylvania Department

 of Aviation, with EPA ID No. PAD981730815, to the LWD Incinerator Site in 1996; two

 shipments of manifested waste containing hazardous substances totaling 1,648 lbs. were

 transported from Allegheny County, Pennsylvania Department of Aviation, with EPA ID No.

 PAD981730815, to the LWD Incinerator Site in 1997; one shipment of manifested waste

 containing hazardous substances totaling 8,260 lbs. was transported from Allegheny County,




                                               20
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 21 of 255 PageID #: 21




 Pennsylvania Maintenance District #2, with EPA ID No. PAD987277449, to the LWD

 Incinerator Site in 1998; and one shipment of manifested waste containing hazardous substances

 totaling 2,342 lbs. was transported from Allegheny County, Pennsylvania Department of

 Aviation, with EPA ID No. PAD981730815, to the LWD Incinerator Site in 1999.

        94.     The total weight attributable to Allegheny County at the LWD Incinerator Site is

 84,006 lbs.

        95.     To date, Allegheny County has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        96.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Allegheny Technologies, Inc. (“ATI”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        97.     ATI is the successor to Teledyne Farris Engineering and Teledyne-Monarch.

        98.     EPA issued EPA ID No. NJD048401442 to Teledyne Farris Engineering and EPA

 ID No. TND982156077 to Teledyne-Monarch.

        99.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 33,656 lbs. was transported from

 Teledyne Farris Engineering, with EPA ID No. NJD048401442, to the LWD Incinerator Site in

 1990; and one shipment of manifested waste containing hazardous substances totaling 64,860

 lbs. was transported from Teledyne-Monarch, with EPA ID No. TND982156077, to the LWD

 Incinerator Site in 1996.

        100.    The total weight attributable to ATI at the LWD Incinerator Site is 98,516 lbs.

        101.    To date, ATI has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.




                                                21
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 22 of 255 PageID #: 22




         102.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Alliance Resource Partners, LP (“Alliance Resource”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         103.   Alliance Resource is the parent company to White County Coal Corp.

         104.   EPA issued EPA ID No. ILD055151666 to White County Coal Corp.

         105.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 8,424 lbs. was transported from

 White County Coal Corp., with EPA ID No. ILD055151666, to the LWD Incinerator Site in

 1995.

         106.   The total weight attributable to Alliance Resource at the LWD Incinerator Site is

 8,424 lbs.

         107.   To date, Alliance Resource has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         108.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Alsco Inc. (“Alsco”) pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

         109.   Alsco is the successor to Wesco Mfg., Inc.

         110.   EPA issued EPA ID No. ILD005237235 to Wesco Mfg., Inc.

         111.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 33,445 lbs. was transported from

 Wesco Mfg. Inc., with EPA ID No. ILD005237235, to the LWD Incinerator Site in 1984; one

 shipment of manifested waste containing hazardous substances totaling 26,115 lbs. was

 transported from Wesco Mfg. Inc., with EPA ID No. ILD005237235, to the LWD Incinerator




                                                22
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 23 of 255 PageID #: 23




 Site in 1985; one shipment of manifested waste containing hazardous substances totaling 25,198

 lbs. was transported from Wesco Mfg. Inc., with EPA ID No. ILD005237235, to the LWD

 Incinerator Site in 1986; and one shipment of manifested waste containing hazardous substances

 totaling 458 lbs. was transported from Wesco Mfg. Inc., with EPA ID No. ILD005237235, to the

 LWD Incinerator Site in 1988.

        112.   The total weight attributable to Alsco at the LWD Incinerator Site is 85,216 lbs.

        113.   To date, Alsco has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        114.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 American Greeting Corp. (“American Greeting”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        115.   American Greeting is the successor to Plus Mark, Inc.

        116.   EPA issued EPA ID No. TND000646646 to Plus Mark, Inc. and EPA ID No.

 KYD045739471 to American Greetings.

        117.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 3,832 lbs. was transported from

 American Greetings, with EPA ID No. KYD045739471, to the LWD Incinerator Site in 1987;

 one shipment of manifested waste containing hazardous substances totaling 6,206 lbs. was

 transported from American Greetings, with EPA ID No. KYD045739471, to the LWD

 Incinerator Site in 1988; three shipments of manifested waste containing hazardous substances

 totaling 43,899 lbs. were transported from Plus Mark, Inc., with EPA ID No. TND000646646, to

 the LWD Incinerator Site in 1995; three shipments of manifested waste containing hazardous

 substances totaling 113,653 lbs. were transported from Plus Mark, Inc., with EPA ID No.




                                               23
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 24 of 255 PageID #: 24




 TND000646646, to the LWD Incinerator Site in 1999; and one shipment of manifested waste

 containing hazardous substances totaling 54,308 lbs. was transported from Plus Mark, Inc., with

 EPA ID No. TND000646646, to the LWD Incinerator Site in 2000.

        118.    The total weight attributable to American Greeting at the LWD Incinerator Site is

 221,898 lbs.

        119.    To date, American Greeting has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        120.    By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Ametek, Inc. (“Ametek”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        121.    Ametek is the successor to G. S. Electric.

        122.    EPA issued EPA ID No. WID981094956 to G. S. Electric.

        123.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 5,956 lbs. were transported from G.

 S. Electric, with EPA ID No. WID981094956, to the LWD Incinerator Site in 1987; one

 shipment of manifested waste containing hazardous substances totaling 1,374 lbs. was

 transported from G. S. Electric, with EPA ID No. WID981094956, to the LWD Incinerator Site

 in 1989; and one shipment of manifested waste containing hazardous substances totaling 1,218

 lbs. was transported from G. S. Electric, with EPA ID No. WID981094956, to the LWD

 Incinerator Site in 1990.

        124.    The total weight attributable to Ametek at the LWD Incinerator Site is 8,548 lbs.

        125.    To date, Ametek has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.




                                                24
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 25 of 255 PageID #: 25




         126.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 AMLI Residential Properties (“AMLI”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         127.    AMLI is the successor to Amli Land Development.

         128.    EPA issued EPA ID No. ILD984781575 to Amli Land Development.

         129.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 20,194 lbs. was transported from

 Amli Land Development, with EPA ID No. ILD984781575, to the LWD Incinerator Site in

 1990.

         130.    The total weight attributable to AMLI at the LWD Incinerator Site is 20,194 lbs.

         131.    To date, AMLI has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

         132.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant An-

 Kor Rack Co. (“An-Kor”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         133.    An-Kor is also known as An-Kor Plating Co.

         134.    EPA issued EPA ID No. WID006123269 to An-Kor Plating Co.

         135.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 9,621 lbs. was transported from An-

 Kor Plating Co., with EPA ID No. WID006123269, to the LWD Incinerator Site in 1986; and

 one shipment of manifested waste containing hazardous substances totaling 8,400 lbs. was

 transported from An-Kor Plating Co., with EPA ID No. WID006123269, to the LWD Incinerator

 Site in 1988.




                                                 25
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 26 of 255 PageID #: 26




        136.   The total weight attributable to An-Kor at the LWD Incinerator Site is 18,021 lbs.

        137.   To date, An-Kor has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        138.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant The

 Andersons, Inc. ("Andersons") pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        139.   EPA issued EPA ID No. OHD980823801 to Andersons.

        140.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 8,040 lbs. was transported from

 Andersons, with EPA ID No. OHD980823801, to the LWD Incinerator Site in 1997.

        141.   The total weight attributable to Andersons at the LWD Incinerator Site is 8,040

 lbs.

        142.   To date, Andersons has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        143.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Andover Coils, LLC (“Andover”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        144.   Andover is formerly known as Andover, Inc.

        145.   EPA issued EPA ID No. IND005082185 to Andover, Inc.

        146.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 4453 lbs. were transported from

 Andover, Inc., with EPA ID No. IND005082185, to the LWD Incinerator Site in 1989; two

 shipments of manifested waste containing hazardous substances totaling 3,040 lbs. were




                                               26
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 27 of 255 PageID #: 27




 transported from Andover, Inc., with EPA ID No. IND005082185, to the LWD Incinerator Site

 in 1990; one shipment of manifested waste containing hazardous substances totaling 4,128 lbs.

 was transported from Andover, Inc., with EPA ID No. IND005082185, to the LWD Incinerator

 Site in 1991; one shipment of manifested waste containing hazardous substances totaling 2,294

 lbs. was transported from Andover, Inc., with EPA ID No. IND005082185, to the LWD

 Incinerator Site in 1992; and two shipments of manifested waste containing hazardous

 substances totaling 2,829 lbs. were transported from Andover, Inc., with EPA ID No.

 IND005082185, to the LWD Incinerator Site in 1997.

        147.   The total weight attributable to Andover at the LWD Incinerator Site is 16,744

 lbs.

        148.   To date, Andover has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        149.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Apex Oil Company, Inc. (“Apex Oil”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        150.   EPA issued EPA ID No. TND083269589 to Apex Oil.

        151.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 39,151 lbs. was transported from

 Apex Oil, with EPA ID No. TND083269589, to the LWD Incinerator Site in 1990.

        152.   The total weight attributable to Apex Oil at the LWD Incinerator Site is 39,151

 lbs.

        153.   To date, Apex Oil has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.




                                               27
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 28 of 255 PageID #: 28




        154.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Arelco Plastics Fabricating Co. (“Arelco”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        155.   EPA issued EPA ID No. KYD018378554 to Arelco.

        156.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,662 lbs. was transported from

 Arelco, with EPA ID No. KYD018378554, to the LWD Incinerator Site in 1988.

        157.   The total weight attributable to Arelco at the LWD Incinerator Site is 11,662 lbs.

        158.   To date, Arelco has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        159.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Arms Equipment, Inc. (“Arms Equipment”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        160.   EPA issued EPA ID No. KYR000020859 to Arms Equipment.

        161.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,120 lbs. was transported from

 Arms Equipment, with EPA ID No. KYR000020859, to the LWD Incinerator Site in 1999; and

 in 2000, 740 lbs. were transported from Arms Equipment, with EPA ID No. KYR000020859, to

 the LWD Incinerator Site.

        162.   The total weight attributable to Arms Equipment at the LWD Incinerator Site is

 11,860 lbs.

        163.   To date, Arms Equipment has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.




                                                28
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 29 of 255 PageID #: 29




        164.    By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Artistic Finishes, Inc. (“Artistic Finishes”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        165.    EPA issued EPA ID No. MND982645863 to Artistic Finishes.

        166.    According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 2,121 lbs. were transported from

 Artistic Finishes, with EPA ID No. MND982645863, to the LWD Incinerator Site in 1999; 1,955

 lbs. were transported from Artistic Finishes, with EPA ID No. MND982645863, to the LWD

 Incinerator Site in 2000; three shipments of manifested waste containing hazardous substances

 totaling 1,105 lbs. were transported from Artistic Finishes, with EPA ID No. MND982645863, to

 the LWD Incinerator Site in 2001; four shipments of manifested waste containing hazardous

 substances totaling 2,119 lbs. were transported from Artistic Finishes, with EPA ID No.

 MND982645863, to the LWD Incinerator Site in 2002; and three shipments of manifested waste

 containing hazardous substances totaling 1,959 lbs. were transported from Artistic Finishes, with

 EPA ID No. MND982645863, to the LWD Incinerator Site in 2003.

        167.    The total weight attributable to Artistic Finishes at the LWD Incinerator Site is

 9,259 lbs.

        168.    To date, Artistic Finishes has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        169.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Atkore International, Inc. (“Atkore”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        170.    Atkore is the successor to Allied Tube & Conduit Corp.




                                                 29
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 30 of 255 PageID #: 30




        171.    EPA issued EPA ID No. ILD057863847 to Allied Tube & Conduit Corp.

        172.    According to Annual Reports for the LWD Incinerator Site, 63,060 lbs. were

 transported from Allied Tube & Conduit Corp., with EPA ID No. ILD057863847, to the LWD

 Incinerator Site in 1983; 49,385 lbs. were transported from Allied Tube & Conduit Corp., with

 EPA ID No. ILD057863847, to the LWD Incinerator Site in 1984; three shipments of manifested

 waste containing hazardous substances totaling 89,964 lbs. were transported from Allied Tube &

 Conduit Corp., with EPA ID No. ILD057863847, to the LWD Incinerator Site in 1985; and two

 shipments of manifested waste containing hazardous substances totaling 62,475 lbs. were

 transported from Allied Tube & Conduit Corp., with EPA ID No. ILD057863847, to the LWD

 Incinerator Site in 1986.

        173.    The total weight attributable to Atkore at the LWD Incinerator Site is 264,974 lbs.

        174.    To date, Atkore has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        175.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 AVX Corporation (“AVX”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        176.    EPA issued EPA ID No. SCD062690557 to AVX.

        177.    According to Annual Reports for the LWD Incinerator Site, six shipments of

 manifested waste containing hazardous substances totaling 201,600 lbs. were transported from

 AVX, with EPA ID No. SCD062690557, to the LWD Incinerator Site in 1993.

        178.    The total weight attributable to AVX at the LWD Incinerator Site is 201,600 lbs.

        179.    To date, AVX has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.




                                                30
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 31 of 255 PageID #: 31




        180.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant B-B

 Paint Corp. (“B-B Paint”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        181.   EPA issued EPA ID No. MID005322094 to B-B Paint.

        182.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,912 lbs. was transported from B-B

 Paint, with EPA ID No. MID005322094, to the LWD Incinerator Site in 1986.

        183.   The total weight attributable to B-B Paint at the LWD Incinerator Site is 11,912

 lbs.

        184.   To date, B-B Paint has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        185.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant B.H.

 Bunn Co. (“B.H. Bunn”) pay its equitable share of LWD Incinerator Site response costs pursuant

 to Sections 107(a) and 113(f)(1) of CERCLA.

        186.   EPA issued EPA ID No. ILD360853980 to B.H. Bunn.

        187.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 5,248 lbs. was transported from B.H.

 Bunn, with EPA ID No. ILD360853980, to the LWD Incinerator Site in 1985.

        188.   The total weight attributable to B.H. Bunn at the LWD Incinerator Site is 5,428

 lbs.

        189.   To date, B.H. Bunn has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        190.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                31
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 32 of 255 PageID #: 32




 B&B Roofing & Construction (“B&B Roofing”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        191.     EPA issued EPA ID No. TXP490309912 to B&B Roofing.

        192.     According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 45,420 lbs. was transported from B&B Roofing, with

 EPA ID No. TXP490309912, to the LWD Incinerator Site in 2000.

        193.     The total weight attributable to B&B Roofing at the LWD Incinerator Site is

 45,420 lbs.

        194.     To date, B&B Roofing has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        195.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Bass

 Pro Shops, Inc. (“Bass Pro”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        196.     Bass Pro is the successor to Marine Group, Inc.

        197.     EPA issued EPA ID No. TND990652570 to Marine Group, Inc.

        198.     According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 83,300 lbs. were transported from

 Marine Group, Inc., with EPA ID No. TND990652570, to the LWD Incinerator Site in 1984; and

 one shipment of manifested waste containing hazardous substances totaling 41,650 lbs. was

 transported from Marine Group, Inc., with EPA ID No. TND990652570, to the LWD Incinerator

 Site in 1985.

        199.     The total weight attributable to Bass Pro at the LWD Incinerator Site is 124,950

 lbs.




                                                 32
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 33 of 255 PageID #: 33




        200.    To date, Bass Pro has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        201.    By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Batts, Inc. (“Batts”) pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

        202.    EPA issued EPA ID No. MID990759979 to Batts.

        203.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 7,789 lbs. were transported from

 Batts, with EPA ID No. MID990759979, to the LWD Incinerator Site in 1987; three shipments

 of manifested waste containing hazardous substances totaling 7,330 lbs. were transported from

 Batts, with EPA ID No. MID990759979, to the LWD Incinerator Site in 1988; five shipments of

 manifested waste containing hazardous substances totaling 11,454 lbs. were transported from

 Batts, with EPA ID No. MID990759979, to the LWD Incinerator Site in 1989; two shipments of

 manifested waste containing hazardous substances totaling 3,665 lbs. were transported from

 Batts, with EPA ID No. MID990759979, to the LWD Incinerator Site in 1990; one shipment of

 manifested waste containing hazardous substances totaling 1,835 lbs. was transported from Batts,

 with EPA ID No. MID990759979, to the LWD Incinerator Site in 1991; one shipment of

 manifested waste containing hazardous substances totaling 1,835 lbs. was transported from Batts,

 with EPA ID No. MID990759979, to the LWD Incinerator Site in 1992; and two shipments of

 manifested waste containing hazardous substances totaling 4,587 lbs. were transported from

 Batts, with EPA ID No. MID990759979, to the LWD Incinerator Site in 1993.

        204.    The total weight attributable to Batts at the LWD Incinerator Site is 38,495 lbs.

        205.    To date, Batts has not paid toward any response costs incurred by the LWD PRP




                                                 33
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 34 of 255 PageID #: 34




 Group at the LWD Incinerator Site.

         206.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Bell

 and Howell, LLC (“Bell and Howell”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         207.   Bell and Howell is the successor to Bell & Howell Co.

         208.   EPA issued EPA ID No. ILD005069141 to Bell & Howell Co.

         209.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 14,203 lbs. was transported from Bell

 & Howell Co., with EPA ID No. ILD005069141, to the LWD Incinerator Site in 1986.

         210.   The total weight attributable to Bell and Howell at the LWD Incinerator Site is

 14,203 lbs.

         211.   To date, Bell and Howell has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         212.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Bemis Company, Inc. (“Bemis”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         213.   Bemis is the successor to Paramount Packaging Co.

         214.   EPA issued EPA ID No. TND044264554 to Paramount Packaging Co.

         215.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 376,349 lbs. were transported from

 Paramount Packaging Co., with EPA ID No. TND044264554, to the LWD Incinerator Site in

 1985.

         216.   The total weight attributable to Bemis at the LWD Incinerator Site is 376,349 lbs.




                                                34
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 35 of 255 PageID #: 35




        217.    To date, Bemis has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        218.    By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Bipacco Coatings, LLC (“Bipacco”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        219.    Bipacco is the successor to Waterlac Corp.

        220.    EPA issued EPA ID No. MOD071965628 to Waterlac Corp.

        221.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 4,123 lbs. were transported from

 Waterlac Corp., with EPA ID No. MOD071965628, to the LWD Incinerator Site in 1986; one

 shipment of manifested waste containing hazardous substances totaling 1,374 lbs. was

 transported from Waterlac Corp., with EPA ID No. MOD071965628, to the LWD Incinerator

 Site in 1987; and one shipment of manifested waste containing hazardous substances totaling

 1,374 lbs. was transported from Waterlac Corp., with EPA ID No. MOD071965628, to the LWD

 Incinerator Site in 1988.

        222.    The total weight attributable to Bipacco at the LWD Incinerator Site is 6,872 lbs.

        223.    To date, Bipacco has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        224.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Blain Supply, Inc. (“Blain Supply”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        225.    EPA issued EPA ID No. WID023271463 to Blain Supply, Inc.

        226.    According to Annual Reports for the LWD Incinerator Site, one shipment of




                                                35
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 36 of 255 PageID #: 36




 manifested waste containing hazardous substances totaling 16,952 lbs. was transported from

 Blain Supply, Inc., with EPA ID No. WID023271463, to the LWD Incinerator Site in 1986.

        227.     The total weight attributable to Blain Supply at the LWD Incinerator Site is

 16,952 lbs.

        228.     To date, Blain Supply has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        229.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Blue

 Bird Corporation (“Blue Bird”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        230.     Blue Bird is the successor to Blue Bird Midwest.

        231.     EPA issued EPA ID No. IAD061322111 to Blue Bird Midwest.

        232.     According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 31,612 lbs. were transported from

 Blue Bird Midwest, with EPA ID No. IAD061322111, to the LWD Incinerator Site in 1985; and

 five shipments of manifested waste containing hazardous substances totaling 26,556 lbs. were

 transported from Blue Bird Midwest, with EPA ID No. IAD061322111, to the LWD Incinerator

 Site in 1986.

        233.     The total weight attributable to Blue Bird at the LWD Incinerator Site is 58,168

 lbs.

        234.     To date, Blue Bird has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        235.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 BMO Harris Bank, N.A. (“BMO Harris Bank”) pay its equitable share of LWD Incinerator Site




                                                 36
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 37 of 255 PageID #: 37




 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        236.    BMO Harris Bank is the successor to Marshall and Isley Trust and Harris Bank

 and Trust.

        237.    EPA issued EPA ID No. WID982062655 to Marshall and Isley Trust; and EPA

 ID No. ILD981957939 to Harris Bank and Trust.

        238.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 16,311 lbs. were transported from

 Marshall and Isley Trust, with EPA ID No. WID982062655, to the LWD Incinerator Site in

 1987; and one shipment of manifested waste containing hazardous substances totaling 6,248 lbs.

 was transported from Harris Bank and Trust, with EPA ID No. ILD981957939, to the LWD

 Incinerator Site in 1987.

        239.    The total weight attributable to BMO Harris Bank at the LWD Incinerator Site is

 22,559 lbs.

        240.    To date, BMO Harris Bank has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        241.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 BPS, Inc. (“BPS”) pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

        242.    EPA issued EPA ID No. ARD983275249 and EPA ID No. ARD983288572 to

 BPS.

        243.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 63,820 lbs. were transported from

 BPS, with EPA ID No. ARD983275249, to the LWD Incinerator Site in 1997; and one shipment




                                               37
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 38 of 255 PageID #: 38




 of manifested waste containing hazardous substances totaling 32,680 lbs. was transported from

 BPS, with EPA ID No. ARD983288572, to the LWD Incinerator Site in 1997.

        244.      The total weight attributable to BPS at the LWD Incinerator Site is 96,500 lbs.

        245.      To date, BPS has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        246.      EPA issued EPA ID No. KYR000006593 and to Breckinridge-Grayson County,

 Kentucky (“Breckinridge-Grayson”).

        247.      According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 13,720 lbs. were transported from

 Breckinridge-Grayson, with EPA ID No. KYR000006593, to the LWD Incinerator Site in 1996.

        248.      The total weight attributable to Breckinridge-Grayson at the LWD Incinerator Site

 is 13,720 lbs.

        249.      To date, Breckinridge-Grayson has not paid toward any response costs incurred

 by the LWD PRP Group at the LWD Incinerator Site.

        250.      By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Bunton Seed Co. (“Bunton”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        251.      EPA issued EPA ID No. KYTMP0001016 to Bunton Co.

        252.      According to Annual Reports for the LWD Incinerator Site, 5,425 lbs. were

 transported from Bunton Co., with EPA ID No. KYTMP0001016, to the LWD Incinerator Site in

 1984; and one shipment of manifested waste containing hazardous substances totaling 309 lbs.

 was transported from Bunton Co., with EPA ID No. KYTMP0001016, to the LWD Incinerator

 Site in 1987.




                                                  38
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 39 of 255 PageID #: 39




        253.     The total weight attributable to Bunton at the LWD Incinerator Site is 5,734 lbs.

        254.     To date, Bunton has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        255.     By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Butler Tool, Inc. (“Butler Tool”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        256.     EPA issued EPA ID No. WID006079479 to Butler Tool Co.

        257.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 4,123 lbs. was transported from

 Butler Tool Co., with EPA ID No. WID006079479, to the LWD Incinerator Site in 1986; and

 one shipment of manifested waste containing hazardous substances totaling 2,291 lbs. was

 transported from Butler Tool Co., with EPA ID No. WID006079479, to the LWD Incinerator

 Site in 1987.

        258.     The total weight attributable to Butler Tool at the LWD Incinerator Site is 6,414

 lbs.

        259.     To date, Butler Tool has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        260.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 C&R AG Supply, Inc. (“C&R AG”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        261.     EPA issued EPA ID No. ILD001010479 to C&R AG.

        262.     According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 117,544 lbs. were transported from




                                                 39
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 40 of 255 PageID #: 40




 C&R AG, with EPA ID No. ILD001010479, to the LWD Incinerator Site in 1995.

        263.   The total weight attributable to C&R AG at the LWD Incinerator Site is 117,544

 lbs.

        264.   To date, C&R AG has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        265.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 CAA of Indiana, Inc. (“CAA”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        266.   EPA issued EPA ID No. IND057389405 to CAA.

        267.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 500 lbs. was transported from CAA, with EPA ID No.

 IND057389405, to the LWD Incinerator Site in 1983; three shipments of manifested waste

 containing hazardous substances totaling 63,683 lbs. were transported from CAA, with EPA ID

 No. IND057389405, to the LWD Incinerator Site in 1989; two shipments of manifested waste

 containing hazardous substances totaling 26,115 lbs. were transported from CAA, with EPA ID

 No. IND057389405, to the LWD Incinerator Site in 1990; two shipments of manifested waste

 containing hazardous substances totaling 16,055 lbs. were transported from CAA, with EPA ID

 No. IND057389405, to the LWD Incinerator Site in 1991; two shipments of manifested waste

 containing hazardous substances totaling 10,091 lbs. were transported from CAA, with EPA ID

 No. IND057389405, to the LWD Incinerator Site in 1992; and one shipment of manifested waste

 containing hazardous substances totaling 5,046 lbs. was transported from CAA, with EPA ID

 No. IND057389405, to the LWD Incinerator Site in 1993.

        268.   The total weight attributable to CAA at the LWD Incinerator Site is 121,489 lbs.




                                               40
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 41 of 255 PageID #: 41




        269.   To date, CAA has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        270.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Carboline Company ("Carboline") pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        271.   EPA issued EPA ID No. KYD980600787 and EPA ID No. MOD006282347 to

 Carboline.

        272.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 17,600 lbs. was transported from Carboline, with EPA

 ID No. MOD006282347, to the LWD Incinerator Site in 1981; manifested waste containing

 hazardous substances totaling 27,489 lbs. was transported from Carboline, with EPA ID No.

 MOD006282347, to the LWD Incinerator Site in 1982; manifested waste containing hazardous

 substances totaling 40,286 lbs. was transported from Carboline, with EPA ID No.

 MOD006282347, to the LWD Incinerator Site in 1983; manifested waste containing hazardous

 substances totaling 68,800 lbs. was transported from Carboline, with EPA ID No.

 MOD006282347, to the LWD Incinerator Site in 1984; one shipment of manifested waste

 containing hazardous substances totaling 30,738 lbs. was transported from Carboline, with EPA

 ID No. KYD980600787, to the LWD Incinerator Site in 1985; three shipments of manifested

 waste containing hazardous substances totaling 53,145 lbs. were transported from Carboline,

 with EPA ID No. MOD006282347, to the LWD Incinerator Site in 1985; three shipments of

 manifested waste containing hazardous substances totaling 26,573 lbs. were transported from

 Carboline, with EPA ID No. MOD006282347, to the LWD Incinerator Site in 1986; and three

 shipments of manifested waste containing hazardous substances totaling 30,696 lbs. were




                                               41
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 42 of 255 PageID #: 42




 transported from Carboline, with EPA ID No. MOD006282347, to the LWD Incinerator Site in

 1987.

         273.   The total weight attributable to Carboline at the LWD Incinerator Site is 295,326

 lbs.

         274.   To date, Carboline has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         275.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Carman Cleaners pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

         276.   EPA issued EPA ID No. NYD980772479 to Carman Cleaners.

         277.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 7,000 lbs. was transported from

 Carman Cleaners, with EPA ID No. NYD980772479, to the LWD Incinerator Site in 1997.

         278.   The total weight attributable to Carman Cleaners at the LWD Incinerator Site is

 7,000 lbs.

         279.   To date, Carman Cleaners has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         280.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Castle Metal Finishing Corp. (“Castle Metal”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         281.   EPA issued EPA ID No. ILD005197397 to Castle Metal.

         282.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 33,600 lbs. was transported from




                                                42
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 43 of 255 PageID #: 43




 Castle Metal, with EPA ID No. ILD005197397, to the LWD Incinerator Site in 1991.

        283.   The total weight attributable to Castle Metal at the LWD Incinerator Site is

 33,600 lbs.

        284.   To date, Castle Metal has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        285.   Catalent, Inc. (“Catalent”) is the successor to Chelsea Laboratories.

        286.   EPA issued EPA ID No. NCD981863228 to Chelsea Laboratories.

        287.   According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 176,000 lbs. were transported from

 Chelsea Laboratories, with EPA ID No. NCD981863228, to the LWD Incinerator Site in 1992.

        288.   The total weight attributable to Cardinal at the LWD Incinerator Site is 176,000

 lbs.

        289.   To date, Catalent has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        290.   EPA issued EPA ID No. ILD000667212 and EPA ID No. ILD065236226 to

 Central Illinois Public Service Company (“C.I.P.S.”).

        291.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 895,150 lbs. was transported from C.I.P.S., with EPA

 ID No. ILD000667212, to the LWD Incinerator Site in 1984; manifested waste containing

 hazardous substances totaling 433,160 lbs. was transported from C.I.P.S., with EPA ID No.

 ILD000667212, to the LWD Incinerator Site in 1985; and manifested waste containing

 hazardous substances totaling 104,966 lbs. was transported from C.I.P.S., with EPA ID No.

 ILD065236226, to the LWD Incinerator Site in 1985.




                                                43
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 44 of 255 PageID #: 44




        292.   The total weight attributable to C.I.P.S. at the LWD Incinerator Site is 1,433,276

 lbs.

        293.   To date, C.I.P.S. has settled with the LWD PRP Group for Ameren Services Co.,

 with EPA ID No. MOG000001359, but has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site for the manifested waste containing hazardous

 substances attributable to EPA ID Nos. ILD000667212 or ILD065236226.

        294.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 CFPG Ltd. (“CFPG”) pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

        295.   CFPG is the successor to Globe Valve Corp.

        296.   EPA issued EPA ID No. IND005081955 to Globe Valve Corp.

        297.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 6,414 lbs. were transported from

 Globe Valve Corp., with EPA ID No. IND005081955, to the LWD Incinerator Site in 1987.

        298.   The total weight attributable to CFPG at the LWD Incinerator Site is 6,414 lbs.

        299.   To date, CFPG has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        300.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Chattem Chemicals, Inc. (“Chattem”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        301.   EPA issued EPA ID No. TNR000001420 to Chattem.

        302.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 7,042 lbs. were transported from




                                               44
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 45 of 255 PageID #: 45




 Chattem, with EPA ID No. TNR000001420, to the LWD Incinerator Site in 2001; and one

 shipment of manifested waste containing hazardous substances totaling 2,895 lbs. was

 transported from Chattem, with EPA ID No. TNR000001420, to the LWD Incinerator Site in

 2002.

         303.   The total weight attributable to Chattem at the LWD Incinerator Site is 9,937 lbs.

         304.   To date, Chattem has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         305.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 CHEM Group, Inc. (“CHEM”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         306.   CHEM is the successor to Consolidated Recycling Co., Inc.

         307.   EPA issued EPA ID No. IND098958293 to Consolidated Recycling Co., Inc.

         308.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,382 lbs. was transported from

 Consolidated Recycling Co., Inc., with EPA ID No. IND098958293, to the LWD Incinerator Site

 in 1991.

         309.   The total weight attributable to CHEM at the LWD Incinerator Site is 11,382 lbs.

         310.   To date, CHEM has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         311.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Chem Processing, Inc. ("Chem Processing") pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         312.   EPA issued EPA ID No. IL0000487694, ILD000487694, ILD055413801 and




                                                45
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 46 of 255 PageID #: 46




 ILD980682477 to Chem Processing.

        313.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 3,665 lbs. were transported from

 Chem Processing, with EPA ID No. ILD055413801, to the LWD Incinerator Site in 1987; three

 shipments of manifested waste containing hazardous substances totaling 1,650 lbs. were

 transported from Chem Processing, with EPA ID No. ILD055413801, to the LWD Incinerator

 Site in 1996; two shipments of manifested waste containing hazardous substances totaling 1,349

 lbs. were transported from Chem Processing, with EPA ID No. ILD000487694, to the LWD

 Incinerator Site in 1997; five shipments of manifested waste containing hazardous substances

 totaling 38,617 lbs. were transported from Chem Processing, with EPA ID No. ILD055413801,

 to the LWD Incinerator Site in 1997; five shipments of manifested waste containing hazardous

 substances totaling 5,955 lbs. were transported from Chem Processing, with EPA ID No.

 ILD000487694, to the LWD Incinerator Site in 1998; one shipment of manifested waste

 containing hazardous substances totaling 95 lbs. was transported from Chem Processing, with

 EPA ID No. ILD055413801, to the LWD Incinerator Site in 1998; three shipments of manifested

 waste containing hazardous substances totaling 3,736 lbs. were transported from Chem

 Processing, with EPA ID No. ILD000487694, to the LWD Incinerator Site in 1999; two

 shipments of manifested waste containing hazardous substances totaling 24,758 lbs. were

 transported from Chem Processing, with EPA ID No. ILD980682477, to the LWD Incinerator

 Site in 1999; five shipments of manifested waste containing hazardous substances totaling

 15,928 lbs. were transported from Chem Processing, with EPA ID No. IL0000487694, to the

 LWD Incinerator Site in 2000; four shipments of manifested waste containing hazardous

 substances totaling 15,884 lbs. were transported from Chem Processing, with EPA ID No.




                                               46
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 47 of 255 PageID #: 47




 ILD000487694, to the LWD Incinerator Site in 2001; six shipments of manifested waste

 containing hazardous substances totaling 12,038 lbs. were transported from Chem Processing,

 with EPA ID No. IL0000487694, to the LWD Incinerator Site in 2002; four shipments of

 manifested waste containing hazardous substances totaling 14,493 lbs. were transported from

 Chem Processing, with EPA ID No. IL0000487694, to the LWD Incinerator Site in 2003; and

 one shipment of manifested waste containing hazardous substances totaling 181 lbs. was

 transported from Chem Processing, with EPA ID No. ILD980682477, to the LWD Incinerator

 Site in 2003.

        314.     The total weight attributable to Chem Processing at the LWD Incinerator Site is

 138,350 lbs.

        315.     To date, Chem Processing has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        316.     By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Chicago Park District (“CPD”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        317.     EPA issued EPA ID No. ILD980997084 to CPD.

        318.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 13,620 lbs. was transported from

 CPD, with EPA ID No. ILD980997084, to the LWD Incinerator Site in 1986.

        319.     The total weight attributable to CPD at the LWD Incinerator Site is 13,620 lbs.

        320.     To date, CPD has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        321.     EPA issued EPA ID No. KYD981019839 to City of Bowling Green, Kentucky




                                                 47
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 48 of 255 PageID #: 48




 (“Bowling Green”).

        322.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 10,829 lbs. was transported from

 Bowling Green, with EPA ID No. KYD981019839, to the LWD Incinerator Site in 1986.

        323.   The total weight attributable to Bowling Green at the LWD Incinerator Site is

 10,829 lbs.

        324.   To date, Bowling Green has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        325.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 City of Cedar Rapids, Iowa (“Cedar Rapids”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        326.   EPA issued EPA ID No. IAD000677831 to Cedar Rapids.

        327.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 17,868 lbs. was transported from

 Cedar Rapids, with EPA ID No. IAD000677831, to the LWD Incinerator Site in 1986.

        328.   The total weight attributable to Cedar Rapids at the LWD Incinerator Site is

 17,868 lbs.

        329.   To date, Cedar Rapids has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        330.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 City of Keokuk, Iowa (“Keokuk”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        331.   EPA issued EPA ID No. IAP000001448 to Keokuk.




                                               48
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 49 of 255 PageID #: 49




        332.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 14,560 lbs. was transported from

 Keokuk, with EPA ID No. IAP000001448, to the LWD Incinerator Site in 1985.

        333.   The total weight attributable to Keokuk at the LWD Incinerator Site is 14,560 lbs.

        334.   To date, Keokuk has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        335.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant City

 of Louisville, Kentucky (“City of Louisville”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        336.   City of Louisville is legally responsible for Louisville Water Co.

        337.   EPA issued EPA ID No. KYD985080407 to Louisville Water Co.

        338.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 71,000 lbs. were transported from

 Louisville Water Co., with EPA ID No. KYD985080407, to the LWD Incinerator Site in 1997.

        339.   The total weight attributable to City of Louisville at the LWD Incinerator Site is

 71,000 lbs.

        340.   To date, City of Louisville has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        341.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Clinton Electronics Corp. (“Clinton Electronics”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        342.   EPA issued EPA ID No. ILD005456587 to Clinton Electronics.

        343.   According to Annual Reports for the LWD Incinerator Site, manifested waste




                                                49
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 50 of 255 PageID #: 50




 containing hazardous substances totaling 18,160 lbs. was transported from Clinton Electronics

 Corp., with EPA ID No. ILD005456587, to the LWD Incinerator Site in 1984; one shipment of

 manifested waste containing hazardous substances totaling 10,079 lbs. was transported from

 Clinton Electronics Corp., with EPA ID No. ILD005456587, to the LWD Incinerator Site in

 1985; two shipments of manifested waste containing hazardous substances totaling 24,574 lbs.

 were transported from Clinton Electronics Corp., with EPA ID No. ILD005456587, to the LWD

 Incinerator Site in 1986; and one shipment of manifested waste containing hazardous substances

 totaling 12,370 lbs. was transported from Clinton Electronics Corp., with EPA ID No.

 ILD005456587, to the LWD Incinerator Site in 1987.

        344.   The total weight attributable to Clinton Electronics at the LWD Incinerator Site is

 65,183 lbs.

        345.   To date, Clinton Electronics has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        346.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Clondalkin Group Inc. (“Clondalkin”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        347.   Clondalkin Group Inc. is the successor to Keller Crescent Co.

        348.   EPA issued EPA ID No. IND006370019 to Keller Crescent Co.

        349.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 34,828 lbs. was transported from

 Keller Crescent Co., with EPA ID No. IND006370019, to the LWD Incinerator Site in 1995.

        350.   The total weight attributable to Clondalkin at the LWD Incinerator Site is 34,828

 lbs.




                                               50
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 51 of 255 PageID #: 51




        351.   To date, Clondalkin has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        352.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant CM

 Packaging Group LLC (“CM Packaging”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        353.   CM Packaging is the successor to C.M. Products, Inc.

        354.   EPA issued EPA ID No. ILD051928398 to C.M. Products, Inc.

        355.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 37,530 lbs. was transported from

 C.M. Products, Inc., with EPA ID No. ILD051928398, to the LWD Incinerator Site in 1994.

        356.   The total weight attributable to CM Packaging at the LWD Incinerator Site is

 37,530 lbs.

        357.   To date, CM Packaging has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        358.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 CNA International Inc. (“CNA”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        359.   CNA is the successor to Admiral, Division of Magic Chef.

        360.   EPA issued EPA ID No. ILD067417337 to Admiral, Division of Magic Chef.

        361.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 78,885 lbs. were transported from

 Admiral, Division of Magic Chef, with EPA ID No. ILD067417337, to the LWD Incinerator Site

 in 1986.




                                               51
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 52 of 255 PageID #: 52




        362.   The total weight attributable to CNA at the LWD Incinerator Site is 78,885 lbs.

        363.   To date, CNA has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        364.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Columbia County, New York (“Columbia County”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        365.   EPA issued EPA ID No. NYP000955005 to Columbia County.

        366.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 77,380 lbs. were transported from

 Columbia County, with EPA ID No. NYP000955005, to the LWD Incinerator Site in 2003.

        367.   The total weight attributable to Columbia County at the LWD Incinerator Site is

 77,380 lbs.

        368.   To date, Columbia County has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        369.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Columbia Gulf Transmission Company (“Columbia Gulf”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        370.   EPA issued EPA ID No. MSD980579551 to Columbia Gulf.

        371.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 23,620 lbs. was transported from

 Columbia Gulf, with EPA ID No. MSD980579551, to the LWD Incinerator Site in 1999.

        372.   The total weight attributable to Columbia Gulf at the LWD Incinerator Site is

 23,620 lbs.




                                               52
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 53 of 255 PageID #: 53




        373.   To date, Columbia Gulf has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        374.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Commerce Holding Co., Inc. (“Commerce Holding”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        375.   EPA issued EPA ID No. NYD002059517 to Commerce Holding.

        376.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 33,600 lbs. was transported from

 Commerce Holding, with EPA ID No. NYD002059517, to the LWD Incinerator Site in 1993.

        377.   The total weight attributable to Commerce Holding at the LWD Incinerator Site is

 33,600 lbs.

        378.   To date, Commerce Holding has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        379.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Commercial Vehicle Group, Inc. (“Commercial Vehicle”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        380.   Commercial Vehicle is the parent company to Mayflower Vehicle Systems.

        381.   EPA issued EPA ID No. WVD086682358 and EPA ID No. OHD108902859 to

 Mayflower Vehicle Systems.

        382.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 12,373 lbs. was transported from

 Mayflower Vehicle Systems, with EPA ID No. WVD086682358, to the LWD Incinerator Site in

 2001; five shipments of manifested waste containing hazardous substances totaling 41,917 lbs.




                                               53
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 54 of 255 PageID #: 54




 were transported from Mayflower Vehicle Systems, with EPA ID No. OHD108902859, to the

 LWD Incinerator Site in 2002; and one shipment of manifested waste containing hazardous

 substances totaling 9,947 lbs. was transported from Mayflower Vehicle Systems, with EPA ID

 No. WVD086682358, to the LWD Incinerator Site in 2003.

        383.      The total weight attributable to Commercial Vehicle at the LWD Incinerator Site

 is 64,237 lbs.

        384.      To date, Commercial Vehicle has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        385.      By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Consolidated Graphics, Inc. (“Consolidated Graphics”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        386.      Consolidated Graphics is the parent company to Western Lithograph.

        387.      EPA issued EPA ID No. OHR000025403 to Consolidated Graphics, and EPA ID

 No. MOD006271159 to Western Lithograph.

        388.      According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 2,083 lbs. was transported from

 Western Lithograph, with EPA ID No. MOD006271159, to the LWD Incinerator Site in 1986;

 two shipments of manifested waste containing hazardous substances totaling 2,083 lbs. were

 transported from Western Lithograph, with EPA ID No. MOD006271159, to the LWD

 Incinerator Site in 1990; one shipment of manifested waste containing hazardous substances

 totaling 2,083 lbs. was transported from Western Lithograph, with EPA ID No.

 MOD006271159, to the LWD Incinerator Site in 1991; and one shipment of manifested waste

 containing hazardous substances totaling 2,083 lbs. was transported from Consolidated Graphics,




                                                 54
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 55 of 255 PageID #: 55




 with EPA ID No. OHR000025403, to the LWD Incinerator Site in 2000.

        389.      The total weight attributable to Conslidated Graphics at the LWD Incinerator Site

 is 72,520 lbs.

        390.      To date, Consolidated Graphics has not paid toward any response costs incurred

 by the LWD PRP Group at the LWD Incinerator Site.

        391.      By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Continental AG pay its equitable share of LWD Incinerator Site response costs pursuant to

 Sections 107(a) and 113(f)(1) of CERCLA.

        392.      Continental AG is the successor to General Tire & Rubber and General Tire, Inc.

        393.      EPA issued EPA ID No. KYD006371074 and EPA ID No. KYD006761074 to

 General Tire & Rubber; and EPA ID No. ILD068556422 to General Tire, Inc.

        394.      According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 7,497 lbs. was transported from General Tire &

 Rubber, with EPA ID No. KYD006371074, to the LWD Incinerator Site in 1983; one shipment

 of manifested waste containing hazardous substances totaling 1,638 lbs. was transported from

 General Tire & Rubber, with EPA ID No. KYD006761074, to the LWD Incinerator Site in 1985;

 one shipment of manifested waste containing hazardous substances totaling 1,374 lbs. was

 transported from General Tire, Inc., with EPA ID No. ILD068556422, to the LWD Incinerator

 Site in 1985; four shipments of manifested waste containing hazardous substances totaling 2,033

 lbs. were transported from General Tire, Inc., with EPA ID No. ILD068556422, to the LWD

 Incinerator Site in 1986; two shipments of manifested waste containing hazardous substances

 totaling 5,089 lbs. were transported from General Tire & Rubber, with EPA ID No.

 KYD006761074, to the LWD Incinerator Site in 1987; three shipments of manifested waste




                                                  55
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 56 of 255 PageID #: 56




 containing hazardous substances totaling 2,291 lbs. were transported from General Tire, Inc.,

 with EPA ID No. ILD068556422, to the LWD Incinerator Site in 1987; three shipments of

 manifested waste containing hazardous substances totaling 6,657 lbs. were transported from

 General Tire & Rubber, with EPA ID No. KYD006761074, to the LWD Incinerator Site in 1988;

 four shipments of manifested waste containing hazardous substances totaling 10,079 lbs. were

 transported from General Tire, Inc., with EPA ID No. ILD068556422, to the LWD Incinerator

 Site in 1988; three shipments of manifested waste containing hazardous substances totaling

 28,211 lbs. were transported from General Tire & Rubber, with EPA ID No. KYD006371074, to

 the LWD Incinerator Site in 1989; three shipments of manifested waste containing hazardous

 substances totaling 27,502 lbs. were transported from General Tire & Rubber, with EPA ID No.

 KYD006371074, to the LWD Incinerator Site in 1990; four shipments of manifested waste

 containing hazardous substances totaling 41,282 lbs. were transported from General Tire &

 Rubber, with EPA ID No. KYD006371074, to the LWD Incinerator Site in 1991; three

 shipments of manifested waste containing hazardous substances totaling 23,419 lbs. were

 transported from General Tire & Rubber, with EPA ID No. KYD006371074, to the LWD

 Incinerator Site in 1992; four shipments of manifested waste containing hazardous substances

 totaling 23,852 lbs. were transported from General Tire & Rubber, with EPA ID No.

 KYD006371074, to the LWD Incinerator Site in 1993; four shipments of manifested waste

 containing hazardous substances totaling 10,550 lbs. were transported from General Tire &

 Rubber, with EPA ID No. KYD006371074, to the LWD Incinerator Site in 1994; four shipments

 of manifested waste containing hazardous substances totaling 23,394 lbs. were transported from

 General Tire & Rubber, with EPA ID No. KYD006371074, to the LWD Incinerator Site in 1995;

 three shipments of manifested waste containing hazardous substances totaling 15,596 lbs. were




                                                56
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 57 of 255 PageID #: 57




 transported from General Tire & Rubber, with EPA ID No. KYD006371074, to the LWD

 Incinerator Site in 1996; and four shipments of manifested waste containing hazardous

 substances totaling 13,430 lbs. were transported from General Tire & Rubber, with EPA ID No.

 KYD006371074, to the LWD Incinerator Site in 1997.

        395.    The total weight attributable to Continental AG at the LWD Incinerator Site is

 243,895 lbs.

        396.    To date, Continental AG has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        397.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Continental Motors, Inc. (“Continental Motors”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        398.    Continental Motors is the successor to Teledyne Continental Motors.

        399.    EPA issued EPA ID No. MID006407597 to Teledyne Continental Motors.

        400.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 44,202 lbs. was transported from

 Teledyne Continental Motors, with EPA ID No. MID006407597, to the LWD Incinerator Site in

 1995; two shipments of manifested waste containing hazardous substances totaling 50,874 lbs.

 were transported from Teledyne Continental Motors, with EPA ID No. MID006407597, to the

 LWD Incinerator Site in 1996; and five shipments of manifested waste containing hazardous

 substances totaling 57,432 lbs. were transported from Teledyne Continental Motors, with EPA

 ID No. MID006407597, to the LWD Incinerator Site in 1997.

        401.    The total weight attributable to Continental Motors at the LWD Incinerator Site is

 199,239 lbs.




                                                57
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 58 of 255 PageID #: 58




        402.   To date, Continental Motors has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        403.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Cooper US, Inc. (“Cooper”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        404.   Cooper is the successor to Cooper Electrical Distribution Products, RTE Corp.,

 and McGraw Edison Services.

        405.   EPA issued EPA ID No. VAD023717853 to Cooper Electrical Distribution

 Products; EPA ID No. WID006117444 to RTE Corp.; and EPA ID No. WVD000496729 and

 WID066892498 to McGraw Edison Services.

        406.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 71,013 lbs. were transported from

 McGraw Edison Services, with EPA ID No. WID066892498, to the LWD Incinerator Site in

 1985; three shipments of manifested waste containing hazardous substances totaling 42,608 lbs.

 were transported from McGraw Edison Services, with EPA ID No. WID066892498, to the LWD

 Incinerator Site in 1986; two shipments of manifested waste containing hazardous substances

 totaling 26,115 lbs. were transported from RTE Corp., with EPA ID No. WID006117444, to the

 LWD Incinerator Site in 1986; three shipments of manifested waste containing hazardous

 substances totaling 49,022 lbs. were transported from McGraw Edison Services, with EPA ID

 No. WID066892498, to the LWD Incinerator Site in 1987; one shipment of manifested waste

 containing hazardous substances totaling 20,617 lbs. was transported from McGraw Edison

 Services, with EPA ID No. WVD000496729, to the LWD Incinerator Site in 1987; four

 shipments of manifested waste containing hazardous substances totaling 44,940 lbs. were




                                               58
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 59 of 255 PageID #: 59




 transported from RTE Corp., with EPA ID No. WID006117444, to the LWD Incinerator Site in

 1987; two shipments of manifested waste containing hazardous substances totaling 49,075 lbs.

 were transported from McGraw Edison Services, with EPA ID No. WID066892498, to the LWD

 Incinerator Site in 1988; twelve shipments of manifested waste containing hazardous substances

 totaling 279,345 lbs. were transported from Cooper Electrical Distribution Products, with EPA

 ID No. VAD023717853, to the LWD Incinerator Site in 1988; one shipment of manifested waste

 containing hazardous substances totaling 3,420 lbs. was transported from Cooper Electrical

 Distribution Products, with EPA ID No. VAD023717853, to the LWD Incinerator Site in 1989;

 one shipment of manifested waste containing hazardous substances totaling 3,780 lbs. was

 transported from Cooper Electrical Distribution Products, with EPA ID No. VAD023717853, to

 the LWD Incinerator Site in 1990; and one shipment of manifested waste containing hazardous

 substances totaling 1,500 lbs. was transported from Cooper Electrical Distribution Products, with

 EPA ID No. VAD023717853, to the LWD Incinerator Site in 1991.

        407.   The total weight attributable to Cooper at the LWD Incinerator Site is 591,435

 lbs.

        408.   To date, Cooper has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        409.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Cornett Machine Shop, Inc. (“Cornett Machine”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        410.   EPA issued EPA ID No. KYD006366306 to Cornett Machine.

        411.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 4,123 lbs. was transported from




                                                59
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 60 of 255 PageID #: 60




 Cornett Machine, with EPA ID No. KYD006366306, to the LWD Incinerator Site in 1988; one

 shipment of manifested waste containing hazardous substances totaling 1,833 lbs. was

 transported from Cornett Machine, with EPA ID No. KYD006366306, to the LWD Incinerator

 Site in 1989; one shipment of manifested waste containing hazardous substances totaling 3,665

 lbs. was transported from Cornett Machine, with EPA ID No. KYD006366306, to the LWD

 Incinerator Site in 1990; one shipment of manifested waste containing hazardous substances

 totaling 2,982 lbs. was transported from Cornett Machine, with EPA ID No. KYD006366306, to

 the LWD Incinerator Site in 1992; and one shipment of manifested waste containing hazardous

 substances totaling 2,752 lbs. was transported from Cornett Machine, with EPA ID No.

 KYD006366306, to the LWD Incinerator Site in 1994.

        412.    The total weight attributable to Cornett Machine at the LWD Incinerator Site is

 15,355 lbs.

        413.    To date, Cornett Machine has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        414.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Cupples Products Co. (“Cupples Products”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        415.    EPA issued EPA ID No. MOR000002691 to Cupples Products.

        416.    According to Annual Reports for the LWD Incinerator Site, six shipments of

 manifested waste containing hazardous substances totaling 119,210 lbs. were transported from

 Cupples Products, with EPA ID No. MOR000002691, to the LWD Incinerator Site in 1998.

        417.    The total weight attributable to Cupples Products at the LWD Incinerator Site is

 119,210 lbs.




                                                60
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 61 of 255 PageID #: 61




        418.    To date, Cupples Products has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        419.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Curtis-Toledo, Inc. (“Curtis-Toledo”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        420.    EPA issued EPA ID No. MOD095479945 to Curtis Toledo.

        421.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 5,950 lbs. were transported from

 Curtis Toledo, with EPA ID No. MOD095479945, to the LWD Incinerator Site in 1993; three

 shipments of manifested waste containing hazardous substances totaling 6,022 lbs. were

 transported from Curtis Toledo, with EPA ID No. MOD095479945, to the LWD Incinerator Site

 in 1994; and two shipments of manifested waste containing hazardous substances totaling 4,359

 lbs. were transported from Curtis Toledo, with EPA ID No. MOD095479945, to the LWD

 Incinerator Site in 1995.

        422.    The total weight attributable to Curtis-Toledo at the LWD Incinerator Site is

 16,331 lbs.

        423.    To date, Curtis-Toledo has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        424.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Curwood, Inc. (“Curwood”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        425.    Curwood, Inc. is the successor to Lustour Corp.

        426.    EPA issued EPA ID No. ILD006289011 to Lustour Corp.




                                                61
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 62 of 255 PageID #: 62




        427.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 38,943 lbs. were transported from

 Lustour Corp., with EPA ID No. ILD006289011, to the LWD Incinerator Site in 1985; and three

 shipments of manifested waste containing hazardous substances totaling 97,128 lbs. were

 transported from Lustour Corp., with EPA ID No. ILD006289011, to the LWD Incinerator Site

 in 1986.

        428.    The total weight attributable to Curwood at the LWD Incinerator Site is 136,071

 lbs.

        429.    To date, Curwood has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        430.    Custom Agriculture Formulators, Inc. (“Custom AG”) is also known as AG

 Formulators.

        431.    EPA issued EPA ID No. CAD983655671 to AG Formulators.

        432.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 6,720 lbs. was transported from AG

 Formulators, with EPA ID No. CAD983655671, to the LWD Incinerator Site in 1995.

        433.    The total weight attributable to Custom AG at the LWD Incinerator Site is 6,720

 lbs.

        434.    To date, Custom AG has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        435.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Dahlstrom Display, Inc. (“Dahlstrom”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                               62
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 63 of 255 PageID #: 63




        436.    Dahlstrom is the successor to Advertising Posters, Inc.

        437.    EPA issued EPA ID No. ILD094294857 to Advertising Powers, Inc.; and EPA ID

 No. CESQG, ILD094294857, and LQG to Dahlstrom Display, Inc.

        438.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 16,493 lbs. was transported from

 Advertising Posters, Inc., with EPA ID No. WID066892498, to the LWD Incinerator Site in

 1986; manifested waste containing hazardous substances totaling 2,291 lbs. was transported from

 Dahlstrom, to the LWD Incinerator Site in 1986; one shipment of manifested waste containing

 hazardous substances totaling 3,665 lbs. was transported from Dahlstrom, with EPA ID No.

 WID066892498, to the LWD Incinerator Site in 1987; and manifested waste containing

 hazardous substances totaling 4,582 lbs. was transported from Dahlstrom, to the LWD

 Incinerator Site in 1987.

        439.    The total weight attributable to Dahlstrom at the LWD Incinerator Site is 27,030

 lbs.

        440.    To date, Dahlstrom has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        441.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Danaher Corp. (“Danaher”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        442.    Danaher is the successor to Easco Hand Tools, Inc., Ammco Tools, Inc., and

 Eagle Signal Controls.

        443.    EPA issued EPA ID No. NCD085083004 to Easco Hand Tools, Inc.; EPA ID No.

 ILD180010167 to Ammco Tools, Inc.; and IAD051001337 to Eagle Signal Controls.




                                                63
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 64 of 255 PageID #: 64




        444.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 13,286 lbs. was transported from Eagle Signal

 Controls, with EPA ID No. IAD051001337, to the LWD Incinerator Site in 1984; five shipments

 of manifested waste containing hazardous substances totaling 73,137 lbs. were transported from

 Ammco Tools, Inc., with EPA ID No. ILD180010167, to the LWD Incinerator Site in 1986; two

 shipments of manifested waste containing hazardous substances totaling 8,247 lbs. were

 transported from Eagle Signal Controls, with EPA ID No. IAD051001337, to the LWD

 Incinerator Site in 1986; six shipments of manifested waste containing hazardous substances

 totaling 83,966 lbs. were transported from Ammco Tools, Inc., with EPA ID No. ILD180010167,

 to the LWD Incinerator Site in 1987; one shipment of manifested waste containing hazardous

 substances totaling 916 lbs. was transported from Eagle Signal Controls, with EPA ID No.

 IAD051001337, to the LWD Incinerator Site in 1987; two shipments of manifested waste

 containing hazardous substances totaling 5,956 lbs. were transported from Ammco Tools, Inc.,

 with EPA ID No. ILD180010167, to the LWD Incinerator Site in 1988; two shipments of

 manifested waste containing hazardous substances totaling 5,040 lbs. were transported from

 Ammco Tools, Inc., with EPA ID No. ILD180010167, to the LWD Incinerator Site in 1989; two

 shipments of manifested waste containing hazardous substances totaling 12,814 lbs. were

 transported from Easco Hand Tools, Inc., with EPA ID No. NCD085083004, to the LWD

 Incinerator Site in 1991; one shipment of manifested waste containing hazardous substances

 totaling 23,920 lbs. was transported from Easco Hand Tools, Inc., with EPA ID No.

 NCD085083004, to the LWD Incinerator Site in 1992; and one shipment of manifested waste

 containing hazardous substances totaling 20,080 lbs. was transported from Easco Hand Tools,

 Inc., with EPA ID No. NCD085083004, to the LWD Incinerator Site in 1993.




                                               64
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 65 of 255 PageID #: 65




         445.   The total weight attributable to Danaher at the LWD Incinerator Site is 247,362

 lbs.

         446.   To date, Danaher has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         447.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Daramic LLC (“Daramic”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         448.   EPA issued EPA ID No. KYD006394225 to Daramic.

         449.   According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 33,911 lbs. were transported from

 Daramic, with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1998; and two

 shipments of manifested waste containing hazardous substances totaling 31,600 lbs. were

 transported from Daramic, with EPA ID No. KYD006394225, to the LWD Incinerator Site in

 2001.

         450.   The total weight attributable to Daramic at the LWD Incinerator Site is 65,511

 lbs.

         451.   To date, Daramic has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         452.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Dayco Products, LLC (“Dayco”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         453.   Dayco is the successor to Imperial Eastman.

         454.   EPA issued EPA ID No. ILD083076018 to Imperial Eastman and EPA ID No.




                                                65
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 66 of 255 PageID #: 66




 TND086935723 to Dayco Products, Inc.

        455.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 58,056 lbs. were transported from

 Imperial Eastman, with EPA ID No. ILD083076018, to the LWD Incinerator Site in 1993; eight

 shipments of manifested waste containing hazardous substances totaling 96,982 lbs. were

 transported from Imperial Eastman, with EPA ID No. ILD083076018, to the LWD Incinerator

 Site in 1994; five shipments of manifested waste containing hazardous substances totaling

 54,286 lbs. were transported from Imperial Eastman, with EPA ID No. ILD083076018, to the

 LWD Incinerator Site in 1995; one shipment of manifested waste containing hazardous

 substances totaling 15,846 lbs. was transported from Dayco, with EPA ID No. FLD096588520,

 to the LWD Incinerator Site in 1995; and one shipment of manifested waste containing

 hazardous substances totaling 7,200 lbs. was transported from Dayco, with EPA ID No.

 TND086935723, to the LWD Incinerator Site in 1996.

        456.   The total weight attributable to Dayco at the LWD Incinerator Site is 232,370 lbs.

        457.   To date, Dayco has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        458.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Dayton Superior Corp. (“Dayton Superior”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        459.   Dayton Superior is the successor to Symons Corp.

        460.   EPA issued EPA ID No. ILD092541143 to Dayton Superior and EPA ID No.

 ILD005163449 to Symons Corp.

        461.   According to Annual Reports for the LWD Incinerator Site, one shipment of




                                               66
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 67 of 255 PageID #: 67




 manifested waste containing hazardous substances totaling 5,956 lbs. was transported from

 Dayton Superior, with EPA ID No. ILD092541143, to the LWD Incinerator Site in 1984; one

 shipment of manifested waste containing hazardous substances totaling 2,291 lbs. was

 transported from Dayton Superior, with EPA ID No. ILD092541143, to the LWD Incinerator

 Site in 1985; one shipment of manifested waste containing hazardous substances totaling 916 lbs.

 was transported from Dayton Superior, with EPA ID No. ILD092541143, to the LWD

 Incinerator Site in 1988; and one shipment of manifested waste containing hazardous substances

 totaling 5,040 lbs. was transported from Symons Corp, with EPA ID No. ILD005163449, to the

 LWD Incinerator Site in 1988.

        462.   The total weight attributable to Dayton Superior at the LWD Incinerator Site is

 14,203 lbs.

        463.   To date, Dayton Superior has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        464.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 DecoArt, Inc. (“DecoArt”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        465.   DecoArt is the successor to Ceramichrome, Inc.

        466.   EPA issued EPA ID No. KYD067646737 to Ceramichrome, Inc.

        467.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 3,695 lbs. was transported from Ceramichrome, Inc.,

 with EPA ID No. KYD067646737, to the LWD Incinerator Site in 1982; manifested waste

 containing hazardous substances totaling 2,060 lbs. was transported from Ceramichrome, Inc.,

 with EPA ID No. KYD067646737, to the LWD Incinerator Site in 1983; manifested waste




                                               67
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 68 of 255 PageID #: 68




 containing hazardous substances totaling 1,058 lbs. were transported from Ceramichrome, Inc.,

 with EPA ID No. KYD067646737, to the LWD Incinerator Site in 1984; and two shipments of

 manifested waste containing hazardous substances totaling 1,374 lbs. were transported from

 Ceramichrome, Inc., with EPA ID No. KYD067646737, to the LWD Incinerator Site in 1985.

        468.   The total weight attributable to DecoArt at the LWD Incinerator Site is 8,188 lbs.

        469.   To date, DecoArt has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        470.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Del-

 Homes, Inc. (“Del-Homes”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        471.   EPA issued EPA ID No. DEP000001155 to Del-Homes.

        472.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 11,250 lbs. were transported from Del-Homes, with

 EPA ID No. DEP000001155, to the LWD Incinerator Site in 1984.

        473.   The total weight attributable to Del-Homes at the LWD Incinerator Site is 11,250

 lbs.

        474.   To date, Del-Homes has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        475.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Delaware Terminal Co. (“Delaware Terminal”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        476.   EPA issued EPA ID No. DED073750796 to Delaware Terminal.

        477.   According to Annual Reports for the LWD Incinerator Site, two shipments of




                                               68
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 69 of 255 PageID #: 69




 manifested waste containing hazardous substances totaling 126,210 lbs. were transported from

 Delaware Terminal, with EPA ID No. DED073750796, to the LWD Incinerator Site in 1989.

        478.    The total weight attributable to Delaware Terminal at the LWD Incinerator Site is

 126,210 lbs.

        479.    To date, Delaware Terminal has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        480.    By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant Des

 Moines Area Community College (“DMACC”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        481.    EPA issued EPA ID No. IAD981119399 to DMACC.

        482.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 6,414 lbs. was transported from

 DMACC, with EPA ID No. IAD981119399, to the LWD Incinerator Site in 1987.

        483.    The total weight attributable to DMACC at the LWD Incinerator Site is 6,414 lbs.

        484.    To date, DMACC has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        485.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 DeWitt Barrels, Inc. (“DeWitt”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        486.    EPA issued EPA ID No. MID017079373 to DeWitt.

        487.    According to Annual Reports for the LWD Incinerator Site, five shipments of

 manifested waste containing hazardous substances totaling 157,978 lbs. were transported from

 DeWitt, with EPA ID No. MID017079373, to the LWD Incinerator Site in 1986; and one




                                                69
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 70 of 255 PageID #: 70




 shipment of manifested waste containing hazardous substances totaling 3,665 lbs. was

 transported from DeWitt, with EPA ID No. MID017079373, to the LWD Incinerator Site in

 1987.

         488.     The total weight attributable to DeWitt at the LWD Incinerator Site is 161,644

 lbs.

         489.     To date, DeWitt has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         490.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Diamond Packaging Corp. (“Diamond Packaging”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         491.     Diamond Packaging is the successor to American Tara.

         492.     EPA issued EPA ID No. ILD053484614 to American Tara.

         493.     According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 16,035 lbs. was transported from American Tara, with

 EPA ID No. ILD053484614, to the LWD Incinerator Site in 1984; and two shipments of

 manifested waste containing hazardous substances totaling 29,113 lbs. were transported from

 American Tara, with EPA ID No. ILD053484614, to the LWD Incinerator Site in 1985.

         494.     The total weight attributable to Diamond Packaging at the LWD Incinerator Site

 is 45,149 lbs.

         495.     To date, Diamond Packaging has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

         496.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Dis-

 Tran Wood Products (“Dis-Tran Wood”) pay its equitable share of LWD Incinerator Site




                                                  70
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 71 of 255 PageID #: 71




 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        497.    EPA issued EPA ID No. LAR000001768 to Dis-Tran Wood.

        498.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 39,420 lbs. were transported from

 Dis-Tran Wood, with EPA ID No. LAR000001768, to the LWD Incinerator Site in 1998; two

 shipments of manifested waste containing hazardous substances totaling 29,633 lbs. were

 transported from Dis-Tran Wood, with EPA ID No. LAR000001768, to the LWD Incinerator

 Site in 1999; two shipments of manifested waste containing hazardous substances totaling

 34,163 lbs. were transported from Dis-Tran Wood, with EPA ID No. LAR000001768, to the

 LWD Incinerator Site in 2000; six shipments of manifested waste containing hazardous

 substances totaling 59,522 lbs. were transported from Dis-Tran Wood, with EPA ID No.

 LAR000001768, to the LWD Incinerator Site in 2001; three shipments of manifested waste

 containing hazardous substances totaling 45,455 lbs. were transported from Dis-Tran Wood, with

 EPA ID No. LAR000001768, to the LWD Incinerator Site in 2002; and two shipments of

 manifested waste containing hazardous substances totaling 63,020 lbs. were transported from

 Dis-Tran Wood, with EPA ID No. LAR000001768, to the LWD Incinerator Site in 2003.

        499.    The total weight attributable to Dis-Tran Wood at the LWD Incinerator Site is

 271,213 lbs.

        500.    To date, Dis-Tran Wood has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        501.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 DistTech, Inc. (“DistTech”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                71
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 72 of 255 PageID #: 72




         502.   DistTech is also known as Manfredi Motor Transit Co.

         503.   EPA issued EPA ID No. OHD002834919 to Manfredi Motor Transit Co.

         504.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 64,157 lbs. were transported from

 Manfredi Motor Transit Co, with EPA ID No. OHD002834919, to the LWD Incinerator Site in

 1985.

         505.   The total weight attributable to DistTech at the LWD Incinerator Site is 64,158

 lbs.

         506.   To date, DistTech has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         507.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Dominion pay its equitable share of LWD Incinerator Site response costs pursuant to Sections

 107(a) and 113(f)(1) of CERCLA.

         508.   Dominion is the successor to East Ohio Gas.

         509.   EPA issued EPA ID No. OHD986976819 to East Ohio Gas.

         510.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 8,348 lbs. was transported from East

 Ohio Gas, with EPA ID No. OHD986976819, to the LWD Incinerator Site in 1998.

         511.   The total weight attributable to Dominion at the LWD Incinerator Site is 8,348

 lbs.

         512.   To date, Dominion has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

         513.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                72
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 73 of 255 PageID #: 73




 Doric Products, Inc. (“Doric”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        514.    EPA issued EPA ID No. ILR000010470 to Doric.

        515.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 23,937 lbs. were transported from

 Doric, with EPA ID No. ILR000010470, to the LWD Incinerator Site in 1995.

        516.    The total weight attributable to Doric at the LWD Incinerator Site is 23,937 lbs.

        517.    To date, Doric has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        518.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Dresser Industries, Inc. (“Dresser”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        519.    EPA issued EPA ID No. KYD007369887 and EPA ID No. MDD044147098 to

 Dresser.

        520.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 14,547 lbs. were transported from

 Dresser, with EPA ID No. KYD007369887, to the LWD Incinerator Site in 1986; three

 shipments of manifested waste containing hazardous substances totaling 17,187 lbs. were

 transported from Dresser, with EPA ID No. KYD007369887, to the LWD Incinerator Site in

 1987; three shipments of manifested waste containing hazardous substances totaling 24,445 lbs.

 were transported from Dresser, with EPA ID No. KYD007369887, to the LWD Incinerator Site

 in 1988; four shipments of manifested waste containing hazardous substances totaling 32,412

 lbs. were transported from Dresser, with EPA ID No. KYD007369887, to the LWD Incinerator




                                                73
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 74 of 255 PageID #: 74




 Site in 1989; and one shipment of manifested waste containing hazardous substances totaling

 29,190 lbs. was transported from Dresser, with EPA ID No. MDD044147098, to the LWD

 Incinerator Site in 1993.

        521.    The total weight attributable to Dresser at the LWD Incinerator Site is 117,781

 lbs.

        522.    To date, Dresser has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        523.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Driv-Lok, Inc. (“Driv-Lok”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        524.    EPA issued EPA ID No. ILD005100961 and EPA ID No. ILD981188923 to Driv-

 Lok.

        525.    According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 16,952 lbs. was transported from Driv-Lok, with EPA

 ID No. ILD005100961, to the LWD Incinerator Site in 1984; one shipment of manifested waste

 containing hazardous substances totaling 3,665 lbs. was transported from Driv-Lok, with EPA

 ID No. ILD005100961, to the LWD Incinerator Site in 1985; four shipments of manifested waste

 containing hazardous substances totaling 34,361 lbs. were transported from Driv-Lok, with EPA

 ID No. ILD981188923, to the LWD Incinerator Site in 1986; five shipments of manifested waste

 containing hazardous substances totaling 66,432 lbs. were transported from Driv-Lok, with EPA

 ID No. ILD981188923, to the LWD Incinerator Site in 1987; five shipments of manifested waste

 containing hazardous substances totaling 92,088 lbs. were transported from Driv-Lok, with EPA

 ID No. ILD981188923, to the LWD Incinerator Site in 1988; and one shipment of manifested




                                                74
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 75 of 255 PageID #: 75




 waste containing hazardous substances totaling 38,485 lbs. was transported from Driv-Lok, with

 EPA ID No. ILD981188923, to the LWD Incinerator Site in 1989.

        526.     The total weight attributable to Driv-Lok at the LWD Incinerator Site is 251,983

 lbs.

        527.     To date, Driv-Lok has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        528.     By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Drive Source International, Inc. (“Drive Source”) pay its equitable share of LWD Incinerator

 Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        529.     Drive Source is the successor to Dynamatic Corp.

        530.     EPA issued EPA ID No. WID006101521 to Dynamatic Corp.

        531.     According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 2,721 lbs. were transported from

 Dynamatic Corp., with EPA ID No. WID006101521, to the LWD Incinerator Site in 1997; and

 four shipments of manifested waste containing hazardous substances totaling 4,821 lbs. were

 transported from Dynamatic Corp., with EPA ID No. WID006101521, to the LWD Incinerator

 Site in 1998.

        532.     The total weight attributable to Drive Source at the LWD Incinerator Site is 7,542

 lbs.

        533.     To date, Drive Source has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        534.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

 Durox Co. (“Durox”) pay its equitable share of LWD Incinerator Site response costs pursuant to




                                                 75
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 76 of 255 PageID #: 76




 Sections 107(a) and 113(f)(1) of CERCLA.

          535.   EPA issued EPA ID No. OHR000007187 and EPA ID No. OHR000007182 to

 Durox.

          536.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,259 lbs. was transported from

 Durox, with EPA ID No. OHR000007187, to the LWD Incinerator Site in 2000; five shipments

 of manifested waste containing hazardous substances totaling 15,117 lbs. were transported from

 Durox, with EPA ID No. OHR000007187, to the LWD Incinerator Site in 2001; four shipments

 of manifested waste containing hazardous substances totaling 11,309 lbs. were transported from

 Durox, with EPA ID No. OHR000007187, to the LWD Incinerator Site in 2002; one shipment of

 manifested waste containing hazardous substances totaling 117 lbs. was transported from Durox,

 with EPA ID No. OHR000007182, to the LWD Incinerator Site in 2002; and two shipments of

 manifested waste containing hazardous substances totaling 8,031 lbs. were transported from

 Durox, with EPA ID No OHR000007187, to the LWD Incinerator Site in 2003.

          537.   The total weight attributable to Durox at the LWD Incinerator Site is 45,833 lbs.

          538.   To date, Durox has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

          539.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant E.D.

 Etnyre & Co. (“Etnyre”) pay its equitable share of LWD Incinerator Site response costs pursuant

 to Sections 107(a) and 113(f)(1) of CERCLA.

          540.   EPA issued EPA ID No. ILT180011561 to Etnyre.

          541.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 1,833 lbs. was transported from




                                                 76
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 77 of 255 PageID #: 77




 Etnyre, with EPA ID No. ILT180011561, to the LWD Incinerator Site in 1986; two shipments of

 manifested waste containing hazardous substances totaling 5,498 lbs. were transported from

 Etnyre, with EPA ID No. ILT180011561, to the LWD Incinerator Site in 1987; and one shipment

 of manifested waste containing hazardous substances totaling 4,123 lbs. was transported from

 Etnyre, with EPA ID No. ILT180011561, to the LWD Incinerator Site in 1988.

        542.   The total weight attributable to Etnyre at the LWD Incinerator Site is 11,454 lbs.

        543.   To date, Etnyre has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        544.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Easton-Bell Sports, Inc. (“Easton-Bell”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        545.   Easton-Bell is the parent company to Bell Sports.

        546.   EPA issued EPA ID No. ILD075611525 to Bell Sports.

        547.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 5,963 lbs. was transported from Bell

 Sports, with EPA ID No. LD075611525, to the LWD Incinerator Site in 1994.

        548.   The total weight attributable to Easton-Bell at the LWD Incinerator Site is 5,963

 lbs.

        549.   To date, Easton-Bell has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        550.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Ecko Products Group, LLC (“Ecko Products”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                77
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 78 of 255 PageID #: 78




        551.     EPA issued EPA ID No. ILD005184296 to Ecko Products.

        552.     According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 87,465 lbs. were transported from

 Ecko Products, with EPA ID No. ILD005184296, to the LWD Incinerator Site in 1986.

        553.     The total weight attributable to Ecko Products at the LWD Incinerator Site is

 87,465 lbs.

        554.     To date, Ecko Products has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        555.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Economy Boat Store (“Economy Boat”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        556.     EPA issued EPA ID No. KYR000009233 to Economy Boat.

        557.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 11,120 lbs. was transported from

 Economy Boat, with EPA ID No. KYR000009233, to the LWD Incinerator Site in 1998; three

 shipments of manifested waste containing hazardous substances totaling 4,818 lbs. were

 transported from Economy Boat, with EPA ID No. KYR000009233, to the LWD Incinerator Site

 in 1999; and one shipment of manifested waste containing hazardous substances totaling 117 lbs.

 was transported from Economy Boat, with EPA ID No. KYR000009233, to the LWD Incinerator

 Site in 2000.

        558.     The total weight attributable to Economy Boat at the LWD Incinerator Site is

 16,055 lbs.

        559.     To date, Economy Boat has not paid toward any response costs incurred by the




                                                 78
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 79 of 255 PageID #: 79




 LWD PRP Group at the LWD Incinerator Site.

        560.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 EFTEC North America, LLC (“EFTEC”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        561.    EFTEC is the successor to EMS-Togo Corp.

        562.    EPA issued EPA ID No. KYD985116573 to EMS-Togo Corp.

        563.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 5,490 lbs. was transported from

 EMS-Togo Corp., with EPA ID No. KYD985116573, to the LWD Incinerator Site in 1993; three

 shipments of manifested waste containing hazardous substances totaling 30,424 lbs. were

 transported from EMS-Togo Corp., with EPA ID No. KYD985116573, to the LWD Incinerator

 Site in 1994; four shipments of manifested waste containing hazardous substances totaling

 41,500 lbs. were transported from EMS-Togo Corp., with EPA ID No. KYD985116573, to the

 LWD Incinerator Site in 1995; and two shipments of manifested waste containing hazardous

 substances totaling 3,903 lbs. were transported from EMS-Togo Corp., with EPA ID No.

 KYD985116573, to the LWD Incinerator Site in 1996.

        564.    The total weight attributable to EFTEC at the LWD Incinerator Site is 81,317 lbs.

        565.    To date, EFTEC has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        566.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Eggers Industries, Inc. (“Eggers”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        567.    EPA issued EPA ID No. WID006070429 to Eggers.




                                                79
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 80 of 255 PageID #: 80




         568.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 25,656 lbs. were transported from

 Eggers, with EPA ID No. WID006070429, to the LWD Incinerator Site in 1987.

         569.   The total weight attributable to Eggers at the LWD Incinerator Site is 25,656 lbs.

         570.   To date, Eggers has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

         571.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 1883 Properties, Inc. (“1883 Properties”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         572.   1883 Properties is also known as E.H. Wachs.

         573.   EPA issued EPA ID No. ILD005065677 to E.H. Wachs.

         574.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 15,577 lbs. were transported from

 E.H. Wachs, with EPA ID No. ILD005065677, to the LWD Incinerator Site in 1985; and one

 shipment of manifested waste containing hazardous substances totaling 1,374 lbs. was

 transported from E.H. Wachs, with EPA ID No. ILD005065677, to the LWD Incinerator Site in

 1987.

         575.   The total weight attributable to 1883 Properties at the LWD Incinerator Site is

 16,952 lbs.

         576.   To date, 1883 Properties has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         577.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

 Electric Energy, Inc. (“Electric Energy”) pay its equitable share of LWD Incinerator Site




                                                80
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 81 of 255 PageID #: 81




 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        578.   EPA issued EPA ID No. ILD001979350 to Electric Energy.

        579.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 2,499 lbs. was transported from

 Electric Energy, with EPA ID No. ILD001979350, to the LWD Incinerator Site in 1990; one

 shipment of manifested waste containing hazardous substances totaling 2,085 lbs. was

 transported from Electric Energy, with EPA ID No. ILD001979350, to the LWD Incinerator Site

 in 1991; one shipment of manifested waste containing hazardous substances totaling 626 lbs. was

 transported from Electric Energy, with EPA ID No. ILD001979350, to the LWD Incinerator Site

 in 1993; two shipments of manifested waste containing hazardous substances totaling 1,334 lbs.

 were transported from Electric Energy, with EPA ID No. ILD001979350, to the LWD

 Incinerator Site in 1995; one shipment of manifested waste containing hazardous substances

 totaling 417 lbs. was transported from Electric Energy, with EPA ID No. ILD001979350, to the

 LWD Incinerator Site in 1996; and three shipments of manifested waste containing hazardous

 substances totaling 1,797 lbs. were transported from Electric Energy, with EPA ID No.

 ILD001979350, to the LWD Incinerator Site in 2002.

        580.   The total weight attributable to Electric Energy at the LWD Incinerator Site is

 8,758 lbs.

        581.   To date, Electric Energy has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        582.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Electrolux North America, Inc. (“Electrolux”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                               81
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 82 of 255 PageID #: 82




        583.   Electrolux is the successor to Frigidaire Co. and G.R. Manufacturing, Inc.

        584.   EPA issued EPA ID No. TND075383836 to Frigidaire Co. and EPA ID No.

 MID092951953 to G.R. Manufacturing, Inc.

        585.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 5,500 lbs. was transported from G.R. Manufacturing,

 Inc., with EPA ID No. MID092951953, to the LWD Incinerator Site in 1984; one shipment of

 manifested waste containing hazardous substances totaling 1,833 lbs. was transported from G.R.

 Manufacturing, Inc., with EPA ID No. MID092951953, to the LWD Incinerator Site in 1985;

 three shipments of manifested waste containing hazardous substances totaling 15,577 lbs. were

 transported from G.R. Manufacturing, Inc., with EPA ID No. MID092951953, to the LWD

 Incinerator Site in 1986; three shipments of manifested waste containing hazardous substances

 totaling 22,449 lbs. were transported from G.R. Manufacturing, Inc., with EPA ID No.

 MID092951953, to the LWD Incinerator Site in 1987; and two shipments of manifested waste

 containing hazardous substances totaling 8,705 lbs. were transported from G.R. Manufacturing,

 Inc., with EPA ID No. MID092951953, to the LWD Incinerator Site in 1988; four shipments of

 manifested waste containing hazardous substances totaling 66,515 lbs. were transported from

 Frigidaire Co., with EPA ID No. TND075383836, to the LWD Incinerator Site in 1994; and six

 shipments of manifested waste containing hazardous substances totaling 11,073 lbs. were

 transported from Frigidaire Co., with EPA ID No. TND075383836, to the LWD Incinerator Site

 in 1995.

        586.   The total weight attributable to Electrolux at the LWD Incinerator Site is 131,652

 lbs.

        587.   To date, Electrolux has not paid toward any response costs incurred by the LWD




                                               82
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 83 of 255 PageID #: 83




 PRP Group at the LWD Incinerator Site.

        588.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 EMC Corporation (“EMC”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        589.   EPA issued EPA ID No. MND041204108 to EMC.

        590.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 2,440 lbs. was transported from

 EMC, with EPA ID No. MND041204108, to the LWD Incinerator Site in 1994; two shipments

 of manifested waste containing hazardous substances totaling 6,709 lbs. were transported from

 EMC, with EPA ID No. MND041204108, to the LWD Incinerator Site in 1995; two shipments

 of manifested waste containing hazardous substances totaling 6,709 lbs. were transported from

 EMC, with EPA ID No. MND041204108, to the LWD Incinerator Site in 1996; one shipment of

 manifested waste containing hazardous substances totaling 825 lbs. was transported from EMC,

 with EPA ID No. MND041204108, to the LWD Incinerator Site in 1997; two shipments of

 manifested waste containing hazardous substances totaling 1,352 lbs. were transported from

 EMC, with EPA ID No. MND041204108, to the LWD Incinerator Site in 1999; and one

 shipment of manifested waste containing hazardous substances totaling 688 lbs. was transported

 from EMC, with EPA ID No. MND041204108, to the LWD Incinerator Site in 2000.

        591.   The total weight attributable to EMC at the LWD Incinerator Site is 18,724 lbs.

        592.   To date, EMC has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        593.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Environmental Coatings, Inc. (“Environmental Coatings”) pay its equitable share of LWD




                                               83
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 84 of 255 PageID #: 84




 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         594.   EPA issued EPA ID No. MID006410708 to Environmental Coatings.

         595.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 44,149 lbs. was transported from

 Environmental Coatings, with EPA ID No. MID006410708, to the LWD Incinerator Site in

 1987.

         596.   The total weight attributable to Environmental Coatings at the LWD Incinerator

 Site is 44,149 lbs.

         597.   To date, Environmental Coatings has not paid toward any response costs incurred

 by the LWD PRP Group at the LWD Incinerator Site.

         598.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Environmental Services of North America, Inc. (“Environmental Services”) pay its equitable

 share of LWD Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of

 CERCLA.

         599.   EPA issued EPA ID No. MOD980632954 and EPA ID No. IND980590947 to

 Environmental Services.

         600.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 52,976 lbs. were transported from

 Environmental Services, with EPA ID No. IND980590947, to the LWD Incinerator Site in 1995;

 two shipments of manifested waste containing hazardous substances totaling 69,123 lbs. were

 transported from Environmental Services, with EPA ID No. IND980590947, to the LWD

 Incinerator Site in 1996; three shipments of manifested waste containing hazardous substances

 totaling 24,779 lbs. were transported from Environmental Services, with EPA ID No.




                                               84
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 85 of 255 PageID #: 85




 MOD980632954, to the LWD Incinerator Site in 1996; one shipment of manifested waste

 containing hazardous substances totaling 45,933 lbs. was transported from Environmental

 Services, with EPA ID No. MOD980632954, to the LWD Incinerator Site in 1997; and one

 shipment of manifested waste containing hazardous substances totaling 5,129 lbs. was

 transported from Environmental Services, with EPA ID No. MOD980632954, to the LWD

 Incinerator Site in 1999.

        601.    The total weight attributable to Environmental Services at the LWD Incinerator

 Site is 197,940 lbs.

        602.    To date, Environmental Services has not paid toward any response costs incurred

 by the LWD PRP Group at the LWD Incinerator Site.

        603.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Estron Chemical, Inc. (“Estron Chemical”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        604.    EPA issued EPA ID No. KYD092570407 to Estron Chemical.

        605.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 2,749 lbs. were transported from

 Estron Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator Site in 1989; one

 shipment of manifested waste containing hazardous substances totaling 916 lbs. was transported

 from Estron Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator Site in 1990;

 three shipments of manifested waste containing hazardous substances totaling 2,627 lbs. were

 transported from Estron Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator

 Site in 1991; four shipments of manifested waste containing hazardous substances totaling 7,497

 lbs. were transported from Estron Chemical, with EPA ID No. KYD092570407, to the LWD




                                               85
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 86 of 255 PageID #: 86




 Incinerator Site in 1992; ten shipments of manifested waste containing hazardous substances

 totaling 54,207 lbs. were transported from Estron Chemical, with EPA ID No. KYD092570407,

 to the LWD Incinerator Site in 1993; five shipments of manifested waste containing hazardous

 substances totaling 29,237 lbs. were transported from Estron Chemical, with EPA ID No.

 KYD092570407, to the LWD Incinerator Site in 1994; two shipments of manifested waste

 containing hazardous substances totaling 11,239 lbs. were transported from Estron Chemical,

 with EPA ID No. KYD092570407, to the LWD Incinerator Site in 1995; one shipment of

 manifested waste containing hazardous substances totaling 430 lbs. was transported from Estron

 Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator Site in 1996; one

 shipment of manifested waste containing hazardous substances totaling 252 lbs. was transported

 from Estron Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator Site in 1997;

 seven shipments of manifested waste containing hazardous substances totaling 137,287 lbs. were

 transported from Estron Chemical, with EPA ID No. KYD092570407, to the LWD Incinerator

 Site in 2000; twenty-four shipments of manifested waste containing hazardous substances

 totaling 23,855 lbs. were transported from Estron Chemical, with EPA ID No. KYD092570407,

 to the LWD Incinerator Site in 2001; one shipment of manifested waste containing hazardous

 substances totaling 511 lbs. was transported from Estron Chemical, with EPA ID No.

 KYD092570407, to the LWD Incinerator Site in 2002; and one shipment of manifested waste

 containing hazardous substances totaling 6,111 lbs. was transported from Estron Chemical, with

 EPA ID No. KYD092570407, to the LWD Incinerator Site in 2003.

        606.    The total weight attributable to Estron Chemical at the LWD Incinerator Site is

 276,918 lbs.

        607.    To date, Estron Chemical has not paid toward any response costs incurred by the




                                                86
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 87 of 255 PageID #: 87




 LWD PRP Group at the LWD Incinerator Site.

        608.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Evanite Fiber Corporation (“Evanite”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        609.   Evanite is the successor to Evanite Battery Separator, Inc.

        610.   EPA issued EPA ID No. IND096555313 to Evanite Battery Separator, Inc.

        611.   According to Annual Reports for the LWD Incinerator Site, seven shipments of

 manifested waste containing hazardous substances totaling 107,472 lbs. were transported from

 Evanite Battery Separator, Inc., with EPA ID No. IND096555313, to the LWD Incinerator Site

 in 1986; three shipments of manifested waste containing hazardous substances totaling 53,162

 lbs. were transported from Evanite Battery Separator, Inc., with EPA ID No. IND096555313, to

 the LWD Incinerator Site in 1987; five shipments of manifested waste containing hazardous

 substances totaling 64,958 lbs. were transported from Evanite Battery Separator, Inc., with EPA

 ID No. IND096555313, to the LWD Incinerator Site in 1988; five shipments of manifested waste

 containing hazardous substances totaling 45,437 lbs. were transported from Evanite Battery

 Separator, Inc., with EPA ID No. IND096555313, to the LWD Incinerator Site in 1989; four

 shipments of manifested waste containing hazardous substances totaling 70,829 lbs. were

 transported from Evanite Battery Separator, Inc., with EPA ID No. IND096555313, to the LWD

 Incinerator Site in 1990; and one shipment of manifested waste containing hazardous substances

 totaling 658 lbs. was transported from Evanite Fiber Corporation, with EPA ID No.

 IND096555313, to the LWD Incinerator Site in 1991.

        612.   The total weight attributable to Evanite at the LWD Incinerator Site is 342,516

 lbs.




                                                87
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 88 of 255 PageID #: 88




        613.   To date, Evanite has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        614.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Evans Tempcon, Inc. (“Evans Tempcon”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        615.   EPA issued EPA ID No. MID006015002 to Evans Tempcon.

        616.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 8,247 lbs. was transported from

 Evans Tempcon, with EPA ID No. MID006015002, to the LWD Incinerator Site in 1986; three

 shipments of manifested waste containing hazardous substances totaling 8,705 lbs. were

 transported from Evans Tempcon, with EPA ID No. MID006015002, to the LWD Incinerator

 Site in 1987; three shipments of manifested waste containing hazardous substances totaling

 5,956 lbs. were transported from Evans Tempcon, with EPA ID No. MID006015002, to the

 LWD Incinerator Site in 1988; and one shipment of manifested waste containing hazardous

 substances totaling 1,833 lbs. was transported from Evans Tempcon, with EPA ID No.

 MID006015002, to the LWD Incinerator Site in 1989.

        617.   The total weight attributable to Evans Tempcon at the LWD Incinerator Site is

 24,740 lbs.

        618.   To date, Evans Tempcon has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        619.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Excel TSD, Inc. (“Excel TSD”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                               88
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 89 of 255 PageID #: 89




        620.    EPA issued EPA ID No. TND980847024 to Excel TSD.

        621.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 16,755 lbs. were transported from

 Excel TSD, with EPA ID No. TND980847024, to the LWD Incinerator Site in 1993; one

 shipment of manifested waste containing hazardous substances totaling 684 lbs. was transported

 from Excel TSD, with EPA ID No. TND980847024, to the LWD Incinerator Site in 1994; three

 shipments of manifested waste containing hazardous substances totaling 103,640 lbs. were

 transported from Excel TSD, with EPA ID No. TND980847024, to the LWD Incinerator Site in

 1999; and eight shipments of manifested waste containing hazardous substances totaling 4,990

 lbs. were transported from Excel TSD, with EPA ID No. TND980847024, to the LWD

 Incinerator Site in 2001.

        622.    The total weight attributable to Excel TSD at the LWD Incinerator Site is 126,069

 lbs.

        623.    To date, Excel TSD has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        624.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Exide Technologies (“Exide”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        625.    Exide is the successor to GNB Technologies, Inc.

        626.    EPA issued EPA ID No. GAD070330576 to GNB Technologies, Inc.

        627.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 75,260 lbs. were transported from

 GNB Technologies, Inc., with EPA ID No. GAD070330576, to the LWD Incinerator Site in




                                                89
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 90 of 255 PageID #: 90




 1998.

         628.   The total weight attributable to Exide at the LWD Incinerator Site is 75,260 lbs.

         629.   To date, Exide has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

         630.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

 Fannin County, Texas (“Fannin County”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         631.   EPA issued EPA ID No. TXP490311063 to Fannin County.

         632.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 20,840 lbs. was transported from

 Fannin County, with EPA ID No. TXP490311063, to the LWD Incinerator Site in 2001.

         633.   The total weight attributable to Fannin County at the LWD Incinerator Site is

 20,840 lbs.

         634.   To date, Fannin County has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         635.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Fansteel, Inc. (“Fansteel”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

         636.   EPA issued EPA ID No. ILD005445002 to Fansteel, Inc. and EPA ID No.

 IAD065218737 to Fansteel/Wellman Dynamics.

         637.   According to Annual Reports for the LWD Incinerator Site, in 1986, one

 shipment of manifested waste containing hazardous substances totaling 2,749 lbs. was

 transported from Fansteel, with EPA ID No. ILD005445002, to the LWD Incinerator Site; five




                                                90
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 91 of 255 PageID #: 91




 shipments of manifested waste containing hazardous substances totaling 60,476 lbs. were

 transported from Fansteel, with EPA ID No. I ILD005445002, to the LWD Incinerator Site in

 1987; and one shipment of manifested waste containing hazardous substances totaling 10,996

 lbs. was transported from Fansteel/Wellman Dynamics, with EPA ID No. IAD065218737, to the

 LWD Incinerator Site in 1987.

        638.   The total weight attributable to Fansteel at the LWD Incinerator Site is 74,221 lbs.

        639.   To date, Fansteel has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        640.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Farrell-Calhoun Paint, Inc. (“Farrell-Calhoun”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        641.   Farrell-Calhoun is the successor to Kentucky Paint Mfg. Co.

        642.   EPA issued EPA ID No. KYD006366843 and EPA ID No. KYD006375521 to

 Kentucky Paint Mfg. Co.

        643.   According to Annual Reports for the LWD Incinerator Site, manifested waste

 containing hazardous substances totaling 45,815 lbs. was transported from Kentucky Paint Mfg.

 Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in 1981; manifested waste

 containing hazardous substances totaling 20,995 lbs. was transported from Kentucky Paint Mfg.

 Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in 1982; manifested waste

 containing hazardous substances totaling 40,874 lbs. was transported from Kentucky Paint Mfg.

 Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in 1983; manifested waste

 containing hazardous substances totaling 29,337 lbs. was transported from Kentucky Paint Mfg.

 Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in 1984; three shipments of




                                                91
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 92 of 255 PageID #: 92




 manifested waste containing hazardous substances totaling 48,600 lbs. were transported from

 Kentucky Paint Mfg. Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in

 1985; manifested waste containing hazardous substances totaling 48,510 lbs. was transported

 from Kentucky Paint Mfg. Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site

 in 1986; manifested waste containing hazardous substances totaling 20,533 lbs. was transported

 from Kentucky Paint Mfg. Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site

 in 1987; two shipments of manifested waste containing hazardous substances totaling 12,037 lbs.

 were transported from Kentucky Paint Mfg. Co., with EPA ID No. KYD006366843, to the LWD

 Incinerator Site in 1987; two shipments of manifested waste containing hazardous substances

 totaling 10,996 lbs. were transported from Kentucky Paint Mfg. Co., with EPA ID No.

 KYD006375521, to the LWD Incinerator Site in 1988; and one shipment of manifested waste

 containing hazardous substances totaling 5,498 lbs. was transported from Kentucky Paint Mfg.

 Co., with EPA ID No. KYD006375521, to the LWD Incinerator Site in 1989.

         644.   The total weight attributable to Farrell-Calhoun at the LWD Incinerator Site is

 283,195 lbs.

         645.   To date, Farrell-Calhoun has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

         646.   EPA issued EPA ID No. KYD985116383 to Fayette County Schools, Kentucky

 (“Fayette County Schools”).

         647.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 80,640 lbs. were transported from

 Fayette County Schools, with EPA ID No. KYD985116383, to the LWD Incinerator Site in

 1993.




                                                92
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 93 of 255 PageID #: 93




        648.    The total weight attributable to Fayette County Schools at the LWD Incinerator

 Site is 80,640 lbs.

        649.    To date, Fayette County Schools has not paid toward any response costs incurred

 by the LWD PRP Group at the LWD Incinerator Site.

        650.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 FIBA Technologies, Inc. (“FIBA”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        651.    EPA issued EPA ID No. MAD001767748 to FIBA.

        652.    According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 26,891 lbs. were transported from

 FIBA, with EPA ID No. MAD001767748, to the LWD Incinerator Site in 2001.

        653.    The total weight attributable to FIBA at the LWD Incinerator Site is 26,891 lbs.

        654.    To date, FIBA has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        655.    By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant Filer

 Auto Body, Inc. (“Filer Auto”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        656.    EPA issued EPA ID No. PAD014164792 to Filer Auto.

        657.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 1,418 lbs. was transported from Filer

 Auto, with EPA ID No. PAD014164792, to the LWD Incinerator Site in 2000; one shipment of

 manifested waste containing hazardous substances totaling 2,314 lbs. was transported from Filer

 Auto, with EPA ID No. PAD014164792, to the LWD Incinerator Site in 2001; and one shipment




                                                93
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 94 of 255 PageID #: 94




 of manifested waste containing hazardous substances totaling 2,726 lbs. was transported from

 Filer Auto, with EPA ID No. PAD014164792, to the LWD Incinerator Site in 2002.

        658.    The total weight attributable to Filer Auto at the LWD Incinerator Site is 6,458

 lbs.

        659.    To date, Filer Auto has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        660.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Filter Systems, Inc. (“Filter Systems”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        661.    EPA issued EPA ID No. ILD005252432 to Filter Systems.

        662.    According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 16,660 lbs. was transported from

 Filter Systems, with EPA ID No. ILD005252432, to the LWD Incinerator Site in 1985.

        663.    The total weight attributable to Filter Systems at the LWD Incinerator Site is

 16,660 lbs.

        664.    To date, Filter Systems has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        665.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

 Finishing Company (“Finishing Company”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        666.    EPA issued EPA ID No. ILD045690724 to Finishing Company.

        667.    According to Annual Reports for the LWD Incinerator Site, five shipments of

 manifested waste containing hazardous substances totaling 130,401 lbs. were transported from




                                                 94
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 95 of 255 PageID #: 95




 Finishing Company, with EPA ID No. ILD045690724, to the LWD Incinerator Site in 1994;

 three shipments of manifested waste containing hazardous substances totaling 33,499 lbs. were

 transported from Finishing Company, with EPA ID No. ILD045690724, to the LWD Incinerator

 Site in 1995; one shipment of manifested waste containing hazardous substances totaling 7,674

 lbs. was transported from Finishing Company, with EPA ID No. ILD045690724, to the LWD

 Incinerator Site in 1996; and one shipment of manifested waste containing hazardous substances

 totaling 10,360 lbs. was transported from Finishing Company, with EPA ID No. ILD045690724,

 to the LWD Incinerator Site in 1997.

        668.    The total weight attributable to Finishing Company at the LWD Incinerator Site is

 181,934 lbs.

        669.    To date, Finishing Company has not paid toward any response costs incurred by

 the LWD PRP Group at the LWD Incinerator Site.

        670.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Fleet Image of Lansing, Inc. (“Fleet Image”) pay its equitable share of LWD Incinerator Site

 response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        671.    EPA issued EPA ID No. MID021038278 to Fleet Image.

        672.    According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 4,582 lbs. were transported from

 Fleet Image, with EPA ID No. MID021038278, to the LWD Incinerator Site in 1988; one

 shipment of manifested waste containing hazardous substances totaling 2,440 lbs. was

 transported from Fleet Image, with EPA ID No. MID021038278, to the LWD Incinerator Site in

 1991; one shipment of manifested waste containing hazardous substances totaling 1,830 lbs. was

 transported from Fleet Image, with EPA ID No. MID021038278, to the LWD Incinerator Site in




                                                95
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 96 of 255 PageID #: 96




 1992; and one shipment of manifested waste containing hazardous substances totaling 1,220 lbs.

 was transported from Fleet Image, with EPA ID No. MID021038278, to the LWD Incinerator

 Site in 1996.

        673.     The total weight attributable to Fleet Image at the LWD Incinerator Site is 10,071

 lbs.

        674.     To date, Fleet Image has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        675.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Fortune Brands Home & Security, Inc. (“Fortune Brands”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        676.     Fortune Brands is the parent company to Schrock-Division of Tappan Co.

        677.     EPA issued EPA ID No. ILD038408894 to Schrock-Division of Tappan Co.

        678.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 202,400 lbs. was transported from

 Schrock-Division of Tappan Co., with EPA ID No. ILD038408894, to the LWD Incinerator Site

 in 1985.

        679.     The total weight attributable to Fortune Brands at the LWD Incinerator Site is

 202,400 lbs.

        680.     To date, Fortune Brands has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        681.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Fox

 Valley Systems, Inc. (“Fox Valley”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 96
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 97 of 255 PageID #: 97




        682.   EPA issued EPA ID No. ILD054356654 to Fox Valley.

        683.   According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 29,780 lbs. was transported from Fox

 Valley, with EPA ID No. ILD054356654, to the LWD Incinerator Site in 1985.

        684.   The total weight attributable to Fox Valley at the LWD Incinerator Site is 29,780

 lbs.

        685.   To date, Fox Valley has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        686.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 Freehold Cartage, Inc. (“Freehold”) pay its equitable share of LWD Incinerator Site response

 costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        687.   EPA issued EPA ID No. PAP000009108 and EPA ID No. NJD054126164 to

 Freehold.

        688.   According to Annual Reports for the LWD Incinerator Site, two shipments of

 manifested waste containing hazardous substances totaling 80,640 lbs. were transported from

 Freehold, with EPA ID No. PAP000009108, to the LWD Incinerator Site in 1994; and in 1999,

 one shipment of manifested waste containing hazardous substances totaling 1,634 lbs. was

 transported from Freehold, with EPA ID No. NJD054126164, to the LWD Incinerator Site.

        689.   The total weight attributable to Freehold at the LWD Incinerator Site is 82,274

 lbs.

        690.   To date, Freehold has not paid toward any response costs incurred by the LWD

 PRP Group at the LWD Incinerator Site.

        691.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                               97
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 98 of 255 PageID #: 98




 Fresh Meadows-New York Dry Cleaners (“Fresh Meadows”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        692.     EPA issued EPA ID No. NYD981568322 to Fresh Meadows.

        693.     According to Annual Reports for the LWD Incinerator Site, one shipment of

 manifested waste containing hazardous substances totaling 33,000 lbs. was transported from

 Fresh Meadows, with EPA ID No. NYD981568322, to the LWD Incinerator Site in 1997; and

 one shipment of manifested waste containing hazardous substances totaling 37,540 lbs. was

 transported from Fresh Meadows, with EPA ID No. NYD981568322, to the LWD Incinerator

 Site in 1998.

        694.     The total weight attributable to Fresh Meadows at the LWD Incinerator Site is

 70,540 lbs.

        695.     To date, Fresh Meadows has not paid toward any response costs incurred by the

 LWD PRP Group at the LWD Incinerator Site.

        696.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

 Gates Corporation (“Gates”) pay its equitable share of LWD Incinerator Site response costs

 pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        697.     Gates is the successor to Gates Rubber Co.

        698.     EPA issued EPA ID No. KYD007091150 and EPA ID No. MOT300010550 to

 Gates Rubber Co.

        699.     According to Annual Reports for the LWD Incinerator Site, four shipments of

 manifested waste containing hazardous substances totaling 36,194 lbs. were transported from

 Gates Rubber Co., with EPA ID No. KYD007091150, to the LWD Incinerator Site in 1986; four

 shipments of manifested waste containing hazardous substances totaling 10,612 lbs. were




                                                98
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 99 of 255 PageID #: 99




 transported from Gates Rubber Co., with EPA ID No. KYD007091150, to the LWD Incinerator

 Site in 1987; two shipments of manifested waste containing hazardous substances totaling

 21,278 lbs. were transported from Gates Rubber Co., with EPA ID No. MOT300010550, to the

 LWD Incinerator Site in 1996; five shipments of manifested waste containing hazardous

 substances totaling 7,120 lbs. were transported from Gates Rubber Co., with EPA ID No.

 MOT300010550, to the LWD Incinerator Site in 1997; and three shipments of manifested waste

 containing hazardous substances totaling 1,630 lbs. were transported from Gates Rubber Co.,

 with EPA ID No. MOT300010550, to the LWD Incinerator Site in 1998.

        700.   The total weight attributable to Gates at the LWD Incinerator Site is 76,834 lbs.

        701.   To date, Gates has not paid toward any response costs incurred by the LWD PRP

 Group at the LWD Incinerator Site.

        702.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

 General Loose Leaf Bindery Co. (“General Loose Leaf”) pay its equitable share of LWD

 Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

        703.   EPA issued EPA ID No. IL0000636712 to General Loose Leaf.

        704.   According to Annual Reports for the LWD Incinerator Site, three shipments of

 manifested waste containing hazardous substances totaling 17,079 lbs. were transported from

 General Loose Leaf, with EPA ID No. IL0000636712, to the LWD Incinerator Site in 1995;

 three shipments of manifested waste containing hazardous substances totaling 22,568 lbs. were

 transported from General Loose Leaf, with EPA ID No. IL0000636712, to the LWD Incinerator

 Site in 1996; two shipments of manifested waste containing hazardous substances totaling 2,910

 lbs. were transported from General Loose Leaf, with EPA ID No. IL0000636712, to the LWD

 Incinerator Site in 1997; three shipments of manifested waste containing hazardous substances




                                               99
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 100 of 255 PageID #: 100




   totaling 7,074 lbs. were transported from General Loose Leaf, with EPA ID No. IL0000636712,

   to the LWD Incinerator Site in 1998; three shipments of manifested waste containing hazardous

   substances totaling 9,636 lbs. were transported from General Loose Leaf, with EPA ID No.

   IL0000636712, to the LWD Incinerator Site in 1999; one shipment of manifested waste

   containing hazardous substances totaling 5,412 lbs. was transported from General Loose Leaf,

   with EPA ID No. IL0000636712, to the LWD Incinerator Site in 2000; and one shipment of

   manifested waste containing hazardous substances totaling 3,128 lbs. was transported from

   General Loose Leaf, with EPA ID No. IL0000636712, to the LWD Incinerator Site in 2001.

          705.   The total weight attributable to General Loose Leaf at the LWD Incinerator Site is

   67,807 lbs.

          706.   To date, General Loose Leaf has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          707.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Georgia World Congress Center (“Georgia WCC”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          708.   EPA issued EPA ID No. GAD981264484 to Georgia WCC.

          709.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 13,800 lbs. were transported from

   Georgia WCC, with EPA ID No. GAD981264484, to the LWD Incinerator Site in 1989.

          710.   The total weight attributable to Georgia WCC at the LWD Incinerator Site is

   13,800 lbs.

          711.   To date, Georgia WCC has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.




                                                100
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 101 of 255 PageID #: 101




          712.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Gordon Smith & Co. (“Gordon Smith”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          713.     EPA issued EPA ID No. KYD006372691 and EPA ID No. KYD006372692 to

   Gordon Smith.

          714.     According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 2,000 lbs. was transported from Gordon Smith, with

   EPA ID No. KYD006372692, to the LWD Incinerator Site in 1981; manifested waste containing

   hazardous substances totaling 1,833 lbs. was transported from Gordon Smith, with EPA ID No.

   KYD006372692, to the LWD Incinerator Site in 1982; manifested waste containing hazardous

   substances totaling 2,000 lbs. was transported from Gordon Smith, with EPA ID No.

   KYD006372692, to the LWD Incinerator Site in 1983; manifested waste containing hazardous

   substances totaling 1,600 lbs. was transported from Gordon Smith, with EPA ID No.

   KYD006372692, to the LWD Incinerator Site in 1984; one shipment of manifested waste

   containing hazardous substances totaling 13,328 lbs. was transported from Gordon Smith, with

   EPA ID No. KYD006372691, to the LWD Incinerator Site in 1985; one shipment of manifested

   waste containing hazardous substances totaling 1,600 lbs. was transported from Gordon Smith,

   with EPA ID No. KYD006372692, to the LWD Incinerator Site in 1986; and two shipments of

   manifested waste containing hazardous substances totaling 5,498 lbs. were transported from

   Gordon Smith, with EPA ID No. KYD006372692, to the LWD Incinerator Site in 1989.

          715.     The total weight attributable to Gordon Smith at the LWD Incinerator Site is

   27,858 lbs.

          716.     To date, Gordon Smith has not paid toward any response costs incurred by the




                                                  101
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 102 of 255 PageID #: 102




   LWD PRP Group at the LWD Incinerator Site.

           717.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Graftobian Ltd. (“Graftobian”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           718.   EPA issued EPA ID No. WIR000017640 to Graftobian.

           719.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,290 lbs. was transported from

   Graftobian, with EPA ID No. WIR000017640, to the LWD Incinerator Site in 1996; and one

   shipment of manifested waste containing hazardous substances totaling 2,800 lbs. was

   transported from Graftobian, with EPA ID No. WIR000017640, to the LWD Incinerator Site in

   1997.

           720.   The total weight attributable to Graftobian at the LWD Incinerator Site is 8,090

   lbs.

           721.   To date, Graftobian has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           722.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Great Dane L.P. (“Great Dane”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           723.   Great Dane is the successor to Pines Trailer Corp.

           724.   EPA issued EPA ID No. ILD051001055 to Pines Trailer Corp.

           725.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 26,115 lbs. were transported from

   Pines Trailer Corp., with EPA ID No. ILD051001055, to the LWD Incinerator Site in 1987;




                                                  102
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 103 of 255 PageID #: 103




   manifested waste containing hazardous substances totaling 24,203 lbs. was transported from

   Pines Trailer Corp., with EPA ID No. ILD051001055, to the LWD Incinerator Site in 1988; and

   one shipment of manifested waste containing hazardous substances totaling 9,996 lbs. was

   transported from Pines Trailer Corp., with EPA ID No. ILD051001055, to the LWD Incinerator

   Site in 1989.

          726.     The total weight attributable to Great Dane at the LWD Incinerator Site is 60,313

   lbs.

          727.     To date, Great Dane has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          728.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Greenlee Diamond Tool Co. (“Greenlee”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          729.     EPA issued EPA ID No. ILD005087903 to Greenlee Diamond Tool Co. and EPA

   ID No. ILD005162912 to Greenlee Tool Co.-Textron.

          730.     According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 12,495 lbs. was transported from

   Greenlee, with EPA ID No. ILD005087903, to the LWD Incinerator Site in 1986; two shipments

   of manifested waste containing hazardous substances totaling 9,163 lbs. were transported from

   Greenlee, with EPA ID No. ILD005162912, to the LWD Incinerator Site in 1987; and one

   shipment of manifested waste containing hazardous substances totaling 458 lbs. was transported

   from Greenlee, with EPA ID No. ILD005162912, to the LWD Incinerator Site in 1989.

          731.     The total weight attributable to Greenlee at the LWD Incinerator Site is 22,116

   lbs.




                                                  103
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 104 of 255 PageID #: 104




          732.   To date, Greenlee has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          733.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Greenway Environmental, Inc. (“Greenway”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          734.   EPA issued EPA ID No. OKD089761290 to Greenway.

          735.   According to Annual Reports for the LWD Incinerator Site, five shipments of

   manifested waste containing hazardous substances totaling 212,120 lbs. were transported from

   Greenway, with EPA ID No. OKD089761290, to the LWD Incinerator Site in 1998.

          736.   The total weight attributable to Greenway at the LWD Incinerator Site is 212,120

   lbs.

          737.   To date, Greenway has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          738.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Grup Antolin North America, Inc. (“Grup Antolin”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          739.   Grup Antolin is the successor to I.G. Autotrim, Inc.

          740.   EPA issued EPA ID No. KYR000009225 to I.G. Autotrim, Inc.

          741.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 7,850 lbs. were transported from I.G.

   Autotrim, Inc., with EPA ID No. KYR000009225, to the LWD Incinerator Site in 1998; and two

   shipments of manifested waste containing hazardous substances totaling 2,816 lbs. were

   transported from I.G. Autotrim, Inc., with EPA ID No. KYR000009225, to the LWD Incinerator




                                                 104
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 105 of 255 PageID #: 105




   Site in 1999.

          742.     The total weight attributable to Grup Antolin at the LWD Incinerator Site is

   10,666 lbs.

          743.     To date, Grup Antolin has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          744.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hannah Maritime Corp. (“Hannah Corp.”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          745.     Hannah Corp. is formerly known as Hannah Marine Corp.

          746.     EPA issued EPA ID No. ILD069496248 to Hannah Marine Corp.

          747.     According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 14,386 lbs. was transported from

   Hannah Corp., with EPA ID No. ILD069496248, to the LWD Incinerator Site in 1987.

          748.     The total weight attributable to Hannah Corp. at the LWD Incinerator Site is

   14,386 lbs.

          749.     To date, Hannah Corp. has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          750.     Hardinge Inc. (“Hardinge”) is formerly known as Hardinge Brothers, Inc.

          751.     EPA issued EPA ID No. NYD002204063 to Hardinge.

          752.     According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,504 lbs. was transported from

   Hardinge, with EPA ID No. NYD002204063, to the LWD Incinerator Site in 1995.

          753.     The total weight attributable to Hardinge at the LWD Incinerator Site is 5,504 lbs.




                                                   105
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 106 of 255 PageID #: 106




          754.   To date, Hardinge has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          755.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant HAS

   Completion Center, Inc. (“HAS”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          756.   EPA issued EPA ID No. PAD179032404 to HAS Completion Center, Inc.

          757.   According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 4,350 lbs. were transported from

   HAS Completion Center, Inc., with EPA ID No. PAD179032404, to the LWD Incinerator Site in

   1992; and three shipments of manifested waste containing hazardous substances totaling 1,355

   lbs. were transported from HAS Completion Center, Inc., with EPA ID No. PAD179032404, to

   the LWD Incinerator Site in 1993.

          758.   The total weight attributable to HAS at the LWD Incinerator Site is 5,705 lbs.

          759.   To date, HAS has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          760.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hawkins, Inc. (“Hawkins”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          761.   Hawkins, Inc. is formerly known as Hawkins Chemical Inc.

          762.   EPA issued EPA ID No. MND006292249 and EPA ID No. MNR000064169 to

   Hawkins Chemical Inc.

          763.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 36,520 lbs. was transported from




                                                106
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 107 of 255 PageID #: 107




   Hawkins Chemical Inc., with EPA ID No. MND006292249, to the LWD Incinerator Site in

   1999; and one shipment of manifested waste containing hazardous substances totaling 328 lbs.

   was transported from Hawkins Chemical Inc., with EPA ID No. MNR000064169, to the LWD

   Incinerator Site in 2001.

          764.    The total weight attributable to Hawkins at the LWD Incinerator Site is 36,848

   lbs.

          765.    To date, Hawkins has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          766.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hearth & Home Technologies, Inc. (“Hearth & Home”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          767.    Hearth & Home Technologies, Inc. is also known as Heatilator.

          768.    EPA issued EPA ID No. IAD041340803 to Heatilator.

          769.    According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 23,824 lbs. were transported from

   Heatilator, with EPA ID No. IAD041340803, to the LWD Incinerator Site in 1986.

          770.    The total weight attributable to Hearth & Home at the LWD Incinerator Site is

   23,824 lbs.

          771.    To date, Hearth & Home has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          772.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Heico Corporation (“Heico”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 107
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 108 of 255 PageID #: 108




          773.    Heico Corporation is the successor to Switchcraft, Inc.

          774.    EPA issued EPA ID No. ILD005098389, ILD095793253 and ILD982062481 to

   Switchcraft, Inc.

          775.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,414 lbs. was transported from

   Switchcraft, Inc., with EPA ID No. ILD005098389, to the LWD Incinerator Site in 1986; two

   shipments of manifested waste containing hazardous substances totaling 4,123 lbs. were

   transported from Switchcraft, Inc., with EPA ID No. ILD005098389, to the LWD Incinerator

   Site in 1987; three shipments of manifested waste containing hazardous substances totaling

   8,247 lbs. were transported from Switchcraft, Inc., with EPA ID No. ILD005098389, to the

   LWD Incinerator Site in 1988; one shipment of manifested waste containing hazardous

   substances totaling 22,908 lbs. was transported from Switchcraft, Inc., with EPA ID No.

   ILD095793253, to the LWD Incinerator Site in 1983; one shipment of manifested waste

   containing hazardous substances totaling 1,374 lbs. was transported from Switchcraft, Inc., with

   EPA ID No. ILD095793253, to the LWD Incinerator Site in 1984; two shipments of manifested

   waste containing hazardous substances totaling 6,872 lbs. were transported from Switchcraft,

   Inc., with EPA ID No. ILD095793253, to the LWD Incinerator Site in 1985; four shipments of

   manifested waste containing hazardous substances totaling 10,087 lbs. were transported from

   Switchcraft, Inc., with EPA ID No. ILD095793253, to the LWD Incinerator Site in 1986; two

   shipments of manifested waste containing hazardous substances totaling 5,040 lbs. were

   transported from Switchcraft, Inc., with EPA ID No. ILD095793253, to the LWD Incinerator

   Site in 1987; two shipments of manifested waste containing hazardous substances totaling 3,665

   lbs. were transported from Switchcraft, Inc., with EPA ID No. ILD982062481, to the LWD




                                                  108
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 109 of 255 PageID #: 109




   Incinerator Site in 1987; two shipments of manifested waste containing hazardous substances

   totaling 3,207 lbs. were transported from Switchcraft, Inc., with EPA ID No. ILD095793253, to

   the LWD Incinerator Site in 1988; one shipment of manifested waste containing hazardous

   substances totaling 1,374 lbs. was transported from Switchcraft, Inc., with EPA ID No.

   ILD095793253, to the LWD Incinerator Site in 1989; and two shipments of manifested waste

   containing hazardous substances totaling 3,540 lbs. were transported from Switchcraft, Inc., with

   EPA ID No. ILD095793253, to the LWD Incinerator Site in 1990.

          776.    The total weight attributable to Heico at the LWD Incinerator Site is 54,402 lbs.

          777.    To date, Heico has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          778.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Heritage Environmental Services, Inc. (“Heritage Environmental”) pay its equitable share of

   LWD Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          779.    EPA issued EPA ID No. IND093219012 to Heritage Environmental.

          780.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 38,700 lbs. was transported from

   Heritage Environmental, with EPA ID No. IND093219012, to the LWD Incinerator Site in 1987.

          781.    The total weight attributable to Heritage Environmental at the LWD Incinerator

   Site is 38,700 lbs.

          782.    To date, Heritage Environmental has not paid toward any response costs incurred

   by the LWD PRP Group at the LWD Incinerator Site.

          783.    By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Heritage Transport, LLC (“Heritage Transport”) pay its equitable share of LWD Incinerator Site




                                                  109
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 110 of 255 PageID #: 110




   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           784.   Heritage Transport is also known as Indiana Liquid Transport, Inc.

           785.   EPA issued EPA ID No. IND058484114 to Indiana Liquid Transport, Inc.

           786.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,040 lbs. was transported from

   Indiana Liquid Transport, Inc., with EPA ID No. IND058484114, to the LWD Incinerator Site in

   1985.

           787.   The total weight attributable to Heritage Transport at the LWD Incinerator Site is

   80,635 lbs.

           788.   To date, Heritage Transport has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

           789.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hexcel Corp. (“Hexcel”) pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

           790.   Hexcel Corp. is also known as Hexcel Chemical Products.

           791.   EPA issued EPA ID No. MID083684290 to Hexcel Chemical Products.

           792.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,413 lbs. was transported from

   Hexcel Chemical Products, with EPA ID No. MID083684290, to the LWD Incinerator Site in

   1985.

           793.   The total weight attributable to Hexcel at the LWD Incinerator Site is 10,413 lbs.

           794.   To date, Hexcel has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.




                                                  110
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 111 of 255 PageID #: 111




          795.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Heyman Properties pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          796.   EPA issued EPA ID No. CTP000016171 to Heyman Properties.

          797.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 26,751 lbs. were transported from

   Heyman Properties, with EPA ID No. CTP000016171, to the LWD Incinerator Site in 1994.

          798.   The total weight attributable to Heyman Properties at the LWD Incinerator Site is

   26,751 lbs.

          799.   To date, Heyman Properties has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          800.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hillaero Modification Center (“Hillaero”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          801.   Hillaero is the successor to Hill Aero, Inc.

          802.   EPA issued EPA ID No. NED082724071 to Hill Aero, Inc.

          803.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 29,780 lbs. were transported from

   Hill Aero, Inc., with EPA ID No. NED082724071, to the LWD Incinerator Site in 1986.

          804.   The total weight attributable to Hillaero at the LWD Incinerator Site is 29,780 lbs.

          805.   To date, Hillaero has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          806.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                  111
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 112 of 255 PageID #: 112




   Hinkle Chair Co., Inc. (“Hinkle Chair”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          807.   Hinkle Chair is also known as Hinkle Chair Co.

          808.   EPA issued EPA ID No. TND001041813 to Hinkle Chair Co.

          809.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 13,520 lbs. was transported from

   Hinkle Chair Co., with EPA ID No. TND001041813, to the LWD Incinerator Site in 1999.

          810.   The total weight attributable to Hinkle Chair at the LWD Incinerator Site is

   13,520 lbs.

          811.   To date, Hinkle Chair has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          812.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hoge Lumber Co. (“Hoge Lumber”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          813.   EPA issued EPA ID No. OHD005045729 to Hoge Lumber.

          814.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 20,194 lbs. was transported from

   Hoge Lumber, with EPA ID No. OHD005045729, to the LWD Incinerator Site in 1990.

          815.   The total weight attributable to Hoge Lumber at the LWD Incinerator Site is

   20,194 lbs.

          816.   To date, Hoge Lumber has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          817.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                 112
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 113 of 255 PageID #: 113




   Hollister Incorporated (“Hollister”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           818.   EPA issued EPA ID No. ILD005527098 to Hollister.

           819.   According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 12,412 lbs. were transported from

   Hollister, with EPA ID No. ILD005527098, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 4,123 lbs. was

   transported from Hollister, with EPA ID No. ILD005527098, to the LWD Incinerator Site in

   1987.

           820.   The total weight attributable to Hollister at the LWD Incinerator Site is 16,535

   lbs.

           821.   To date, Hollister has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           822.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Horning Wire Corporation (“Horning Wire”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           823.   EPA issued EPA ID No. ILD045305125 to Horning Wire.

           824.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 14,661 lbs. was transported from

   Horning Wire, with EPA ID No. ILD045305125, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 4,582 lbs. was

   transported from Horning Wire, with EPA ID No. ILD045305125, to the LWD Incinerator Site

   in 1988.




                                                  113
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 114 of 255 PageID #: 114




          825.    The total weight attributable to Horning Wire at the LWD Incinerator Site is

   19,242 lbs.

          826.    To date, Horning Wire has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          827.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Houghton International, Inc. (“Houghton”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          828.    Houghton is the successor to Stuart-Ironsides, Inc.

          829.    EPA issued EPA ID No. ILD005071600 and EPA ID No. ILT180012114 to

   Stuart-Ironsides, Inc.

          830.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 13,745 lbs. was transported from

   Stuart-Ironsides, Inc., with EPA ID No. ILD005071600, to the LWD Incinerator Site in 1990;

   five shipments of manifested waste containing hazardous substances totaling 87,090 lbs. were

   transported from Stuart-Ironsides, Inc., with EPA ID No. ILT180012114, to the LWD

   Incinerator Site in 1990; and four shipments of manifested waste containing hazardous

   substances totaling 74,994 lbs. were transported from Stuart-Ironsides, Inc., with EPA ID No.

   ILT180012114, to the LWD Incinerator Site in 1991.

          831.    The total weight attributable to Houghton at the LWD Incinerator Site is 175,829

   lbs.

          832.    To date, Houghton has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          833.    EPA issued EPA ID No. KY0000707836 to Housing Authority of Hopkinsville,




                                                  114
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 115 of 255 PageID #: 115




   Kentucky (“Hopskinsville Housing Authority”).

          834.    According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 6,500 lbs. were transported from

   Hopkinsville Housing Authority, with EPA ID No. KY0000707836, to the LWD Incinerator Site

   in 1994; and two shipments of manifested waste containing hazardous substances totaling 7,760

   lbs. were transported from Hopkinsville Housing Authority, with EPA ID No. KY0000707836,

   to the LWD Incinerator Site in 1995.

          835.    The total weight attributable to Hopkinsville Housing Authority at the LWD

   Incinerator Site is 14,260 lbs.

          836.    To date, Hopkinsville Housing Authority has not paid toward any response costs

   incurred by the LWD PRP Group at the LWD Incinerator Site.

          837.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   HSBC North America Holdings, Inc. (“HSBC”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          838.    HSBC is the successor to Thermos and King-Sealey Thermos.

          839.    EPA issued EPA ID No. MSD980729206 to Thermos and EPA ID No.

   ILD000810507 to King-Sealey Thermos.

          840.    According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 59,768 lbs. were transported from

   King-Sealey Thermos, with EPA ID No. ILD000810507, to the LWD Incinerator Site in 1985;

   one shipment of manifested waste containing hazardous substances totaling 18,409 lbs. was

   transported from Thermos, with EPA ID No. MSD980729206, to the LWD Incinerator Site in

   1985; one shipment of manifested waste containing hazardous substances totaling 15,577 lbs.




                                                115
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 116 of 255 PageID #: 116




   was transported from Thermos, with EPA ID No. MSD980729206, to the LWD Incinerator Site

   in 1986; and one shipment of manifested waste containing hazardous substances totaling 21,750

   lbs. was transported from Thermos, with EPA ID No. MSD980729206, to the LWD Incinerator

   Site in 1987.

          841.     The total weight attributable to HSBC at the LWD Incinerator Site is 115,504 lbs.

          842.     To date, HSBC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          843.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hughes Parker Industries, LLC (“Hughes Parker”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          844.     EPA issued EPA ID No. TND987783859 to Hughes Parker.

          845.     According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 3,535 lbs. were transported from

   Hughes Parker, with EPA ID No. TND987783859, to the LWD Incinerator Site in 1993; and

   four shipments of manifested waste containing hazardous substances totaling 7,890 lbs. were

   transported from Hughes Parker, with EPA ID No. TND987783859, to the LWD Incinerator Site

   in 1994.

          846.     The total weight attributable to Hughes Parker at the LWD Incinerator Site is

   11,425 lbs.

          847.     To date, Hughes Parker has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          848.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Hurst Chemical Company (“Hurst Chemical”) pay its equitable share of LWD Incinerator Site




                                                  116
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 117 of 255 PageID #: 117




   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          849.   Hurst Chemical is also known as Hurst Graphics.

          850.   EPA issued EPA ID No. ILD058580769 to Hurst Graphics.

          851.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 37,777 lbs. was transported from

   Hurst Graphics, with EPA ID No. ILD058580769, to the LWD Incinerator Site in 1989.

          852.   The total weight attributable to Hurst Chemical at the LWD Incinerator Site is

   37,777 lbs.

          853.   To date, Hurst Chemical has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          854.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Husco International, Inc. (“Husco”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          855.   EPA issued EPA ID No. WID108294281 to Husco.

          856.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 8,730 lbs. were transported from

   Husco, with EPA ID No. WID108294281, to the LWD Incinerator Site in 1989.

          857.   The total weight attributable to Husco at the LWD Incinerator Site is 8,730 lbs.

          858.   To date, Husco has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          859.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Hyde Park One Hour Martinizing (“Hyde Park”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 117
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 118 of 255 PageID #: 118




           860.   EPA issued EPA ID No. OHR000023515 to Hyde Park.

           861.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 7,240 lbs. was transported from Hyde

   Park, with EPA ID No. OHR000023515, to the LWD Incinerator Site in 1997; and one shipment

   of manifested waste containing hazardous substances totaling 406 lbs. was transported from

   Hyde Park, with EPA ID No. OHR000023515, to the LWD Incinerator Site in 1998.

           862.   The total weight attributable to Hyde Park at the LWD Incinerator Site is 7,646

   lbs.

           863.   To date, Hyde Park has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           864.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Illinois Department of Agriculture (“IDOA”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           865.   EPA issued EPA ID No. ILD119356202 and EPA ID No. ILD984786590 to

   IDOA.

           866.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 2,752 lbs. was transported from

   IDOA, with EPA ID No. ILD119356202, to the LWD Incinerator Site in 1995; one shipment of

   manifested waste containing hazardous substances totaling 2,440 lbs. was transported from

   IDOA, with EPA ID No. ILD984786590, to the LWD Incinerator Site in 1996; and one shipment

   of manifested waste containing hazardous substances totaling 2,478 lbs. was transported from

   IDOA, with EPA ID No. ILD119356202, to the LWD Incinerator Site in 2002.

           867.   The total weight attributable to IDOA at the LWD Incinerator Site is 7,670 lbs.




                                                 118
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 119 of 255 PageID #: 119




          868.   To date, IDOA has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          869.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Illinois Department of Corrections (“IDOC”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          870.   EPA issued EPA ID No. ILD984767087 to IDOC.

          871.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 4,170 lbs. was transported from

   IDOC, with EPA ID No. ILD984767087, to the LWD Incinerator Site in 1991; two shipments of

   manifested waste containing hazardous substances totaling 7,589 lbs. were transported from

   IDOC, with EPA ID No. ILD984767087, to the LWD Incinerator Site in 1993; one shipment of

   manifested waste containing hazardous substances totaling 759 lbs. was transported from IDOC,

   with EPA ID No. ILD984767087, to the LWD Incinerator Site in 1994; one shipment of

   manifested waste containing hazardous substances totaling 600 lbs. was transported from IDOC,

   with EPA ID No. ILD984767087, to the LWD Incinerator Site in 1996; and one shipment of

   manifested waste containing hazardous substances totaling 22,092 lbs. was transported from

   IDOC, with EPA ID No. ILD984767087, to the LWD Incinerator Site in 1997.

          872.   The total weight attributable to IDOC at the LWD Incinerator Site is 35,210 lbs.

          873.   To date, IDOC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          874.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Illinois Department of Transportation (“IDOT”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                119
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 120 of 255 PageID #: 120




          875.    EPA issued EPA ID No. ILT180014896 to IDOT.

          876.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,331 lbs. was transported from

   IDOT, with EPA ID No. ILT180014896, to the LWD Incinerator Site in 1987.

          877.    The total weight attributable to IDOT at the LWD Incinerator Site is 5,331 lbs.

          878.    To date, IDOT has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          879.    By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Illinois State University (“ISU”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          880.    EPA issued EPA ID No. ILD075607069 to ISU.

          881.    According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 93,066 lbs. were transported from

   ISU, with EPA ID No. ILD075607069, to the LWD Incinerator Site in 1995; and three shipments

   of manifested waste containing hazardous substances totaling 72,055 lbs. were transported from

   ISU, with EPA ID No. ILD075607069, to the LWD Incinerator Site in 1996.

          882.    The total weight attributable to ISU at the LWD Incinerator Site is 165,121 lbs.

          883.    To date, ISU has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          884.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Insulated Roofing Contractors (“Insulated Roofing”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          885.    EPA issued EPA ID No. KYD068322924 to Insulated Roofing.




                                                  120
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 121 of 255 PageID #: 121




          886.     According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 30,321 lbs. was transported from

   Insulated Roofing, with EPA ID No. KYD068322924, to the LWD Incinerator Site in 1986; and

   one shipment of manifested waste containing hazardous substances totaling 9,621 lbs. was

   transported from Insulated Roofing, with EPA ID No. KYD068322924, to the LWD Incinerator

   Site in 1988.

          887.     The total weight attributable to Insulated Roofing at the LWD Incinerator Site is

   39,942 lbs.

          888.     To date, Insulated Roofing has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          889.     By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

   Interpublic Group of Companies, Inc. (“Interpublic”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          890.     Interpublic is the successor to Cooperative Marketing.

          891.     EPA issued EPA ID No. ILD059452649 to Cooperative Marketing.

          892.     According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 458 lbs. was transported from

   Cooperative Marketing, with EPA ID No. ILD059452649, to the LWD Incinerator Site in 1986;

   one shipment of manifested waste containing hazardous substances totaling 12,912 lbs. was

   transported from Cooperative Marketing, with EPA ID No. ILD059452649, to the LWD

   Incinerator Site in 1987; and one shipment of manifested waste containing hazardous substances

   totaling 1,833 lbs. was transported from Cooperative Marketing, with EPA ID No.

   ILD059452649, to the LWD Incinerator Site in 1988.




                                                   121
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 122 of 255 PageID #: 122




          893.    The total weight attributable to Interpublic at the LWD Incinerator Site is 15,202

   lbs.

          894.    To date, Interpublic has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          895.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Iowa Precision Industries, Inc. (“Iowa Precision”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          896.    EPA issued EPA ID No. IAD005281464 to Iowa Precision.

          897.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,040 lbs. was transported from Iowa

   Precision, with EPA ID No. IAD005281464, to the LWD Incinerator Site in 1984; two

   shipments of manifested waste containing hazardous substances totaling 1,833 lbs. were

   transported from Iowa Precision, with EPA ID No. IAD005281464, to the LWD Incinerator Site

   in 1985; one shipment of manifested waste containing hazardous substances totaling 1,374 lbs.

   was transported from Iowa Precision, with EPA ID No. IAD005281464, to the LWD Incinerator

   Site in 1986; and three shipments of manifested waste containing hazardous substances totaling

   2,291 lbs. were transported from Iowa Precision, with EPA ID No. IAD005281464, to the LWD

   Incinerator Site in 1988.

          898.    The total weight attributable to Iowa Precision at the LWD Incinerator Site is

   10,996 lbs.

          899.    To date, Iowa Precision has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          900.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant IPC




                                                  122
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 123 of 255 PageID #: 123




   Global Solutions (“IPC”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          901.   IPC is the successor to Ecogard/First Recovery.

          902.   EPA issued EPA ID No. KYD985092014 and EPA ID No. PAD987363447 to

   Ecogard/First Recovery.

          903.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 19,685 lbs. were transported from

   Ecogard/First Recovery, with EPA ID No. KYD985092014, to the LWD Incinerator Site in

   1992; one shipment of manifested waste containing hazardous substances totaling 1,830 lbs. was

   transported from Ecogard/First Recovery, with EPA ID No. PAD987363447, to the LWD

   Incinerator Site in 1993; and one shipment of manifested waste containing hazardous substances

   totaling 1,835 lbs. was transported from Ecogard/First Recovery, with EPA ID No.

   KYD985097260, to the LWD Incinerator Site in 1995.

          904.   The total weight attributable to IPC at the LWD Incinerator Site is 19,685 lbs.

          905.   To date, IPC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          906.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Irwin Seating Co. (“Irwin Seating”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          907.   EPA issued EPA ID No. MID006016424 to Irwin Seating.

          908.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,996 lbs. was transported from

   Irwin Seating, with EPA ID No. MID006016424, to the LWD Incinerator Site in 1984; and one




                                                 123
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 124 of 255 PageID #: 124




   shipment of manifested waste containing hazardous substances totaling 4,582 lbs. was

   transported from Irwin Seating, with EPA ID No. MID006016424, to the LWD Incinerator Site

   in 1986.

          909.   The total weight attributable to Irwin Seating at the LWD Incinerator Site is

   15,577 lbs.

          910.   To date, Irwin Seating has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          911.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant J.C.

   Baker & Son, Inc. (“J.C. Baker”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          912.   J.C. Baker is also known as Baker Oil Co.

          913.   EPA issued EPA ID No. WVD980692925 to Baker Oil Co.

          914.   According to Annual Reports for the LWD Incinerator Site, six shipments of

   manifested waste containing hazardous substances totaling 120,302 lbs. were transported from

   Baker Oil Co., with EPA ID No. WVD980692925, to the LWD Incinerator Site in 2002.

          915.   The total weight attributable to J.C. Baker at the LWD Incinerator Site is 120,302

   lbs.

          916.   To date, J.C. Baker has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          917.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   James Marine, Inc. (“James Marine”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          918.   James Marine is the successor to Walker Boat Yard.




                                                 124
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 125 of 255 PageID #: 125




          919.   EPA issued EPA ID No. KYLQG and EPA ID No. KYR000006643 to James

   Marine; and EPA ID No. KYD985082015 to Walker Boat Yard.

          920.   According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 25,437 lbs. were transported from

   Walker Boat Yard, with EPA ID No. KYD985082015, to the LWD Incinerator Site in 1992; four

   shipments of manifested waste containing hazardous substances totaling 12,204 lbs. were

   transported from Walker Boat Yard, with EPA ID No. KYD985082015, to the LWD Incinerator

   Site in 1993; eight shipments of manifested waste containing hazardous substances totaling

   13,261 lbs. were transported from Walker Boat Yard, with EPA ID No. KYD985082015, to the

   LWD Incinerator Site in 1994; one shipment of manifested waste containing hazardous

   substances totaling 125 lbs. was transported from James Marine, with EPA ID No. KYLQG, to

   the LWD Incinerator Site in 1995; eight shipments of manifested waste containing hazardous

   substances totaling 6,180 lbs. were transported from Walker Boat Yard, with EPA ID No.

   KYD985082015, to the LWD Incinerator Site in 1995; one shipment of manifested waste

   containing hazardous substances totaling 1,287 lbs. was transported from James Marine, with

   EPA ID No. KYR000006643, to the LWD Incinerator Site in 1996; six shipments of manifested

   waste containing hazardous substances totaling 23,185 lbs. were transported from Walker Boat

   Yard, with EPA ID No. KYD985082015, to the LWD Incinerator Site in 1996; six shipments of

   manifested waste containing hazardous substances totaling 6,349 lbs. were transported from

   Walker Boat Yard, with EPA ID No. KYD985082015, to the LWD Incinerator Site in 1997; two

   shipments of manifested waste containing hazardous substances totaling 2,950 lbs. were

   transported from Walker Boat Yard, with EPA ID No. KYD985082125, to the LWD Incinerator

   Site in 1998; ten shipments of manifested waste containing hazardous substances totaling 6,757




                                                 125
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 126 of 255 PageID #: 126




   lbs. were transported from Walker Boat Yard, with EPA ID No. KYD985082015, to the LWD

   Incinerator Site in 1999; three shipments of manifested waste containing hazardous substances

   totaling 69,840 lbs. were transported from James Marine, with EPA ID No. KYR000006643, to

   the LWD Incinerator Site in 1999; manifested waste containing hazardous substances totaling

   1,030 lbs. was transported from Walker Boat Yard, with EPA ID No. KYD985082015, to the

   LWD Incinerator Site in 2000; five shipments of manifested waste containing hazardous

   substances totaling 1,916 lbs. were transported from Walker Boat Yard, with EPA ID No.

   KYD985082015, to the LWD Incinerator Site in 2001; six shipments of manifested waste

   containing hazardous substances totaling 5,193 lbs. were transported from Walker Boat Yard,

   with EPA ID No. KYD985082015, to the LWD Incinerator Site in 2002; and six shipments of

   manifested waste containing hazardous substances totaling 9,284 lbs. were transported from

   Walker Boat Yard, with EPA ID No. KYD985082015, to the LWD Incinerator Site in 2003.

          921.    The total weight attributable to James Marine at the LWD Incinerator Site is

   181,923 lbs.

          922.    To date, James Marine has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          923.    By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Jarden Corporation (“Jarden”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          924.    Jarden is the parent company to Spontex, Inc.

          925.    EPA issued EPA ID No. TND004044533 to Spontex, Inc.

          926.    According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 29,060 lbs. were transported from




                                                 126
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 127 of 255 PageID #: 127




   Spontex, Inc., with EPA ID No. TND004044533, to the LWD Incinerator Site in 1997; four

   shipments of manifested waste containing hazardous substances totaling 74,260 lbs. were

   transported from Spontex, Inc., with EPA ID No. TND004044533, to the LWD Incinerator Site

   in 1998; six shipments of manifested waste containing hazardous substances totaling 77,357 lbs.

   were transported from Spontex, Inc., with EPA ID No. TND004044533, to the LWD Incinerator

   Site in 1999; manifested waste containing hazardous substances totaling 26,207 lbs. was

   transported from Spontex, Inc., with EPA ID No. TND004044533, to the LWD Incinerator Site

   in 2000; four shipments of manifested waste containing hazardous substances totaling 11,416

   lbs. were transported from Spontex, Inc., with EPA ID No. TND004044533, to the LWD

   Incinerator Site in 2001; four shipments of manifested waste containing hazardous substances

   totaling 23,762 lbs. were transported from Spontex, Inc., with EPA ID No. TND004044533, to

   the LWD Incinerator Site in 2002; and six shipments of manifested waste containing hazardous

   substances totaling 139,400 lbs. were transported from Spontex, Inc., with EPA ID No.

   TND004044533, to the LWD Incinerator Site in 2003.

          927.   The total weight attributable to Jarden at the LWD Incinerator Site is 381,462 lbs.

          928.   To date, Jarden has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          929.   EPA issued EPA ID No. KYR000000232 to Jefferson County Public Works

   (“Jefferson County PW”).

          930.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 44,800 lbs. was transported from

   Jefferson County PW, with EPA ID No. KYR000000232, to the LWD Incinerator Site in 1995.

          931.   The total weight attributable to Jefferson County PW at the LWD Incinerator Site




                                                 127
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 128 of 255 PageID #: 128




   is 44,800 lbs.

          932.      To date, Jefferson County PW has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          933.      By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   JMC Steel Group (“JMC”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          934.      JMC is the successor to Sharon Tube Co.

          935.      EPA issued EPA ID No. PAD004322863 and EPA ID No. OHR000022293 to

   Sharon Tube Co.

          936.      According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 800 lbs. was transported from Sharon

   Tube Co., with EPA ID No. PAD004322863, to the LWD Incinerator Site in 1995; two

   shipments of manifested waste containing hazardous substances totaling 4,716 lbs. were

   transported from Sharon Tube Co., with EPA ID No. PAD004322863, to the LWD Incinerator

   Site in 1996; four shipments of manifested waste containing hazardous substances totaling

   10,217 lbs. were transported from Sharon Tube Co., with EPA ID No. PAD004322863, to the

   LWD Incinerator Site in 1997; four shipments of manifested waste containing hazardous

   substances totaling 330 lbs. were transported from Sharon Tube Co., with EPA ID No.

   OHR000022293, to the LWD Incinerator Site in 1997; and two shipments of manifested waste

   containing hazardous substances totaling 504 lbs. were transported from Sharon Tube Co., with

   EPA ID No. PAD004322863, to the LWD Incinerator Site in 1999.

          937.      The total weight attributable to JMC at the LWD Incinerator Site is 18,226 lbs.

          938.      To date, JMC has not paid toward any response costs incurred by the LWD PRP




                                                   128
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 129 of 255 PageID #: 129




   Group at the LWD Incinerator Site.

          939.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Kellwood Co. (“Kellwood”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          940.   Kellwood is the successor to American Recreation Products.

          941.   EPA issued EPA ID No. MOD000610659 to American Recreation Products.

          942.   According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 56,845 lbs. were transported from

   American Recreation Products, with EPA ID No. MOD000610659, to the LWD Incinerator Site

   in 1986.

          943.   The total weight attributable to Kellwood at the LWD Incinerator Site is 56,845

   lbs.

          944.   To date, Kellwood has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          945.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Kempen Paint Co. (“Kempen Paint”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          946.   EPA issued EPA ID No. ILD006273265 to Kempen Paint.

          947.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,665 lbs. was transported from

   Kempen Paint, with EPA ID No. ILD006273265, to the LWD Incinerator Site in 1985; five

   shipments of manifested waste containing hazardous substances totaling 11,912 lbs. were

   transported from Kempen Paint, with EPA ID No. ILD006273265, to the LWD Incinerator Site




                                                129
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 130 of 255 PageID #: 130




   in 1986; three shipments of manifested waste containing hazardous substances totaling 8,247 lbs.

   were transported from Kempen Paint, with EPA ID No. ILD006273265, to the LWD Incinerator

   Site in 1987; three shipments of manifested waste containing hazardous substances totaling

   8,705 lbs. were transported from Kempen Paint, with EPA ID No. ILD006273265, to the LWD

   Incinerator Site in 1988; two shipments of manifested waste containing hazardous substances

   totaling 5,498 lbs. were transported from Kempen Paint, with EPA ID No. ILD006273265, to the

   LWD Incinerator Site in 1989; and three shipments of manifested waste containing hazardous

   substances totaling 13,745 lbs. were transported from Kempen Paint, with EPA ID No.

   ILD006273265, to the LWD Incinerator Site in 1990.

          948.   The total weight attributable to Kempen Paint at the LWD Incinerator Site is

   51,771 lbs.

          949.   To date, Kempen Paint has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          950.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   KentuckyOne Health, Inc. (“KentuckyOne”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          951.   KentuckyOne is the successor to Saints Mary & Elizabeth Hospital.

          952.   EPA issued EPA ID No. KYD981805740 to Saints Mary & Elizabeth Hospital.

          953.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,220 lbs. was transported from

   Saints Mary & Elizabeth Hospital, with EPA ID No. KYD981805740, to the LWD Incinerator

   Site in 1992; two shipments of manifested waste containing hazardous substances totaling 1,418

   lbs. were transported from Saints Mary & Elizabeth Hospital, with EPA ID No. KYD981805740,




                                                 130
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 131 of 255 PageID #: 131




   to the LWD Incinerator Site in 1993; four shipments of manifested waste containing hazardous

   substances totaling 1,835 lbs. were transported from Saints Mary & Elizabeth Hospital, with

   EPA ID No. KYD981805740, to the LWD Incinerator Site in 1994; two shipments of manifested

   waste containing hazardous substances totaling 917 lbs. were transported from Saints Mary &

   Elizabeth Hospital, with EPA ID No. KYD981805740, to the LWD Incinerator Site in 1995;

   three shipments of manifested waste containing hazardous substances totaling 1,376 lbs. were

   transported from Saints Mary & Elizabeth Hospital, with EPA ID No. KYD981805740, to the

   LWD Incinerator Site in 1996; two shipments of manifested waste containing hazardous

   substances totaling 732 lbs. were transported from Saints Mary & Elizabeth Hospital, with EPA

   ID No. KYD981805740, to the LWD Incinerator Site in 1999; and manifested waste containing

   hazardous substances totaling 253 lbs. was transported from Saints Mary & Elizabeth Hospital,

   with EPA ID No. KYD981805740, to the LWD Incinerator Site in 2000.

          954.   The total weight attributable to KentuckyOne at the LWD Incinerator Site is

   7,751 lbs.

          955.   To date, KentuckyOne has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          956.   By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Krauth Electric Co. (“Krauth”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          957.   EPA issued EPA ID No. KYD024068470 to Krauth.

          958.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,665 lbs. was transported from

   Krauth, with EPA ID No. KYD024068470, to the LWD Incinerator Site in 1986; and one




                                                 131
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 132 of 255 PageID #: 132




   shipment of manifested waste containing hazardous substances totaling 1,833 lbs. was

   transported from Krauth, with EPA ID No. KYD024068470, to the LWD Incinerator Site in

   1987.

           959.   The total weight attributable to Krauth at the LWD Incinerator Site is 5,498 lbs.

           960.   To date, Krauth has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           961.   By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Laurel Mountain Whirlpools, Inc. (“Laurel”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           962.   EPA issued EPA ID No. PADEP0008259 to Laurel.

           963.   According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 8,912 lbs. was transported from Laurel, with EPA ID

   No. PADEP0008259, to the LWD Incinerator Site in 2000.

           964.   The total weight attributable to Laurel at the LWD Incinerator Site is 8,912 lbs.

           965.   To date, Laurel has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           966.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   LBC Houston, LP (“LBC”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           967.   LBC is formerly known as LBC Petro United.

           968.   EPA issued EPA ID No. LAD096040712 to LBC Petro United.

           969.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 282,620 lbs. was transported from




                                                  132
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 133 of 255 PageID #: 133




   LBC Petro United, with EPA ID No. LAD096040712, to the LWD Incinerator Site in 2000.

          970.    The total weight attributable to LBC at the LWD Incinerator Site is 282,620 lbs.

          971.    To date, LBC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          972.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Leeds Seating Company (“Leeds Seating”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          973.    EPA issued EPA ID No. AL0000107748 to Leeds Seating.

          974.    According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 78,700 lbs. were transported from

   Leeds Seating, with EPA ID No. AL0000107748, to the LWD Incinerator Site in 1995.

          975.    The total weight attributable to Leeds Seating at the LWD Incinerator Site is

   78,700 lbs.

          976.    To date, Leeds Seating has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          977.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Leon Plastics, Inc. (“Leon Plastics”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          978.    EPA issued EPA ID No. MID000776096 to Leon Plastics.

          979.    According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 11,912 lbs. was transported from

   Leon Plastics, with EPA ID No. MID000776096, to the LWD Incinerator Site in 1986; seven

   shipments of manifested waste containing hazardous substances totaling 61,850 lbs. were




                                                  133
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 134 of 255 PageID #: 134




   transported from Leon Plastics, with EPA ID No. MID000776096, to the LWD Incinerator Site

   in 1987; four shipments of manifested waste containing hazardous substances totaling 15,577

   lbs. were transported from Leon Plastics, with EPA ID No. MID000776096, to the LWD

   Incinerator Site in 1988; five shipments of manifested waste containing hazardous substances

   totaling 9,163 lbs. were transported from Leon Plastics, with EPA ID No. MID000776096, to the

   LWD Incinerator Site in 1989; three shipments of manifested waste containing hazardous

   substances totaling 4,582 lbs. were transported from Leon Plastics, with EPA ID No.

   MID000776096, to the LWD Incinerator Site in 1990; two shipments of manifested waste

   containing hazardous substances totaling 2,294 lbs. were transported from Leon Plastics, with

   EPA ID No. MID000776096, to the LWD Incinerator Site in 1991; three shipments of

   manifested waste containing hazardous substances totaling 32,568 lbs. were transported from

   Leon Plastics, with EPA ID No. MID000776096, to the LWD Incinerator Site in 1992; and one

   shipment of manifested waste containing hazardous substances totaling 10,091 lbs. was

   transported from Leon Plastics, with EPA ID No. MID000776096, to the LWD Incinerator Site

   in 1993.

          980.    The total weight attributable to Leon Plastics at the LWD Incinerator Site is

   148,036 lbs.

          981.    To date, Leon Plastics has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          982.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Lone Star Industries, Inc. (“Lone Star”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          983.    Lone Star Industries, Inc. is also known as Lonestar Industries.




                                                  134
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 135 of 255 PageID #: 135




          984.   EPA issued EPA ID No. MOD981127319 to Lonestar Industries.

          985.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 28,580 lbs. was transported from

   Lonestar Industries, with EPA ID No. MOD981127319, to the LWD Incinerator Site in 1999.

          986.   The total weight attributable to Lone Star at the LWD Incinerator Site is 28,580

   lbs.

          987.   To date, Lone Star has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          988.   By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Longaberger Co. (“Longaberger”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          989.   EPA issued EPA ID No. OHD987038437 to Longaberger.

          990.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 15,998 lbs. was transported from

   Longaberger, with EPA ID No. OHD987038437, to the LWD Incinerator Site in 2002.

          991.   The total weight attributable to Longaberger at the LWD Incinerator Site is

   15,998 lbs.

          992.   To date, Longaberger has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          993.   EPA issued EPA ID No. KYD980241111, KYD985077809, and KYD981804586

   to Louisville & Jefferson County M.S.D. (“Louisville & Jefferson M.S.D.”).

          994.   According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 41,650 lbs. was transported from




                                                135
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 136 of 255 PageID #: 136




   Louisville & Jefferson M.S.D., with EPA ID No. KYD980241111, to the LWD Incinerator Site

   in 1983; three shipments of manifested waste containing hazardous substances totaling 61,116

   lbs. were transported from Louisville & Jefferson M.S.D., with EPA ID No. KYD980241111, to

   the LWD Incinerator Site in 1984; two shipments of manifested waste containing hazardous

   substances totaling 54,020 lbs. were transported from Louisville & Jefferson M.S.D., with EPA

   ID No. KYD980241111, to the LWD Incinerator Site in 1985; one shipment of manifested waste

   containing hazardous substances totaling 14,994 lbs. was transported from Louisville &

   Jefferson M.S.D., with EPA ID No. KYD980241111, to the LWD Incinerator Site in 1986; one

   shipment of manifested waste containing hazardous substances totaling 458 lbs. was transported

   from Louisville & Jefferson M.S.D., with EPA ID No. KYD980241111, to the LWD Incinerator

   Site in 1987; one shipment of manifested waste containing hazardous substances totaling 7,789

   lbs. was transported from Louisville & Jefferson M.S.D., with EPA ID No. KYD981804586, to

   the LWD Incinerator Site in 1989; and one shipment of manifested waste containing hazardous

   substances totaling 3,800 lbs. was transported from Louisville & Jefferson M.S.D., with EPA ID

   No. KYD985077809, to the LWD Incinerator Site in 1991.

          995.    The total weight attributable to Louisville & Jefferson M.S.D. at the LWD

   Incinerator Site is 183,827 lbs.

          996.    To date, Louisville & Jefferson M.S.D. has not paid toward any response costs

   incurred by the LWD PRP Group at the LWD Incinerator Site.

          997.    By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   M.C. Chemical Company (“M.C. Chemical”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          998.    EPA issued EPA ID No. ILD053188736 to M.C. Chemical.




                                                 136
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 137 of 255 PageID #: 137




           999.   According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 51,313 lbs. were transported from

   M.C. Chemical, with EPA ID No. ILD053188736, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 17,868 lbs. was

   transported from M.C. Chemical, with EPA ID No. ILD053188736, to the LWD Incinerator Site

   in 1988.

           1000. The total weight attributable to M.C. Chemical at the LWD Incinerator Site is

   69,181 lbs.

           1001. To date, M.C. Chemical has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1002. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Macon Resources, Inc. (“Macon Resources”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1003. Macon Resources is the successor to Macon County, Illinois Rehabilitation

   Facilities.

           1004. EPA issued EPA ID No. ILD075612945 to Macon County, Illinois Rehabilitation

   Facilities.

           1005. According to Annual Reports for the LWD Incinerator Site, five shipments of

   manifested waste containing hazardous substances totaling 45,357 lbs. were transported from

   Macon County, Illinois Rehabilitation Facilities, with EPA ID No. ILD075612945, to the LWD

   Incinerator Site in 1985; four shipments of manifested waste containing hazardous substances

   totaling 10,996 lbs. were transported from Macon County, Illinois Rehabilitation Facilities, with

   EPA ID No. ILD075612945, to the LWD Incinerator Site in 1986; three shipments of manifested




                                                  137
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 138 of 255 PageID #: 138




   waste containing hazardous substances totaling 10,079 lbs. were transported from Macon

   County, Illinois Rehabilitation Facilities, with EPA ID No. ILD075612945, to the LWD

   Incinerator Site in 1987; and two shipments of manifested waste containing hazardous

   substances totaling 4,123 lbs. were transported from Macon County, Illinois Rehabilitation

   Facilities, with EPA ID No. ILD075612945, to the LWD Incinerator Site in 1988.

          1006. The total weight attributable to Macon Resources at the LWD Incinerator Site is

   70,555 lbs.

          1007. To date, Macon Resources has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1008. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Madisonville Auto Parts, Inc. (“Madisonville Auto”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1009. EPA issued EPA ID No. KYD024098360 to Madisonville Auto.

          1010. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,250 lbs. was transported from

   Madisonville Auto, with EPA ID No. KYD024098360, to the LWD Incinerator Site in 1985; one

   shipment of manifested waste containing hazardous substances totaling 3,665 lbs. was

   transported from Madisonville Auto, with EPA ID No. KYD024098360, to the LWD Incinerator

   Site in 1986; and one shipment of manifested waste containing hazardous substances totaling

   1,833 lbs. was transported from Madisonville Auto, with EPA ID No. KYD024098360, to the

   LWD Incinerator Site in 1987.

          1011. The total weight attributable to Madisonville Auto at the LWD Incinerator Site is

   6,747 lbs.




                                                 138
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 139 of 255 PageID #: 139




          1012. To date, Madisonville Auto has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1013. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Malta Windows & Doors (“Malta”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1014. EPA issued EPA ID No. OHD004290078 to Malta.

          1015. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 7,200 lbs. was transported from

   Malta, with EPA ID No. OHD004290078, to the LWD Incinerator Site in 1994.

          1016. The total weight attributable to Malta at the LWD Incinerator Site is 7,200 lbs.

          1017. To date, Malta has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1018. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   MarChem Corporation (“MarChem”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1019. EPA issued EPA ID No. MOD083028696 and EPA ID No. MOD083028596 to

   MarChem.

          1020. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 38,197 lbs. were transported from

   MarChem, with EPA ID No. MOD083028596, to the LWD Incinerator Site in 1993; two

   shipments of manifested waste containing hazardous substances totaling 3,836 lbs. were

   transported from MarChem, with EPA ID No. MOD083028596, to the LWD Incinerator Site in

   1994; one shipment of manifested waste containing hazardous substances totaling 11,500 lbs.




                                                 139
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 140 of 255 PageID #: 140




   was transported from MarChem, with EPA ID No. MOD083028696, to the LWD Incinerator

   Site in 1994; three shipments of manifested waste containing hazardous substances totaling

   10,550 lbs. were transported from MarChem, with EPA ID No. MOD083028696, to the LWD

   Incinerator Site in 1995; five shipments of manifested waste containing hazardous substances

   totaling 30,483 lbs. were transported from MarChem, with EPA ID No. MOD083028696, to the

   LWD Incinerator Site in 1996; three shipments of manifested waste containing hazardous

   substances totaling 19,552 lbs. were transported from MarChem, with EPA ID No.

   MOD083028696, to the LWD Incinerator Site in 1997; and one shipment of manifested waste

   containing hazardous substances totaling 348 lbs. was transported from MarChem, with EPA ID

   No. MOD083028696, to the LWD Incinerator Site in 1999.

          1021. The total weight attributable to MarChem at the LWD Incinerator Site is 114,466

   lbs.

          1022. To date, MarChem has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1023. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Marinette Marine Corporation (“Marinette Marine”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1024. EPA issued EPA ID No. WID006135388 to Marinette Marine.

          1025. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 77,470 lbs. were transported from

   Marinette Marine, with EPA ID No. WID006135388, to the LWD Incinerator Site in 1985; two

   shipments of manifested waste containing hazardous substances totaling 45,840 lbs. were

   transported from Marinette Marine, with EPA ID No. WID006135388, to the LWD Incinerator




                                                 140
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 141 of 255 PageID #: 141




   Site in 1986; three shipments of manifested waste containing hazardous substances totaling

   71,178 lbs. were transported from Marinette Marine, with EPA ID No. WID006135388, to the

   LWD Incinerator Site in 1987; two shipments of manifested waste containing hazardous

   substances totaling 31,733 lbs. were transported from Marinette Marine, with EPA ID No.

   WID006135388, to the LWD Incinerator Site in 1988; three shipments of manifested waste

   containing hazardous substances totaling 39,000 lbs. were transported from Marinette Marine,

   with EPA ID No. WID006135388, to the LWD Incinerator Site in 1989; two shipments of

   manifested waste containing hazardous substances totaling 29,000 lbs. were transported from

   Marinette Marine, with EPA ID No. WID006135388, to the LWD Incinerator Site in 1990; three

   shipments of manifested waste containing hazardous substances totaling 29,000 lbs. were

   transported from Marinette Marine, with EPA ID No. WID006135388, to the LWD Incinerator

   Site in 1991; two shipments of manifested waste containing hazardous substances totaling

   15,500 lbs. were transported from Marinette Marine, with EPA ID No. WID006135388, to the

   LWD Incinerator Site in 1992; and one shipment of manifested waste containing hazardous

   substances totaling 4,000 lbs. was transported from Marinette Marine, with EPA ID No.

   WID006135388, to the LWD Incinerator Site in 1993.

          1026. The total weight attributable to Marinette Marine at the LWD Incinerator Site is

   342,721 lbs.

          1027. To date, Marinette Marine has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1028. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Mathews Marble Manufacturing, Inc. (“Mathews Marble”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 141
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 142 of 255 PageID #: 142




          1029. EPA issued EPA ID No. PAO000114645 to Mathews Marble.

          1030. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 12,406 lbs. were transported from

   Mathews Marble, with EPA ID No. PAO000114645, to the LWD Incinerator Site in 1999.

          1031. The total weight attributable to Mathews Marble at the LWD Incinerator Site is

   12,406 lbs.

          1032. To date, Mathews Marble has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1033. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   McLaughlin Body Company (“McLaughlin”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1034. EPA issued EPA ID No. ILD984832071 and EPA ID No. ILD984774646 to

   McLaughlin Gov’t Products Division; and ILD079132940 to McLaughlin.

          1035. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 15,962 lbs. were transported from

   McLaughlin Gov’t Products Division, with EPA ID No. ILD984774646, to the LWD Incinerator

   Site in 1991; two shipments of manifested waste containing hazardous substances totaling 4,123

   lbs. were transported from McLaughlin Gov’t Products Division, with EPA ID No.

   ILD984774646, to the LWD Incinerator Site in 1992; one shipment of manifested waste

   containing hazardous substances totaling 1,220 lbs. was transported from McLaughlin Gov’t

   Products Division, with EPA ID No. ILD984774646, to the LWD Incinerator Site in 1993; two

   shipments of manifested waste containing hazardous substances totaling 4,577 lbs. were

   transported from McLaughlin Gov’t Products Division, with EPA ID No. ILD984832071, to the




                                                142
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 143 of 255 PageID #: 143




   LWD Incinerator Site in 1994; one shipment of manifested waste containing hazardous

   substances totaling 459 lbs. was transported from McLaughlin Gov’t Products Division, with

   EPA ID No. ILD984774646, to the LWD Incinerator Site in 1994; one shipment of manifested

   waste containing hazardous substances totaling 610 lbs. was transported from McLaughlin, with

   EPA ID No. ILD079132940, to the LWD Incinerator Site in 1995; one shipment of manifested

   waste containing hazardous substances totaling 4,270 lbs. was transported from McLaughlin

   Gov’t Products Division, with EPA ID No. ILD984774646, to the LWD Incinerator Site in 1995;

   one shipment of manifested waste containing hazardous substances totaling 1,069 lbs. was

   transported from McLaughlin Gov’t Products Division, with EPA ID No. ILD984832071, to the

   LWD Incinerator Site in 1995; two shipments of manifested waste containing hazardous

   substances totaling 2,028 lbs. were transported from McLaughlin, with EPA ID No.

   ILD079132940, to the LWD Incinerator Site in 1996; one shipment of manifested waste

   containing hazardous substances totaling 5,807 lbs. was transported from McLaughlin Gov’t

   Products Division, with EPA ID No. ILD984832071, to the LWD Incinerator Site in 1996; one

   shipment of manifested waste containing hazardous substances totaling 92 lbs. was transported

   from McLaughlin, with EPA ID No. ILD079132940, to the LWD Incinerator Site in 1997; two

   shipments of manifested waste containing hazardous substances totaling 21,281 lbs. were

   transported from McLaughlin Gov’t Products Division, with EPA ID No. ILD984832071, to the

   LWD Incinerator Site in 1997; and three shipments of manifested waste containing hazardous

   substances totaling 8,129 lbs. were transported from McLaughlin Gov’t Products Division, with

   EPA ID No. ILD984832071, to the LWD Incinerator Site in 1998.

          1036. The total weight attributable to McLaughlin at the LWD Incinerator Site is 69,627

   lbs.




                                                143
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 144 of 255 PageID #: 144




           1037. To date, McLaughlin has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1038. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

   McPherson Companies (“McPherson”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1039. McPherson is the parent company to McPherson Oil Products.

           1040. EPA issued EPA ID No. GAT150011062 to McPherson Oil Products.

           1041. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 18,326 lbs. was transported from

   McPherson Oil Products, with EPA ID No. GAT150011062, to the LWD Incinerator Site in

   1987.

           1042. The total weight attributable to McPherson at the LWD Incinerator Site is 18,326

   lbs.

           1043. To date, McPherson has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1044. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Megafab, Inc. (“Megafab”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1045. Megafab is the parent company to W.A. Whitney.

           1046. EPA issued EPA ID No. ILD005469501 to W.A. Whitney.

           1047. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 2,749 lbs. was transported from W.A.

   Whitney, with EPA ID No. ILD005469501, to the LWD Incinerator Site in 1986; and one




                                                 144
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 145 of 255 PageID #: 145




   shipment of manifested waste containing hazardous substances totaling 4,582 lbs. was

   transported from W.A. Whitney, with EPA ID No. ILD005469501, to the LWD Incinerator Site

   in 1987.

          1048. The total weight attributable to Megafab at the LWD Incinerator Site is 7,330 lbs.

          1049. To date, Megafab has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1050. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Mei

   LLC (“Mei”) pay its equitable share of LWD Incinerator Site response costs pursuant to Sections

   107(a) and 113(f)(1) of CERCLA.

          1051. Mei is the successor to Mei-In.

          1052. EPA issued EPA ID No. IND980590947 to Mei-In.

          1053. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 69,480 lbs. was transported from Mei-In, with EPA ID

   No. IND980590947, to the LWD Incinerator Site in 2000.

          1054. The total weight attributable to Mei at the LWD Incinerator Site is 69,480 lbs.

          1055. To date, Mei has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1056. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Meredith Corporation (“Meredith”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1057. Meredith is also known as Meredith/Burda.

          1058. EPA issued EPA ID No. NCD991279118 to Meredith/Burda.

          1059. According to Annual Reports for the LWD Incinerator Site, four shipments of




                                                  145
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 146 of 255 PageID #: 146




   manifested waste containing hazardous substances totaling 48,637 lbs. were transported from

   Meredith/Burda, with EPA ID No. NCD991279118, to the LWD Incinerator Site in 1989; and

   three shipments of manifested waste containing hazardous substances totaling 40,000 lbs. were

   transported from Meredith/Burda, with EPA ID No. NCD991279118, to the LWD Incinerator

   Site in 1990.

          1060. The total weight attributable to Meredith at the LWD Incinerator Site is 88,637

   lbs.

          1061. To date, Meredith has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1062. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Meridian Automotive Systems, Inc. (“Meridian”) pay its equitable share of LWD Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1063. Meridian is the successor to Eagle Picher Plastic Division and Eagle Picher

   Industries.

          1064. EPA issued EPA ID No. IND098642266 to Eagle Picher Plastic Division and

   EPA ID No. IND016351272 to Eagle Picher Industries.

          1065. According to Annual Reports for the LWD Site, manifested waste containing

   hazardous substances totaling 59,726 lbs. was transported from Eagle Picher Plastic Division,

   with EPA ID No. IND098642266, to the LWD Site in 1985; one shipment of manifested waste

   containing hazardous substances totaling 17,410 lbs. was transported from Eagle Picher Plastic

   Division, with EPA ID No. IND098642266, to the LWD Site in 1986; one shipment of

   manifested waste containing hazardous substances totaling 33,320 lbs. was transported from

   Eagle Picher Industries, with EPA ID No. IND016351272, to the LWD Site in 1986; and one




                                                 146
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 147 of 255 PageID #: 147




   shipment of manifested waste containing hazardous substances totaling 17,410 lbs. was

   transported from Eagle Picher Plastic Division, with EPA ID No. IND098642266, to the LWD

   Site in 1987.

          1066. The total weight attributable to Meridian at the LWD Site is 127,866 lbs.

          1067. To date, Meridian has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Site.

          1068. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Metal Forms Corp. (“Metal Forms”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1069. EPA issued EPA ID No. WID006102289 to Metal Forms.

          1070. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 5,956 lbs. were transported from

   Metal Forms, with EPA ID No. WID006102289, to the LWD Incinerator Site in 1988.

          1071. The total weight attributable to Metal Forms at the LWD Incinerator Site is 5,956

   lbs.

          1072. To date, Metal Forms has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1073. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Meyer Steel Drum, Inc. (“Meyer”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1074. Meyer is the successor to Edmier Steel Drum.

          1075. EPA issued EPA ID No. ILD081037772 to Edmier Steel Drum.

          1076. According to Annual Reports for the LWD Incinerator Site, one shipment of




                                                147
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 148 of 255 PageID #: 148




   manifested waste containing hazardous substances totaling 7,923 lbs. was transported from

   Edmier Steel Drum, with EPA ID No. ILD081037772, to the LWD Incinerator Site in 1993.

           1077. The total weight attributable to Meyer at the LWD Incinerator Site is 7,923 lbs.

           1078. To date, Meyer has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1079. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Michigan Department of Corrections (“MDOC”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1080. EPA issued EPA ID No. MID985623537 to MDOC.

           1081. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 3,604 lbs. were transported from

   MDOC, with EPA ID No. MID985623537, to the LWD Incinerator Site in 1994; one shipment

   of manifested waste containing hazardous substances totaling 610 lbs. was transported from

   MDOC, with EPA ID No. MID985623537, to the LWD Incinerator Site in 1996; one shipment

   of manifested waste containing hazardous substances totaling 3,166 lbs. was transported from

   MDOC, with EPA ID No. MID985623537, to the LWD Incinerator Site in 2001; and one

   shipment of manifested waste containing hazardous substances totaling 1,145 lbs. was

   transported from MDOC, with EPA ID No. MID985623537, to the LWD Incinerator Site in

   2002.

           1082. The total weight attributable to MDOC at the LWD Incinerator Site is 8,525 lbs.

           1083. To date, MDOC has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1084. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant




                                                 148
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 149 of 255 PageID #: 149




   Microbac Laboratories, Inc. (“Microbac”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1085. EPA issued EPA ID No. KYD985080613 to Microbac.

           1086. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 917 lbs. was transported from

   Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in 1994; two

   shipments of manifested waste containing hazardous substances totaling 3,263 lbs. were

   transported from Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in

   1997; two shipments of manifested waste containing hazardous substances totaling 420 lbs. were

   transported from Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in

   1998; manifested waste containing hazardous substances totaling 695 lbs. was transported from

   Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in 2000; one

   shipment of manifested waste containing hazardous substances totaling 234 lbs. was transported

   from Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in 2001; one

   shipment of manifested waste containing hazardous substances totaling 241 lbs. was transported

   from Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in 2002; and

   two shipments of manifested waste containing hazardous substances totaling 783 lbs. were

   transported from Microbac, with EPA ID No. KYD985080613, to the LWD Incinerator Site in

   2003.

           1087. The total weight attributable to Microbac at the LWD Incinerator Site is 6,554 lbs.

           1088. To date, Microbac has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1089. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                 149
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 150 of 255 PageID #: 150




   Mid-Valley Pipeline Co. (“Mid-Valley Pipeline”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1090. EPA issued EPA ID No. KYR00031161 to Mid-Valley Pipeline.

          1091. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 13,500 lbs. was transported from Mid-Valley Pipeline,

   with EPA ID No. KYR00031161, to the LWD Incinerator Site in 2000.

          1092. The total weight attributable to Mid-Valley Pipeline at the LWD Incinerator Site

   is 13,500 lbs.

          1093. To date, Mid-Valley Pipeline has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1094. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Mid-Western Commercial Roofers, Inc. (“Mid-Western Roofers”) pay its equitable share of

   LWD Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1095. EPA issued EPA ID No. KYD981014715 to Mid-Western Roofers.

          1096. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 34,653 lbs. was transported from

   Mid-Western Roofers, with EPA ID No. KYD981014715, to the LWD Incinerator Site in 1986.

          1097. The total weight attributable to Mid-Western Roofers at the LWD Incinerator Site

   is 34,653 lbs.

          1098. To date, Mid-Western Roofers has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1099. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

   Middleby Corporation (“Middleby”) pay its equitable share of LWD Incinerator Site response




                                                150
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 151 of 255 PageID #: 151




   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1100. Middleby is the successor to Anetsberger Brothers, Inc.

           1101. EPA issued EPA ID No. ILD068458827 to Anetsberger Brothers, Inc.

           1102. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 7,330 lbs. was transported from Anetsberger Brothers,

   Inc., with EPA ID No. ILD068458827, to the LWD Incinerator Site in 1984; and four shipments

   of manifested waste containing hazardous substances totaling 22,908 lbs. were transported from

   Anetsberger Brothers, Inc., with EPA ID No. ILD068458827, to the LWD Incinerator Site in

   1985.

           1103. The total weight attributable to Middleby at the LWD Incinerator Site is 30,238

   lbs.

           1104. To date, Middleby has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1105. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Mitsubishi Motors North America, Inc. (“Mitsubishi”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1106. Mitsubishi is the successor to Diamond Star Motors Corp.

           1107. EPA issued EPA ID No. ILD982072357 to Diamond Star Motors Corp.

           1108. According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 16,452 lbs. were transported from

   Diamond Star Motors Corp., with EPA ID No. ILD982072357, to the LWD Incinerator Site in

   1988; four shipments of manifested waste containing hazardous substances totaling 62,767 lbs.

   were transported from Diamond Star Motors Corp., with EPA ID No. ILD982072357, to the




                                                 151
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 152 of 255 PageID #: 152




   LWD Incinerator Site in 1989; three shipments of manifested waste containing hazardous

   substances totaling 76,053 lbs. were transported from Diamond Star Motors Corp., with EPA ID

   No. ILD982072357, to the LWD Incinerator Site in 1990 and one shipment of manifested waste

   containing hazardous substances totaling 38,427 lbs. was transported from Diamond Star Motors

   Corp., with EPA ID No. ILD982072357, to the LWD Incinerator Site in 1991.

          1109. The total weight attributable to Mitsubishi at the LWD Incinerator Site is 193,698

   lbs.

          1110. To date, Mitsubishi has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1111. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Moen Incorporated (“Moen”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1112. EPA issued EPA ID No. OHD042707513 to Moen.

          1113. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 180 lbs. was transported from Moen,

   with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1992; three shipments of

   manifested waste containing hazardous substances totaling 1,317 lbs. were transported from

   Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1993; four shipments

   of manifested waste containing hazardous substances totaling 749 lbs. were transported from

   Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1994; seven shipments

   of manifested waste containing hazardous substances totaling 42,851 lbs. were transported from

   Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1995; three shipments

   of manifested waste containing hazardous substances totaling 6,959 lbs. were transported from




                                                152
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 153 of 255 PageID #: 153




   Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1996; six shipments of

   manifested waste containing hazardous substances totaling 45,660 lbs. were transported from

   Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in1997; and one

   shipment of manifested waste containing hazardous substances totaling 10,540 lbs. was

   transported from Moen, with EPA ID No. OHD042707513, to the LWD Incinerator Site in 1998.

          1114. The total weight attributable to Moen at the LWD Incinerator Site is 108,255 lbs.

          1115. To date, Moen has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1116. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Motion Industries, Inc. (“Motion Industries”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1117. EPA issued EPA ID No. ALD982133845 to Motion Industries.

          1118. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,200 lbs. was transported from

   Motion Industries, with EPA ID No. ALD982133845, to the LWD Incinerator Site in 1997; and

   one shipment of manifested waste containing hazardous substances totaling 2,000 lbs. was

   transported from Motion Industries, with EPA ID No. ALD982133845, to the LWD Incinerator

   Site in 1998.

          1119. The total weight attributable to Motion Industries at the LWD Incinerator Site is

   7,200 lbs.

          1120. To date, Motion Industries has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1121. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant




                                                 153
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 154 of 255 PageID #: 154




   Motor Castings Co., Inc. (“Motor Castings”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1122. EPA issued EPA ID No. WID006064073 to Motor Castings.

          1123. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 9,621 lbs. was transported from

   Motor Castings, with EPA ID No. WID006064073, to the LWD Incinerator Site in 1988.

          1124. The total weight attributable to Motor Castings at the LWD Incinerator Site is

   9,621 lbs.

          1125. To date, Motor Castings has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1126. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Mountaineer Gas Co. (“Mountaineer Gas”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1127. EPA issued EPA ID No. WVP000005368 to Mountaineer Gas.

          1128. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,004 lbs. was transported from

   Mountaineer Gas, with EPA ID No. WVP000005368, to the LWD Incinerator Site in 1994.

          1129. The total weight attributable to Mountaineer Gas at the LWD Incinerator Site is

   5,004 lbs.

          1130. To date, Mountaineer Gas has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1131. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Murray Equipment Inc. (“Murray”) pay its equitable share of LWD Incinerator Site response




                                                154
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 155 of 255 PageID #: 155




   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1132. EPA issued EPA ID No. IND016314288 to Murray.

          1133. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 15,230 lbs. was transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1986; one shipment of

   manifested waste containing hazardous substances totaling 458 lbs. was transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1989; two shipments

   of manifested waste containing hazardous substances totaling 9,954 lbs. were transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1990; one shipment of

   manifested waste containing hazardous substances totaling 459 lbs. was transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1991; one shipment of

   manifested waste containing hazardous substances totaling 459 lbs. was transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1992; one shipment of

   manifested waste containing hazardous substances totaling 459 lbs. was transported from

   Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1995; and one

   shipment of manifested waste containing hazardous substances totaling 385 lbs. was transported

   from Murray, with EPA ID No. IND016314288, to the LWD Incinerator Site in 1997.

          1134. The total weight attributable to Murray at the LWD Incinerator Site is 27,404 lbs.

          1135. To date, Murray has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1136. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Nagle Pumps, Inc. (“Nagle Pumps”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                155
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 156 of 255 PageID #: 156




          1137. EPA issued EPA ID No. ILD031045AMQ to Nagle Pumps.

          1138. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 4,582 lbs. was transported from

   Nagle Pumps, with EPA ID No. ILD031045AMQ, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 4,582 lbs. was

   transported from Nagle Pumps, with EPA ID No. ILD031045AMQ, to the LWD Incinerator Site

   in 1987.

          1139. The total weight attributable to Nagle Pumps at the LWD Incinerator Site is 9,163

   lbs.

          1140. To date, Nagle Pumps has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1141. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   National Detroit, Inc. (“National Detroit”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1142. EPA issued EPA ID No. ILT180013807 to National Detroit.

          1143. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 17,993 lbs. were transported from

   National Detroit, with EPA ID No. ILT180013807, to the LWD Incinerator Site in 1985; one

   shipment of manifested waste containing hazardous substances totaling 12,079 lbs. was

   transported from National Detroit, with EPA ID No. ILT180013807, to the LWD Incinerator Site

   in 1986; three shipments of manifested waste containing hazardous substances totaling 20,575

   lbs. were transported from National Detroit, with EPA ID No. ILT180013807, to the LWD

   Incinerator Site in 1987; and two shipments of manifested waste containing hazardous




                                                  156
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 157 of 255 PageID #: 157




   substances totaling 8,247 lbs. were transported from National Detroit, with EPA ID No.

   ILT180013807, to the LWD Incinerator Site in 1988.

          1144. The total weight attributable to National Detroit at the LWD Incinerator Site is

   58,893 lbs.

          1145. To date, National Detroit has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1146. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   National Railway Equipment Co. (“National Railway”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1147. National Railway is doing business as VMV Paducahbilt and is the successor to

   VMV Enterprises, Inc.

          1148. EPA issued EPA ID No. KYD981753155 to VMV Enterprises, Inc. and VMV

   Paducahbilt.

          1149. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 28,780 lbs. were transported from

   VMV Enterprises, Inc., with EPA ID No. KYD981753155, to the LWD Incinerator Site in 1987;

   two shipments of manifested waste containing hazardous substances totaling 31,154 lbs. were

   transported from VMV Enterprises, Inc., with EPA ID No. KYD981753155, to the LWD

   Incinerator Site in 1988; two shipments of manifested waste containing hazardous substances

   totaling 48,106 lbs. were transported from VMV Enterprises, Inc., with EPA ID No.

   KYD981753155, to the LWD Incinerator Site in 1989; one shipment of manifested waste

   containing hazardous substances totaling 2,291 lbs. was transported from VMV Enterprises, Inc.,

   with EPA ID No. KYD981753155, to the LWD Incinerator Site in 1990; two shipments of




                                                 157
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 158 of 255 PageID #: 158




   manifested waste containing hazardous substances totaling 28,800 lbs. were transported from

   VMV Enterprises, Inc., with EPA ID No. KYD981753155, to the LWD Incinerator Site in 1993;

   three shipments of manifested waste containing hazardous substances totaling 90,590 lbs. were

   transported from VMV Enterprises, Inc., with EPA ID No. KYD981753155, to the LWD

   Incinerator Site in 1996; two shipments of manifested waste containing hazardous substances

   totaling 23,699 lbs. were transported from VMV Paducahbilt, with EPA ID No.

   KYD981753155, to the LWD Incinerator Site in 2002; and one shipment of manifested waste

   containing hazardous substances totaling 27,600 lbs. was transported from VMV Paducahbilt,

   with EPA ID No. KYD981753155, to the LWD Incinerator Site in 2003.

          1150. The total weight attributable to National Railway at the LWD Incinerator Site is

   281,020 lbs.

          1151. To date, National Railway has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1152. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Nautilus, Inc. ("Nautilus") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1153. EPA issued EPA ID No. VAD084141902 to Nautilus Manufacturing.

          1154. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 44,000 lbs. was transported from Nautilus

   Manufacturing, with EPA ID No. VAD084141902, to the LWD Incinerator Site in 1983; and one

   shipment of manifested waste containing hazardous substances totaling 46,648 lbs. was

   transported from Nautilus Manufacturing, with EPA ID No. VAD084141902, to the LWD

   Incinerator Site in 1986.




                                                  158
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 159 of 255 PageID #: 159




          1155. The total weight attributable to Nautilus at the LWD Incinerator Site is 90,648

   lbs.

          1156. To date, Nautilus has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1157. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   New Jersey Department of Transportation ("NJDOT") pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1158. EPA issued EPA ID No. NJD986603561 to NJDOT.

          1159. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 19,670 lbs. was transported from

   NJDOT, with EPA ID No. NJD986603561, to the LWD Incinerator Site in 1993.

          1160. The total weight attributable to NJDOT at the LWD Incinerator Site is 19,670 lbs.

          1161. To date, NJDOT has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1162. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Nilfisk-Advance, Inc. (“Nilfisk-Advance”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1163. Nilfisk-Advance is formerly known as Advance Machine.

          1164. EPA issued EPA ID No. MND000817874 to Advance Machine.

          1165. According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 4,270 lbs. were transported from

   Advance Machine, with EPA ID No. MND000817874, to the LWD Incinerator Site in 1996; two

   shipments of manifested waste containing hazardous substances totaling 548 lbs. were




                                                159
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 160 of 255 PageID #: 160




   transported from Advance Machine, with EPA ID No. MND000817874, to the LWD Incinerator

   Site in 1997; one shipment of manifested waste containing hazardous substances totaling 138 lbs.

   was transported from Advance Machine, with EPA ID No. MND000817874, to the LWD

   Incinerator Site in 1998; and one shipment of manifested waste containing hazardous substances

   totaling 217 lbs. was transported from Advance Machine, with EPA ID No. MND000817874, to

   the LWD Incinerator Site in 1999.

           1166. The total weight attributable to Nilfisk-Advance at the LWD Incinerator Site is

   5,173 lbs.

           1167. To date, Nilfisk-Advance has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1168. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Nitto Denko America, Inc. (“Nitto Denko”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1169. Nitto Denko is the successor to Avecia, Inc.

           1170. EPA issued EPA ID No. TND083525634 to Avecia, Inc.

           1171. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 226 lbs. was transported from

   Avecia, Inc., with EPA ID No. TND083525634, to the LWD Incinerator Site in 2001; and one

   shipment of manifested waste containing hazardous substances totaling 1,874 lbs. was

   transported from Avecia, Inc., with EPA ID No. TND083525634, to the LWD Incinerator Site in

   2002.

           1172. The total weight attributable to Nitto Denko at the LWD Incinerator Site is 47,320

   lbs.




                                                 160
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 161 of 255 PageID #: 161




           1173. To date, Nitto Denko has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1174. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Oakdale Construction Co. (“Oakdale”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1175. EPA issued EPA ID No. PAP000005808 to Oakdale.

           1176. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 11,200 lbs. was transported from

   Oakdale, with EPA ID No. PAP000005808, to the LWD Incinerator Site in 1993.

           1177. The total weight attributable to Oakdale at the LWD Incinerator Site is 11,200 lbs.

           1178. To date, Oakdale has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1179. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Ohio Department of Rehabilitation and Corrections (“ODOC”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1180. EPA issued EPA ID No. OHO987008273 to ODOC.

           1181. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 59,214 lbs. were transported from

   ODOC, with EPA ID No. OHO987008273, to the LWD Incinerator Site in 1994; and one

   shipment of manifested waste containing hazardous substances totaling 4,587 lbs. was

   transported from ODOC, with EPA ID No. OHO987008273, to the LWD Incinerator Site in

   1995.

           1182. The total weight attributable to ODOC at the LWD Incinerator Site is 63,801 lbs.




                                                 161
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 162 of 255 PageID #: 162




          1183. To date, ODOC has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1184. EPA issued EPA ID No. OHD982065914, OHD982208118, OHD981201254,

   OHD096505128, and OHD981526700 to Ohio Department of Transporation (“ODOT”).

          1185. According to Annual Reports for the LWD Incinerator Site, eighty-four shipments

   of manifested waste containing hazardous substances totaling 3,893,480 lbs. were transported

   from ODOT, with EPA ID No. OHD981201254, to the LWD Incinerator Site in 1994; one

   shipment of manifested waste containing hazardous substances totaling 2,291 lbs. was

   transported from ODOT, with EPA ID No. OHD981526700, to the LWD Incinerator Site in

   1999; one shipment of manifested waste containing hazardous substances totaling 1,132 lbs. was

   transported from ODOT, with EPA ID No. OHD982208118, to the LWD Incinerator Site in

   1999; one shipment of manifested waste containing hazardous substances totaling 1,696 lbs. was

   transported from ODOT, with EPA ID No. OHD096505128, to the LWD Incinerator Site in

   1999; two shipments of manifested waste containing hazardous substances totaling 4,384 lbs.

   were transported from ODOT, with EPA ID No. OHD096505128, to the LWD Incinerator Site

   in 2000; four shipments of manifested waste containing hazardous substances totaling 2,034 lbs.

   were transported from ODOT, with EPA ID No. OHD981526700, to the LWD Incinerator Site

   in 2000; two shipments of manifested waste containing hazardous substances totaling 3,080 lbs.

   were transported from ODOT, with EPA ID No. OHD096505128, to the LWD Incinerator Site

   in 2001; one shipment of manifested waste containing hazardous substances totaling 797 lbs. was

   transported from ODOT, with EPA ID No. OHD982208118, to the LWD Incinerator Site in

   2001; and one shipment of manifested waste containing hazardous substances totaling 6,576 lbs.

   was transported from ODOT, with EPA ID No. OHD982065914, to the LWD Incinerator Site in




                                                 162
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 163 of 255 PageID #: 163




   2001.

           1186. The total weight attributable to ODOT at the LWD Incinerator Site is 3,915,470

   lbs.

           1187. To date, ODOT has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1188. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Osram Sylvania Products, Inc. (“Osram Sylvania”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1189. EPA issued EPA ID No. KYD068339217 and NYD981082159 to Osram

   Sylvania.

           1190. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 11,912 lbs. were transported from

   Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator Site in 1983; six

   shipments of manifested waste containing hazardous substances totaling 6,663 lbs. were

   transported from Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator

   Site in 1984; one shipment of manifested waste containing hazardous substances totaling 6,655

   lbs. was transported from Osram Sylvania, with EPA ID No. NYD981082159, to the LWD

   Incinerator Site in 1991; one shipment of manifested waste containing hazardous substances

   totaling 7,089 lbs. was transported from Osram Sylvania, with EPA ID No. NYD981082159, to

   the LWD Incinerator Site in 1992; one shipment of manifested waste containing hazardous

   substances totaling 5,500 lbs. was transported from Osram Sylvania, with EPA ID No.

   KYD068339217, to the LWD Incinerator Site in 1994; three shipments of manifested waste

   containing hazardous substances totaling 3,475 lbs. were transported from Osram Sylvania, with




                                                163
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 164 of 255 PageID #: 164




   EPA ID No. KYD068339217, to the LWD Incinerator Site in 1995; three shipments of

   manifested waste containing hazardous substances totaling 3,150 lbs. were transported from

   Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator Site in 1996; three

   shipments of manifested waste containing hazardous substances totaling 3,800 lbs. were

   transported from Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator

   Site in 1997; two shipments of manifested waste containing hazardous substances totaling 650

   lbs. were transported from Osram Sylvania, with EPA ID No. KYD068339217, to the LWD

   Incinerator Site in 1998; three shipments of manifested waste containing hazardous substances

   totaling 3,534 lbs. were transported from Osram Sylvania, with EPA ID No. KYD068339217, to

   the LWD Incinerator Site in 1999; one shipment of manifested waste containing hazardous

   substances totaling 2,455 lbs. was transported from Osram Sylvania, with EPA ID No.

   KYD068339217, to the LWD Incinerator Site in 2000; six shipments of manifested waste

   containing hazardous substances totaling 5,089 lbs. were transported from Osram Sylvania, with

   EPA ID No. KYD068339217, to the LWD Incinerator Site in 2001; three shipments of

   manifested waste containing hazardous substances totaling 3,234 lbs. were transported from

   Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator Site in 2002; and

   three shipments of manifested waste containing hazardous substances totaling 1,620 lbs. were

   transported from Osram Sylvania, with EPA ID No. KYD068339217, to the LWD Incinerator

   Site in 2003.

          1191. The total weight attributable to Osram Sylvania at the LWD Incinerator Site is

   64,827 lbs.

          1192. To date, Osram Sylvania has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.




                                                 164
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 165 of 255 PageID #: 165




           1193. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Paducah Rent-A-Car, Inc. (“Paducah Rent-A-Car”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1194. Paducah Rent-A-Car is also known as Paducah Rent-A-Car (Barkley Field).

           1195. EPA issued EPA ID No. KYR000020909 to Paducah Rent-A-Car (Barkley Field).

           1196. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 13,840 lbs. was transported from

   Paducah Rent-A-Car (Barkley Field), with EPA ID No. KYR000020909, to the LWD Incinerator

   Site in 1999.

           1197. The total weight attributable to Paducah Rent-A-Car at the LWD Incinerator Site

   is 13,480 lbs.

           1198. To date, Paducah Rent-A-Car has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

           1199. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

   Pantry, Inc. (“Pantry”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

           1200. Pantry is the successor to Lil' Champ Food Stores, Inc.

           1201. EPA issued EPA ID No. FLD984198994 to Lil' Champ Food Stores, Inc.

           1202. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 26,220 lbs. was transported from Lil'

   Champ Food Stores, Inc., with EPA ID No. FLD984198994, to the LWD Incinerator Site in

   1997.

           1203. The total weight attributable to Pantry at the LWD Incinerator Site is 26,220 lbs.




                                                  165
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 166 of 255 PageID #: 166




          1204. To date, Pantry has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1205. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Parker Plastics Corp. (“Parker Plastics”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1206. EPA issued EPA ID No. PAD987357332 to Parker Plastics.

          1207. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,709 lbs. was transported from

   Parker Plastics, with EPA ID No. PAD987357332, to the LWD Incinerator Site in 1992.

          1208. The total weight attributable to Parker Plastics at the LWD Incinerator Site is

   6,709 lbs.

          1209. To date, Parker Plastics has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1210. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Patriach Partners, LLC (“Patriach Partners”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1211. Patriach Partners is the successor to Dura-Kentwood and KB Lighting, Inc.

          1212. EPA issued EPA ID No. MIR000029496 to Dura-Kentwood; and EPA ID No.

   MID161306436 to KB Lighting, Inc.

          1213. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 11,662 lbs. were transported from KB

   Lighting, Inc., with EPA ID No. MID161306436, to the LWD Incinerator Site in 1989; five

   shipments of manifested waste containing hazardous substances totaling 8,747 lbs. were




                                                  166
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 167 of 255 PageID #: 167




   transported from KB Lighting, Inc., with EPA ID No. MID161306436, to the LWD Incinerator

   Site in 1990; three shipments of manifested waste containing hazardous substances totaling

   7,298 lbs. were transported from KB Lighting, Inc., with EPA ID No. MID161306436, to the

   LWD Incinerator Site in 1991; five shipments of manifested waste containing hazardous

   substances totaling 6,672 lbs. were transported from KB Lighting, Inc., with EPA ID No.

   MID161306436, to the LWD Incinerator Site in 1992; six shipments of manifested waste

   containing hazardous substances totaling 8,840 lbs. were transported from KB Lighting, Inc.,

   with EPA ID No. MID161306436, to the LWD Incinerator Site in 1993; five shipments of

   manifested waste containing hazardous substances totaling 9,591 lbs. were transported from KB

   Lighting, Inc., with EPA ID No. MID161306436, to the LWD Incinerator Site in 1994; one

   shipment of manifested waste containing hazardous substances totaling 2,502 lbs. was

   transported from KB Lighting, Inc., with EPA ID No. MID161306436, to the LWD Incinerator

   Site in 1995; and forty-six shipments of manifested waste containing hazardous substances

   totaling 67,936 lbs. were transported from Dura-Kentwood, with EPA ID No. MIR000029496, to

   the LWD Incinerator Site in 2000.

          1214. The total weight attributable to Patriach Partners at the LWD Incinerator Site is

   67,936 lbs.

          1215. To date, Patriach Partners has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1216. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant PCI

   Services, Inc. (“PCI”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1217. EPA issued EPA ID No. ILR000113373 to PCI.




                                                 167
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 168 of 255 PageID #: 168




           1218. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,233 lbs. was transported from PCI,

   with EPA ID No. ILR000113373, to the LWD Incinerator Site in 2002; and one shipment of

   manifested waste containing hazardous substances totaling 291 lbs. was transported from PCI,

   with EPA ID No. ILR000113373, to the LWD Incinerator Site in 2003.

           1219. The total weight attributable to PCI at the LWD Incinerator Site is 5,524 lbs.

           1220. To date, PCI has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1221. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Pennsylvania Department of Transportation (“PADOT”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1222. EPA issued EPA ID No. PAD981738271 and PADEP0009019 to PADOT.

           1223. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 100,968 lbs. were transported from

   PADOT, with EPA ID No. PAD981738271, to the LWD Incinerator Site in 1989; and one

   shipment of manifested waste containing hazardous substances totaling 1,366 lbs. was

   transported from PADOT, with EPA ID No. PADEP0009019, to the LWD Incinerator Site in

   2001.

           1224. The total weight attributable to PADOT at the LWD Incinerator Site is 102,334

   lbs.

           1225. To date, PADOT has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1226. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant




                                                  168
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 169 of 255 PageID #: 169




   Pennsylvania Urban Redevelopment Authority pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1227. EPA issued EPA ID No. PADEP0007207 to Pennsylvania Urban Redevelopment

   Authority.

          1228. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 9,257 lbs. was transported from

   Pennsylvania Urban Redevelopment Authority, with EPA ID No. PADEP0007207, to the LWD

   Incinerator Site in 2000.

          1229. The total weight attributable to Pennsylvania Urban Redevelopment Authority at

   the LWD Incinerator Site is 9,257 lbs.

          1230. To date, Pennsylvania Urban Redevelopment Authority has not paid toward any

   response costs incurred by the LWD PRP Group at the LWD Incinerator Site.

          1231. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant The

   Penray Companies, Inc. (“Penray”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1232. Penray is also known as US Packaging.

          1233. EPA issued EPA ID No. ILD094292307 to US Packaging.

          1234. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 9,413 lbs. were transported from US

   Packaging, with EPA ID No. ILD094292307, to the LWD Incinerator Site in 1986.

          1235. The total weight attributable to Penray at the LWD Incinerator Site is 9,413 lbs.

          1236. To date, Penray has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.




                                                 169
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 170 of 255 PageID #: 170




           1237. EPA issued EPA ID No. PAR000014472 and EPA ID No. PAD981947161 to

   Peoples Natural Gas Company LLC (“Peoples Natural Gas”).

           1238. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,200 lbs. was transported from

   Peoples Natural Gas, with EPA ID No. PAD981947161, to the LWD Incinerator Site in 1993;

   one shipment of manifested waste containing hazardous substances totaling 600 lbs. was

   transported from Peoples Natural Gas, with EPA ID No. PAD981947161, to the LWD

   Incinerator Site in 1994; one shipment of manifested waste containing hazardous substances

   totaling 400 lbs. was transported from Peoples Natural Gas, with EPA ID No. PAD981947161,

   to the LWD Incinerator Site in 1996; two shipments of manifested waste containing hazardous

   substances totaling 5,004 lbs. were transported from Peoples Natural Gas, with EPA ID No.

   PAR000014472, to the LWD Incinerator Site in 1996; and two shipments of manifested waste

   containing hazardous substances totaling 825 lbs. were transported from Peoples Natural Gas,

   with EPA ID No. PAR000014472, to the LWD Incinerator Site in 1997.

           1239. The total weight attributable to Peoples Natural Gas at the LWD Incinerator Site

   is 8,029 lbs.

           1240. To date, Peoples Natural Gas has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

           1241. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Peterbilt Motors Company (“Peterbilt”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1242. EPA issued EPA ID No. TND048120083 to Peterbilt.

           1243. According to Annual Reports for the LWD Incinerator Site, two shipments of




                                                 170
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 171 of 255 PageID #: 171




   manifested waste containing hazardous substances totaling 52,687 lbs. were transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 1986; one shipment

   of manifested waste containing hazardous substances totaling 40,280 lbs. was transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 1988; one shipment

   of manifested waste containing hazardous substances totaling 11,057 lbs. was transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 1993; two shipments

   of manifested waste containing hazardous substances totaling 13,079 lbs. were transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 1998; one shipment

   of manifested waste containing hazardous substances totaling 475 lbs. was transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 1999; manifested

   waste containing hazardous substances totaling 17,740 lbs. was transported from Peterbilt, with

   EPA ID No. TND048120083, to the LWD Incinerator Site in 2000; and one shipment of

   manifested waste containing hazardous substances totaling 9,160 lbs. was transported from

   Peterbilt, with EPA ID No. TND048120083, to the LWD Incinerator Site in 2002.

          1244. The total weight attributable to Peterbilt at the LWD Incinerator Site is 144,478

   lbs.

          1245. To date, Peterbilt has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1246. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Petroclean, Inc. (“Petroclean”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1247. EPA issued EPA ID No. PAD098431885 and EPA ID No. PAD987399292 to

   Petroclean.




                                                  171
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 172 of 255 PageID #: 172




          1248. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 350 lbs. was transported from

   Petroclean, with EPA ID No. PAD098431885, to the LWD Incinerator Site in 1992; two

   shipments of manifested waste containing hazardous substances totaling 3,327 lbs. were

   transported from Petroclean, with EPA ID No. PAD098431885, to the LWD Incinerator Site in

   1993; one shipment of manifested waste containing hazardous substances totaling 690 lbs. was

   transported from Petroclean, with EPA ID No. PAD098431885, to the LWD Incinerator Site in

   1994; one shipment of manifested waste containing hazardous substances totaling 1,851 lbs. was

   transported from Petroclean, with EPA ID No. PAD987399292, to the LWD Incinerator Site in

   1994; one shipment of manifested waste containing hazardous substances totaling 2,334 lbs. was

   transported from Petroclean, with EPA ID No. PAD987399292, to the LWD Incinerator Site in

   1995; three shipments of manifested waste containing hazardous substances totaling 5,875 lbs.

   were transported from Petroclean, with EPA ID No. PAD987399292, to the LWD Incinerator

   Site in 1996; two shipments of manifested waste containing hazardous substances totaling 5,879

   lbs. were transported from Petroclean, with EPA ID No. PAD987399292, to the LWD

   Incinerator Site in 1997; one shipment of manifested waste containing hazardous substances

   totaling 2,468 lbs. was transported from Petroclean, with EPA ID No. PAD987399292, to the

   LWD Incinerator Site in 1998; one shipment of manifested waste containing hazardous

   substances totaling 709 lbs. was transported from Petroclean, with EPA ID No. PAD987399292,

   to the LWD Incinerator Site in 1999; one shipment of manifested waste containing hazardous

   substances totaling 4,088 lbs. was transported from Petroclean, with EPA ID No.

   PAD987399292, to the LWD Incinerator Site in 2000; and two shipments of manifested waste

   containing hazardous substances totaling 1,505 lbs. were transported from Petroclean, with EPA




                                                 172
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 173 of 255 PageID #: 173




   ID No. PAD987399292, to the LWD Incinerator Site in 2001.

          1249. The total weight attributable to Petroclean at the LWD Incinerator Site is 29,076

   lbs.

          1250. To date, Petroclean has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1251. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Philip Services Corporation (“Philip Services”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1252. Philip Services is the successor to Republic Environmental Services.

          1253. EPA issued EPA ID No. OHD055522429 to Republic Environmental Services.

          1254. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 27,014 lbs. were transported from

   Republic Environmental Services, with EPA ID No. OHD055522429, to the LWD Incinerator

   Site in 1996; one shipment of manifested waste containing hazardous substances totaling 5,120

   lbs. was transported from Republic Environmental Services, with EPA ID No. OHD055522429,

   to the LWD Incinerator Site in 1997; two shipments of manifested waste containing hazardous

   substances totaling 10,462 lbs. were transported from Republic Environmental Services, with

   EPA ID No. OHD055522429, to the LWD Incinerator Site in 1998; and one shipment of

   manifested waste containing hazardous substances totaling 1,318 lbs. was transported from

   Republic Environmental Services, with EPA ID No. OHD055522429, to the LWD Incinerator

   Site in 1999.

          1255. The total weight attributable to Philip Services at the LWD Incinerator Site is

   43,914 lbs.




                                                 173
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 174 of 255 PageID #: 174




          1256. To date, Philip Services has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1257. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Pilot

   Travel Centers LLC ("Pilot") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1258. Pilot is formerly known as Pilot Oil Co.

          1259. EPA issued EPA ID No. KYTMP0001111 to Pilot Oil Co; and EPA ID No. LQG

   to Pilot Oil #256.

          1260. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,749 lbs. was transported from Pilot

   Oil Co., with EPA ID No. KYTMP0001111, to the LWD Incinerator Site in 1987; and one

   shipment of manifested waste containing hazardous substances totaling 16,660 lbs. was

   transported from Pilot Oil #256, with EPA ID No. LQG, to the LWD Incinerator Site in 1988.

          1261. The total weight attributable to Pilot at the LWD Incinerator Site is 20,409 lbs.

          1262. To date, Pilot has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1263. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Pinellas County School Board (“Pinellas County SB”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1264. EPA issued EPA ID No. FLT950050724 to Pinellas County SB.

          1265. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 126,500 lbs. were transported from

   Pinellas County SB, with EPA ID No. FLT950050724, to the LWD Incinerator Site in 1995.




                                                 174
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 175 of 255 PageID #: 175




          1266. The total weight attributable to Pinellas County SB at the LWD Incinerator Site is

   126,500 lbs.

          1267. To date, Pinellas County SB has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1268. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant Pit

   Stop Grocery ("Pit Stop") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1269. EPA issued EPA ID No. MIP200000620 to Pit Stop.

          1270. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,709 lbs. was transported from Pit

   Stop, with EPA ID No. MIP200000620, to the LWD Incinerator Site in 1992.

          1271. The total weight attributable to Pit Stop at the LWD Incinerator Site is 6,709 lbs.

          1272. To date, Pit Stop has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1273. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Plascore, Inc. pay its equitable share of LWD Incinerator Site response costs pursuant to Sections

   107(a) and 113(f)(1) of CERCLA.

          1274. EPA issued EPA ID No. MID982206658 to Plascore.

          1275. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 18,326 lbs. was transported from

   Plascore, with EPA ID No. MID982206658, to the LWD Incinerator Site in 1987; and two

   shipments of manifested waste containing hazardous substances totaling 10,996 lbs. were

   transported from Plascore, with EPA ID No. MID982206658, to the LWD Incinerator Site in




                                                  175
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 176 of 255 PageID #: 176




   1990.

           1276. The total weight attributable to Plascore, Inc. at the LWD Incinerator Site is

   29,332 lbs.

           1277. To date, Plascore, Inc. has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1278. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Plastics Engineering Co. ("Plastics Engineering") pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1279. EPA issued EPA ID No. WID981199771 and EPA ID No. WIT560011629 to

   Plastics Engineering.

           1280. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,166 lbs. was transported from

   Plastics Engineering, with EPA ID No. WID981199771 in 1986; two shipments of manifested

   waste containing hazardous substances totaling 4,465 lbs. were transported from Plastics

   Engineering, with EPA ID No. WIT560011629, to the LWD Incinerator Site in 1986; two

   shipments of manifested waste containing hazardous substances totaling 1,333 lbs. were

   transported from Plastics Engineering, with EPA ID No. WIT560011629, to the LWD

   Incinerator Site in 1987; and two shipments of manifested waste containing hazardous

   substances totaling 1,125 lbs. were transported from Plastics Engineering, with EPA ID No.

   WIT560011629, to the LWD Incinerator Site in 1988.

           1281. The total weight attributable to Plastics Engineering at the LWD Incinerator Site

   is 8,088 lbs.

           1282. To date, Plastics Engineering has not paid toward any response costs incurred by




                                                  176
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 177 of 255 PageID #: 177




   the LWD PRP Group at the LWD Incinerator Site.

          1283. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Ply

   Gem Holdings Inc. (“Ply Gem”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1284. Ply Gem is the successor to M&W Manufacturers, Inc.

          1285. EPA issued EPA ID No. VAD058205170 to M&W Manufacturers, Inc.

          1286. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 82,925 lbs. were transported from

   M&W Manufacturers, Inc., with EPA ID No. VAD058205170, to the LWD Incinerator Site in

   1986; and two shipments of manifested waste containing hazardous substances totaling 3,633

   lbs. were transported from M&W Manufacturers, Inc., with EPA ID No. VAD058205170, to the

   LWD Incinerator Site in 1987.

          1287. The total weight attributable to Ply Gem at the LWD Incinerator Site is 86,558

   lbs.

          1288. To date, Ply Gem has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1289. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Plywood & Door Manufacturers Corp. ("Plywood & Door") pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1290. EPA issued EPA ID No. ILD981092950 to Plywood & Door.

          1291. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 28,897 lbs. were transported from

   Plywood & Door, with EPA ID No. ILD981092950, to the LWD Incinerator Site in 1985.




                                                177
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 178 of 255 PageID #: 178




           1292. The total weight attributable to Plywood & Door at the LWD Incinerator Site is

   28,897 lbs.

           1293. To date, Plywood & Door has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1294. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   PMRS, Inc. ("PMRS") pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

           1295. EPA issued EPA ID No. PAD987279205 and EPA ID No. PADEP0003504 to

   PMRS.

           1296. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 3,787 lbs. were transported from

   PMRS, with EPA ID No. PADEP0003504, to the LWD Incinerator Site in 1997; two shipments

   of manifested waste containing hazardous substances totaling 3,400 lbs. were transported from

   PMRS, with EPA ID No. PAD987279205, to the LWD Incinerator Site in 1998; and three

   shipments of manifested waste containing hazardous substances totaling 5,148 lbs. were

   transported from PMRS, with EPA ID No. PAD987279205, to the LWD Incinerator Site in

   1999.

           1297. The total weight attributable to PMRS at the LWD Incinerator Site is 12,335 lbs.

           1298. To date, PMRS has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1299. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant Port

   Jefferson Country Club ("Port Jefferson CC") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 178
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 179 of 255 PageID #: 179




          1300. Port Jefferson CC is also known as Port Jefferson Golf Club.

          1301. EPA issued EPA ID No. NYR000018143 to Port Jefferson Golf Club.

          1302. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 7,000 lbs. was transported from Port

   Jefferson Golf Club, with EPA ID No. NYR000018143, to the LWD Incinerator Site in 1996.

          1303. To date, Port Jefferson CC has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1304. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Powerex Inc. ("Powerex") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1305. EPA issued EPA ID No. PAD005000518 to Powerex.

          1306. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 7,000 lbs. was transported from

   Powerex, with EPA ID No. PAD005000518, to the LWD Incinerator Site in 1992.

          1307. The total weight attributable to Powerex at the LWD Incinerator Site is 7,000 lbs.

          1308. To date, Powerex has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1309. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Precision Products Group, Inc. (“Precision Products”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1310. Precision Products is the parent company to Stone Industrial.

          1311. EPA issued EPA ID No. MDD058594920 to Stone Industrial.

          1312. According to Annual Reports for the LWD Incinerator Site, one shipment of




                                                 179
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 180 of 255 PageID #: 180




   manifested waste containing hazardous substances totaling 5,336 lbs. was transported from Stone

   Industrial, with EPA ID No. MDD058594920, to the LWD Incinerator Site in 1994.

           1313. The total weight attributable to Precision Products at the LWD Incinerator Site is

   5,336 lbs.

           1314. To date, Precision Products has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

           1315. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   PSC, LLC (“PSC”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

           1316. PSC is the parent company to Northland Environmental, Inc.

           1317. EPA issued EPA ID No. RID040098352 to Northland Environmental, Inc.

           1318. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 11,055 lbs. was transported from

   Northland Environmental, Inc., with EPA ID No. RID040098352, to the LWD Incinerator Site in

   1995.

           1319. The total weight attributable to PSC at the LWD Incinerator Site is 11,055 lbs.

           1320. To date, PSC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1321. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Publishers Printing Co., LLC ("Publishers Printing") pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1322. EPA issued EPA ID No. KYD985080951 to Publishers Printing.

           1323. According to Annual Reports for the LWD Incinerator Site, three shipments of




                                                  180
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 181 of 255 PageID #: 181




   manifested waste containing hazardous substances totaling 5,036 lbs. were transported from

   Publishers Printing, with EPA ID No. KYD985080951, to the LWD Incinerator Site in 1995; and

   three shipments of manifested waste containing hazardous substances totaling 3,671 lbs. were

   transported from Publishers Printing, with EPA ID No. KYD985080951, to the LWD Incinerator

   Site in 1996.

          1324. The total weight attributable to Publishers Printing at the LWD Incinerator Site is

   8,707 lbs.

          1325. To date, Publishers Printing has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1326. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   QubicaAMF Worldwide (“QubicaAMF”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1327. QubicaAMF Worldwide is the successor to Rd. Master Corp.

          1328. EPA issued EPA ID No. ILD006304109 to Rd. Master Corp.

          1329. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 2,916 lbs. was transported from Rd.

   Master Corp., with EPA ID No. ILD006304109, to the LWD Incinerator Site in 1985; two

   shipments of manifested waste containing hazardous substances totaling 18,409 lbs. were

   transported from Rd. Master Corp., with EPA ID No. ILD006304109, to the LWD Incinerator

   Site in 1986; five shipments of manifested waste containing hazardous substances totaling

   57,769 lbs. were transported from Rd. Master Corp., with EPA ID No. ILD006304109, to the

   LWD Incinerator Site in 1987; six shipments of manifested waste containing hazardous

   substances totaling 65,490 lbs. were transported from Rd. Master Corp., with EPA ID No.




                                                 181
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 182 of 255 PageID #: 182




   ILD006304109, to the LWD Incinerator Site in 1988; six shipments of manifested waste

   containing hazardous substances totaling 80,634 lbs. were transported from Rd. Master Corp.,

   with EPA ID No. ILD006304109, to the LWD Incinerator Site in 1989; one shipment of

   manifested waste containing hazardous substances totaling 2,240 lbs. was transported from Rd.

   Master Corp., with EPA ID No. ILD006304109, to the LWD Incinerator Site in 1991; one

   shipment of manifested waste containing hazardous substances totaling 3,050 lbs. was

   transported from Rd. Master Corp., with EPA ID No. ILD006304109, to the LWD Incinerator

   Site in 1993; one shipment of manifested waste containing hazardous substances totaling 6,100

   lbs. was transported from Rd. Master Corp., with EPA ID No. ILD006304109, to the LWD

   Incinerator Site in 1994; three shipments of manifested waste containing hazardous substances

   totaling 6,510 lbs. were transported from Rd. Master Corp., with EPA ID No. ILD006304109, to

   the LWD Incinerator Site in 1995; two shipments of manifested waste containing hazardous

   substances totaling 10,201 lbs. were transported from Rd. Master Corp., with EPA ID No.

   ILD006304109, to the LWD Incinerator Site in 1996; and three shipments of manifested waste

   containing hazardous substances totaling 6,744 lbs. were transported from Rd. Master Corp.,

   with EPA ID No. ILD006304109, to the LWD Incinerator Site in 1997.

          1330. The total weight attributable to QubicaAMF at the LWD Incinerator Site is

   260,062 lbs.

          1331. To date, QubicaAMF has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1332. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant R.G.

   Smith Co., Inc. ("R.G. Smith") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 182
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 183 of 255 PageID #: 183




          1333. EPA issued EPA ID No. OHCEG0000000 to R.G. Smith.

          1334. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 9,099 lbs. was transported from R.G.

   Smith, with EPA ID No. OHCEG0000000, to the LWD Incinerator Site in 1999.

          1335. The total weight attributable to R.G. Smith at the LWD Incinerator Site is 9,099

   lbs.

          1336. To date, R.G. Smith Co. has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1337. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Rawlings Sporting Goods Co., Inc. (“Rawlings”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1338. Rawlings is the successor to Worth, Inc.

          1339. EPA issued EPA ID No. MOD046378378 and EPA ID No. MOD981709512 to

   Rawlings; and EPA ID No. TND987771136 to Worth, Inc.

          1340. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,956 lbs. was transported from

   Rawlings, with EPA ID No. MOD046378378, to the LWD Incinerator Site in 1987; three

   shipments of manifested waste containing hazardous substances totaling 7,622 lbs. were

   transported from Rawlings, with EPA ID No. MOD981709512, to the LWD Incinerator Site in

   1987; one shipment of manifested waste containing hazardous substances totaling 1,499 lbs. was

   transported from Rawlings, with EPA ID No. MOD981709512, to the LWD Incinerator Site in

   1988; and three shipments of manifested waste containing hazardous substances totaling 11,312

   lbs. were transported from Worth Inc., with EPA ID No. TND987771136, to the LWD




                                                183
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 184 of 255 PageID #: 184




   Incinerator Site in 1996.

          1341. The total weight attributable to Rawlings at the LWD Incinerator Site is 26,389

   lbs.

          1342. To date, Rawlings has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1343. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Relocatable Confinement Facilities (“RCF”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1344. RCF is the successor to Johnson Fire Doors.

          1345. EPA issued EPA ID No. ILD010224355 to Johnson Fire Doors.

          1346. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 28,765 lbs. were transported from

   Johnson Fire Doors, with EPA ID No. ILD010224355, to the LWD Incinerator Site in 1995.

          1347. The total weight attributable to RCF at the LWD Incinerator Site is 28,765 lbs.

          1348. To date, RCF has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1349. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Rescar, Inc. ("Rescar") pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

          1350. Rescar, Inc. is the parent company to Rescar, Inc. of Pennsylvania.

          1351. EPA issued EPA ID No. PAD086681392 to Rescar, Inc. of Pennsylvania.

          1352. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,504 lbs. was transported from




                                                 184
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 185 of 255 PageID #: 185




   Rescar, Inc. of Pennsylvania, with EPA ID No. PAD086681392, to the LWD Incinerator Site in

   1995; one shipment of manifested waste containing hazardous substances totaling 14,630 lbs.

   was transported from Rescar, Inc. of Pennsylvania, with EPA ID No. PAD086681392, to the

   LWD Incinerator Site in 1998; one shipment of manifested waste containing hazardous

   substances totaling 9,201 lbs. was transported from Rescar, Inc. of Pennsylvania, with EPA ID

   No. PAD086681392, to the LWD Incinerator Site in 1999; two shipments of manifested waste

   containing hazardous substances totaling 4,361 lbs. were transported from Rescar, Inc. of

   Pennsylvania, with EPA ID No. PAD086681392, to the LWD Incinerator Site in 2000; and one

   shipment of manifested waste containing hazardous substances totaling 4,890 lbs. was

   transported from Rescar, Inc. of Pennsylvania, with EPA ID No. PAD086681392, to the LWD

   Incinerator Site in 2001.

          1353. The total weight attributable to Rescar at the LWD Incinerator Site is 38,586 lbs.

          1354. To date, Rescar has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1355. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Reserve Environmental Services, Inc. ("Reserve Environmental") pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1356. EPA issued EPA ID No. OH0980793384 and EPA ID No. OHD980793384 to

   Reserve Environmental.

          1357. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 8,519 lbs. was transported from

   Reserve Environmental, with EPA ID No. OHD980793384, to the LWD Incinerator Site in

   1991; one shipment of manifested waste containing hazardous substances totaling 16,680 lbs.




                                                 185
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 186 of 255 PageID #: 186




   was transported from Reserve Environmental, with EPA ID No. OHD980793384, to the LWD

   Incinerator Site in 1995; and one shipment of manifested waste containing hazardous substances

   totaling 37,860 lbs. was transported from Reserve Environmental, with EPA ID No.

   OH0980793384, to the LWD Incinerator Site in 1998.

          1358. The total weight attributable to Reserve Environmental at the LWD Incinerator

   Site is 63,059 lbs.

          1359. To date, Reserve Environmental has not paid toward any response costs incurred

   by the LWD PRP Group at the LWD Incinerator Site.

          1360. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Rexnord Industries, Inc. ("Rexnord") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1361. Rexnord is the parent company to Rexnord Elastomer Products.

          1362. EPA issued EPA ID No. WIT082806449 to Rexnord Elastomer Products.

          1363. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,374 lbs. was transported from

   Rexnord Elastomer Products, with EPA ID No. WIT082806449, to the LWD Incinerator Site in

   1987; two shipments of manifested waste containing hazardous substances totaling 3,207 lbs.

   were transported from Rexnord Elastomer Products, with EPA ID No. WIT082806449, to the

   LWD Incinerator Site in 1988; and one shipment of manifested waste containing hazardous

   substances totaling 2,291 lbs. was transported from Rexnord Elastomer Products, with EPA ID

   No. WIT082806449, to the LWD Incinerator Site in 1989.

          1364. The total weight attributable to Rexnord at the LWD Incinerator Site is 6,872 lbs.

          1365. To date, Rexnord has not paid toward any response costs incurred by the LWD




                                                 186
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 187 of 255 PageID #: 187




   PRP Group at the LWD Incinerator Site.

          1366. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant RG

   Steel, LLC (“RG Steel”) pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

          1367. RG Steel is the successor to Wheeling Pittsburgh Steel Corp.

          1368. EPA issued EPA ID No. OHD000810382, WVD000797720, and OHD980618177

   to Wheeling Pittsburgh Steel Corp.

          1369. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 600 lbs. was transported from

   Wheeling Pittsburgh Steel Corp., with EPA ID No. OHD000810382, to the LWD Incinerator

   Site in 1992; one shipment of manifested waste containing hazardous substances totaling 6,100

   lbs. was transported from Wheeling Pittsburgh Steel Corp., with EPA ID No. WVD000797720,

   to the LWD Incinerator Site in 1992; one shipment of manifested waste containing hazardous

   substances totaling 5,963 lbs. was transported from Wheeling Pittsburgh Steel Corp., with EPA

   ID No. OHD000810382, to the LWD Incinerator Site in 1995; one shipment of manifested waste

   containing hazardous substances totaling 405 lbs. was transported from Wheeling Pittsburgh

   Steel Corp., with EPA ID No. OHD000810382, to the LWD Incinerator Site in 1998; one

   shipment of manifested waste containing hazardous substances totaling 22,643 lbs. was

   transported from Wheeling Pittsburgh Steel Corp., with EPA ID No. OHD000810382, to the

   LWD Incinerator Site in 1999; one shipment of manifested waste containing hazardous

   substances totaling 6,201 lbs. was transported from Wheeling Pittsburgh Steel Corp., with EPA

   ID No. OHD980618177, to the LWD Incinerator Site in 1999; seven shipments of manifested

   waste containing hazardous substances totaling 146,080 lbs. were transported from Wheeling




                                                 187
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 188 of 255 PageID #: 188




   Pittsburgh Steel Corp., with EPA ID No. OHD000810382, to the LWD Incinerator Site in 2001;

   and one shipment of manifested waste containing hazardous substances totaling 73 lbs. was

   transported from Wheeling Pittsburgh Steel Corp., with EPA ID No. OHD980618177, to the

   LWD Incinerator Site in 2001.

          1370. The total weight attributable to RG Steel at the LWD Incinerator Site is 188,065

   lbs.

          1371. To date, RG Steel has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1372. EPA issued EPA ID No. OHD092621234 to Ricerca Inc. (“Ricerca”).

          1373. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 20,642 lbs. were transported from

   Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator Site in 1993; two shipments

   of manifested waste containing hazardous substances totaling 160 lbs. were transported from

   Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator Site in 1994; two shipments

   of manifested waste containing hazardous substances totaling 29,764 lbs. were transported from

   Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator Site in 1995; eighteen

   shipments of manifested waste containing hazardous substances totaling 184,520 lbs. were

   transported from Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator Site in

   1996; fourteen shipments of manifested waste containing hazardous substances totaling 277,932

   lbs. were transported from Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator

   Site in 1997; three shipments of manifested waste containing hazardous substances totaling

   59,459 lbs. were transported from Ricerca, with EPA ID No. OHD092621234, to the LWD

   Incinerator Site in 1998; fourteen shipments of manifested waste containing hazardous




                                                 188
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 189 of 255 PageID #: 189




   substances totaling 125,283 lbs. were transported from Ricerca, with EPA ID No.

   OHD092621234, to the LWD Incinerator Site in 1999; eight shipments of manifested waste

   containing hazardous substances totaling 65,597 lbs. were transported from Ricerca, with EPA

   ID No. OHD092621234, to the LWD Incinerator Site in 2000; twenty-two shipments of

   manifested waste containing hazardous substances totaling 77,119 lbs. were transported from

   Ricerca, LLC, with EPA ID No. OHD092621234, to the LWD Incinerator Site in 2000; twenty-

   one shipments of manifested waste containing hazardous substances totaling 355,808 lbs. were

   transported from Ricerca, with EPA ID No. OHD092621234, to the LWD Incinerator Site in

   2001; twenty-two shipments of manifested waste containing hazardous substances totaling

   638,981 lbs. were transported from Ricerca, with EPA ID No. OHD092621234, to the LWD

   Incinerator Site in 2002; and four shipments of manifested waste containing hazardous

   substances totaling 75,037 lbs. were transported from Ricerca, with EPA ID No.

   OHD092621234, to the LWD Incinerator Site in 2003.

          1374. The total weight attributable to Ricerca at the LWD Incinerator Site is 1,910,302

   lbs.

          1375. To date, Ricerca has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1376. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Riverside Correctional Facility (“RCF”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1377. EPA issued EPA ID No. MID079290870 to RCF.

          1378. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 13,328 lbs. was transported from




                                                 189
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 190 of 255 PageID #: 190




   RCF, with EPA ID No. MID079290870, to the LWD Incinerator Site in 1986.

          1379. The total weight attributable to RCF at the LWD Incinerator Site is 13,328 lbs.

          1380. To date, RCF has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1381. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Rockford Manufacturing Group, Inc. (“Rockford Mfg.”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1382. EPA issued EPA ID No. ILD010232890 to Rockford Mfg.

          1383. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 4,123 lbs. was transported from Rockford Mfg., with

   EPA ID No. ILD010232890, to the LWD Incinerator Site in 1983; two shipments of manifested

   waste containing hazardous substances totaling 5,040 lbs. were transported from Rockford Mfg.,

   with EPA ID No. ILD010232890, to the LWD Incinerator Site in 1986; and one shipment of

   manifested waste containing hazardous substances totaling 1,833 lbs. was transported from

   Rockford Mfg., with EPA ID No. ILD010232890, to the LWD Incinerator Site in 1988.

          1384. The total weight attributable to Rockford Mfg. at the LWD Incinerator Site is

   10,996 lbs.

          1385. To date, Rockford Mfg. has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1386. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Rockland Corp. pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1387. EPA issued EPA ID No. NJD002160216 to Rockland Corp.




                                                 190
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 191 of 255 PageID #: 191




          1388. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,000 lbs. was transported from

   Rockland Corp., with EPA ID No. NJD002160216, to the LWD Incinerator Site in 1997; and

   one shipment of manifested waste containing hazardous substances totaling 3,801 lbs. was

   transported from Rockland Corp., with EPA ID No. NJD002160216, to the LWD Incinerator

   Site in 1998.

          1389. The total weight attributable to Rockland Corp. at the LWD Incinerator Site is

   9,801 lbs.

          1390. To date, Rockland Corp. has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1391. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Roll

   Forming Corporation ("Roll Forming") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1392. EPA issued EPA ID No. KYD006390132 and EPA ID No. KYD981021405 to

   Roll Forming.

          1393. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 36,150 lbs. was transported from Roll Forming, with

   EPA ID No. KYD006390132, to the LWD Incinerator Site in 1981; manifested waste containing

   hazardous substances totaling 17,890 lbs. was transported from Roll Forming, with EPA ID No.

   KYD006390132, to the LWD Incinerator Site in 1982; manifested waste containing hazardous

   substances totaling 17,226 lbs. was transported from Roll Forming, with EPA ID No.

   KYD006390132, to the LWD Incinerator Site in 1983; manifested waste containing hazardous

   substances totaling 19,242 lbs. was transported from Roll Forming, with EPA ID No.




                                                191
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 192 of 255 PageID #: 192




   KYD006390132, to the LWD Incinerator Site in 1984; six shipments of manifested waste

   containing hazardous substances totaling 46,848 lbs. were transported from Roll Forming, with

   EPA ID No. KYD006390132, to the LWD Incinerator Site in 1985; three shipments of

   manifested waste containing hazardous substances totaling 47,826 lbs. were transported from

   Roll Forming, with EPA ID No. KYD006390132, to the LWD Incinerator Site in 1986; three

   shipments of manifested waste containing hazardous substances totaling 45,275 lbs. were

   transported from Roll Forming, with EPA ID No. KYD981021405, to the LWD Incinerator Site

   in 1986; two shipments of manifested waste containing hazardous substances totaling 7,330 lbs.

   were transported from Roll Forming, with EPA ID No. KYD006390132, to the LWD Incinerator

   Site in 1987; three shipments of manifested waste containing hazardous substances totaling

   16,745 lbs. were transported from Roll Forming, with EPA ID No. KYD006390132, to the LWD

   Incinerator Site in 1988; three shipments of manifested waste containing hazardous substances

   totaling 9,163 lbs. were transported from Roll Forming, with EPA ID No. KYD006390132, to

   the LWD Incinerator Site in 1989; three shipments of manifested waste containing hazardous

   substances totaling 29,166 lbs. were transported from Roll Forming, with EPA ID No.

   KYD006390132, to the LWD Incinerator Site in 1990; two shipments of manifested waste

   containing hazardous substances totaling 7,339 lbs. were transported from Roll Forming, with

   EPA ID No. KYD006390132, to the LWD Incinerator Site in 1991; one shipment of manifested

   waste containing hazardous substances totaling 3,670 lbs. was transported from Roll Forming,

   with EPA ID No. KYD006390132, to the LWD Incinerator Site in 1992; two shipments of

   manifested waste containing hazardous substances totaling 7,339 lbs. were transported from Roll

   Forming, with EPA ID No. KYD006390132, to the LWD Incinerator Site in 1993; one shipment

   of manifested waste containing hazardous substances totaling 4,880 lbs. was transported from




                                                 192
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 193 of 255 PageID #: 193




   Roll Forming, with EPA ID No. KYD006390132, to the LWD Incinerator Site in 1994; two

   shipments of manifested waste containing hazardous substances totaling 8,539 lbs. were

   transported from Roll Forming, with EPA ID No. KYD006390132, to the LWD Incinerator Site

   in 1995; two shipments of manifested waste containing hazardous substances totaling 9,149 lbs.

   were transported from Roll Forming, with EPA ID No. KYD006390132, to the LWD Incinerator

   Site in 1996; two shipments of manifested waste containing hazardous substances totaling 4,291

   lbs. were transported from Roll Forming, with EPA ID No. KYD006390132, to the LWD

   Incinerator Site in 1997; one shipment of manifested waste containing hazardous substances

   totaling 1,523 lbs. was transported from Roll Forming, with EPA ID No. KYD006390132, to the

   LWD Incinerator Site in 1998; one shipment of manifested waste containing hazardous

   substances totaling 4,397 lbs. was transported from Roll Forming, with EPA ID No.

   KYD006390132, to the LWD Incinerator Site in 1999; one shipment of manifested waste

   containing hazardous substances totaling 1,857 lbs. was transported from Roll Forming, with

   EPA ID No. KYD006390132, to the LWD Incinerator Site in 2000; and two shipments of

   manifested waste containing hazardous substances totaling 2,665 lbs. were transported from Roll

   Forming, with EPA ID No. KYD006390132, to the LWD Incinerator Site in 2001.

          1394. The total weight attributable to Roll Forming at the LWD Incinerator Site is

   348,511 lbs.

          1395. To date, Roll Forming has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1396. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Safeway Inc. (“Safeway”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                193
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 194 of 255 PageID #: 194




           1397. Safeway is the successor to Dominicks Finer Foods, Inc.

           1398. EPA issued EPA ID No. ILR000006015 to Dominicks Finer Foods, Inc.

           1399. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 17,536 lbs. was transported from

   Dominicks Finer Foods, Inc., with EPA ID No. ILR000006015, to the LWD Incinerator Site in

   2001; and one shipment of manifested waste containing hazardous substances totaling 2,325 lbs.

   was transported from Dominicks Finer Foods, Inc., with EPA ID No. ILR000006015, to the

   LWD Incinerator Site in 2002.

           1400. The total weight attributable to Safeway at the LWD Incinerator Site is 19,861

   lbs.

           1401. To date, Safeway has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1402. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Saint-Gobain Abrasives, Inc. (“SGA”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1403. SGA is the successor to Carborundum Abrasives Co.

           1404. EPA issued EPA ID No. NYD000829606 to Carborundum Abrasives Co.

           1405. According to Annual Reports for the LWD Incinerator Site, seven shipments of

   manifested waste containing hazardous substances totaling 23,310 lbs. were transported from

   Carborundum Abrasives Co., with EPA ID No. NYD000829606, to the LWD Incinerator Site in

   1996.

           1406. The total weight attributable to SGA at the LWD Incinerator Site is 23,310 lbs.




                                                 194
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 195 of 255 PageID #: 195




          1407. To date, SGA has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1408. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   SCA Americas pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1409. SCA Americas is the parent company to Molnlycke/Scott Health Care, Scott

   Health Care, and SCA Hygiene Products.

          1410. EPA issued EPA ID No. KYD068323781 to Molnlycke/Scott Health Care; EPA

   ID No. KYD068323781 to Scott Health Care; EPA ID No. KYD068323781 to SCA Hygiene

   Products; EPA ID No. KYD068323781 to SCA Molnlycke Scott Health Care; and EPA ID No.

   KYD985111541 to Scott Health Care.

          1411. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 12,510 lbs. was transported from SCA Hygiene

   Products, with EPA ID No. KYD068323781, to the LWD Incinerator Site in 1982; manifested

   waste containing hazardous substances totaling 276,431 lbs. was transported from SCA Hygiene

   Products, with EPA ID No. KYD068323781, to the LWD Incinerator Site in 1983; one shipment

   of manifested waste containing hazardous substances totaling 440 lbs. was transported from

   Scott Health Care, with EPA ID No. KYD985111541, to the LWD Incinerator Site in 1993; two

   shipments of manifested waste containing hazardous substances totaling 917 lbs. were

   transported from Scott Health Care, with EPA ID No. KYD985111541, to the LWD Incinerator

   Site in 1994; one shipment of manifested waste containing hazardous substances totaling 459 lbs.

   was transported from Scott Health Care, with EPA ID No. KYD068323781, to the LWD

   Incinerator Site in 1995; one shipment of manifested waste containing hazardous substances




                                                 195
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 196 of 255 PageID #: 196




   totaling 459 lbs. was transported from Scott Health Care, with EPA ID No. KYD068323781, to

   the LWD Incinerator Site in 1996; two shipments of manifested waste containing hazardous

   substances totaling 829 lbs. were transported from Scott Health Care, with EPA ID No.

   KYD068323781, to the LWD Incinerator Site in 1997; two shipments of manifested waste

   containing hazardous substances totaling 1,200 lbs. were transported from SCA Molnlycke Scott

   Health Care, with EPA ID No. KYD068323781, to the LWD Incinerator Site in 1998; one

   shipment of manifested waste containing hazardous substances totaling 465 lbs. was transported

   from Molnlycke/Scott Health Care, with EPA ID No. KYD068323781, to the LWD Incinerator

   Site in 1999; one shipment of manifested waste containing hazardous substances totaling 465 lbs.

   was transported from Molnlycke/Scott Health Care, with EPA ID No. KYD068323781, to the

   LWD Incinerator Site in 2000; two shipments of manifested waste containing hazardous

   substances totaling 826 lbs. were transported from SCA Hygiene Products, with EPA ID No.

   KYD068323781, to the LWD Incinerator Site in 2001; and one shipment of manifested waste

   containing hazardous substances totaling 460 lbs. was transported from SCA Hygiene Products,

   with EPA ID No. KYD068323781, to the LWD Incinerator Site in 2002.

          1412. The total weight attributable to SCA Americas at the LWD Incinerator Site is

   295,461 lbs.

          1413. To date, SCA Americas has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1414. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Schoot Gemtron Corporation (“Schoot Gemtron”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1415. Schoot Gemtron is the successor to Hamilton Glass Products, Inc.




                                                 196
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 197 of 255 PageID #: 197




          1416. EPA issued EPA ID No. IND070814025 to Hamilton Glass Products, Inc.

          1417. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 4,123 lbs. was transported from

   Hamilton Glass Products, Inc., with EPA ID No. IND070814025, to the LWD Incinerator Site in

   1982; three shipments of manifested waste containing hazardous substances totaling 12,828 lbs.

   were transported from Hamilton Glass Products, Inc., with EPA ID No. IND070814025, to the

   LWD Incinerator Site in 1983; nine shipments of manifested waste containing hazardous

   substances totaling 11,911 lbs. were transported from Hamilton Glass Products, Inc., with EPA

   ID No. IND070814025, to the LWD Incinerator Site in 1984; five shipments of manifested waste

   containing hazardous substances totaling 16,035 lbs. were transported from Hamilton Glass

   Products, Inc., with EPA ID No. IND070814025, to the LWD Incinerator Site in 1985; five

   shipments of manifested waste containing hazardous substances totaling 17,910 lbs. were

   transported from Hamilton Glass Products, Inc., with EPA ID No. IND070814025, to the LWD

   Incinerator Site in 1986; four shipments of manifested waste containing hazardous substances

   totaling 22,533 lbs. were transported from Hamilton Glass Products, Inc., with EPA ID No.

   IND070814025, to the LWD Incinerator Site in 1987; two shipments of manifested waste

   containing hazardous substances totaling 9,645 lbs. were transported from Hamilton Glass

   Products, Inc., with EPA ID No. IND070814025, to the LWD Incinerator Site in 1988; two

   shipments of manifested waste containing hazardous substances totaling 15,438 lbs. were

   transported from Hamilton Glass Products, Inc., with EPA ID No. IND070814025, to the LWD

   Incinerator Site in 1989; and three shipments of manifested waste containing hazardous

   substances totaling 16,813 lbs. were transported from Hamilton Glass Products, Inc., with EPA

   ID No. IND070814025, to the LWD Incinerator Site in 1990.




                                                 197
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 198 of 255 PageID #: 198




          1418. The total weight attributable to Schoot Gemtron at the LWD Incinerator Site is

   127,237 lbs.

          1419. To date, Schoot Gemtron has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1420. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Schumacher Electric Corp. ("Schumacher") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1421. EPA issued EPA ID No. ILD982073512 to Schumacher.

          1422. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,040 lbs. was transported from

   Schumacher, with EPA ID No. ILD982073512, to the LWD Incinerator Site in 1989.

          1423. The total weight attributable to Schumacher at the LWD Incinerator Site is 5,040

   lbs.

          1424. To date, Schumacher has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1425. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Scott Industries, LLC (“Scott”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1426. Scott is the parent company to Scott Manufacturing.

          1427. EPA issued EPA ID No. IND006398903 to Scott Manufacturing.

          1428. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 48,564 lbs. were transported from

   Scott Manufacturing, with EPA ID No. IND006398903, to the LWD Incinerator Site in 1985.




                                                 198
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 199 of 255 PageID #: 199




           1429. The total weight attributable to Scott at the LWD Incinerator Site is 48,564 lbs.

           1430. To date, Scott has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1431. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Sea

   Gull Lighting Products, LLC (“Sea Gull Lighting”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1432. Sea Gull Lighting is doing business as Woodriver Industries, Inc.

           1433. EPA issued EPA ID No. NJD065700106 to Woodriver Industries, Inc.

           1434. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 16,319 lbs. were transported from

   Woodriver Industries, Inc., with EPA ID No. NJD065700106, to the LWD Incinerator Site in

   1997.

           1435. The total weight attributable to Sea Gull Lighting at the LWD Incinerator Site is

   16,319 lbs.

           1436. To date, Sea Gull Lighting has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1437. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Sears Holding Corporation ("Sears") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1438. Sears is the successor to K-Mart Corp.

           1439. EPA issued EPA ID No. MIG000013858, MIG000018916, and NJD179164363 to

   K-Mart Corp.; and EPA ID No. KSD055439343 to K-Mart Distribution Center.

           1440. According to Annual Reports for the LWD Incinerator Site, one shipment of




                                                  199
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 200 of 255 PageID #: 200




   manifested waste containing hazardous substances totaling 12,828 lbs. was transported from K-

   Mart Distribution Center, with EPA ID No. KSD055439343, to the LWD Incinerator Site in

   1986; one shipment of manifested waste containing hazardous substances totaling 1,833 lbs. was

   transported from K-Mart, with EPA ID No. MIG000013858, to the LWD Incinerator Site in

   1987; two shipments of manifested waste containing hazardous substances totaling 1,833 lbs.

   were transported from K-Mart, with EPA ID No. MIG000013858, to the LWD Incinerator Site

   in 1988; two shipments of manifested waste containing hazardous substances totaling 2,624 lbs.

   were transported from K-Mart, with EPA ID No. MIG000018916, to the LWD Incinerator Site

   in 1989; one shipment of manifested waste containing hazardous substances totaling 458 lbs. was

   transported from K-Mart, with EPA ID No. MIG000013858, to the LWD Incinerator Site in

   1990; two shipments of manifested waste containing hazardous substances totaling 3,665 lbs.

   were transported from K-Mart, with EPA ID No. MIG000018916, to the LWD Incinerator Site

   in 1990; two shipments of manifested waste containing hazardous substances totaling 917 lbs.

   were transported from K-Mart, with EPA ID No. MIG000013858, to the LWD Incinerator Site

   in 1991; two shipments of manifested waste containing hazardous substances totaling 3,211 lbs.

   were transported from K-Mart, with EPA ID No. MIG000018916, to the LWD Incinerator Site

   in 1991; one shipment of manifested waste containing hazardous substances totaling 917 lbs. was

   transported from K-Mart, with EPA ID No. MIG000018916, to the LWD Incinerator Site in

   1992; one shipment of manifested waste containing hazardous substances totaling 9,672 lbs. was

   transported from K-Mart, with EPA ID No. NJD179164363, to the LWD Incinerator Site in

   1993; and two shipments of manifested waste containing hazardous substances totaling 2,662

   lbs. were transported from K-Mart, with EPA ID No. NJD179164363, to the LWD Incinerator

   Site in 1994.




                                                200
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 201 of 255 PageID #: 201




          1441. The total weight attributable to Sears at the LWD Incinerator Site is 40,620 lbs.

          1442. To date, Sears has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1443. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Semi Bulk Systems, Inc. ("Semi Bulk") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1444. EPA issued EPA ID No. MOD000991950 to Semi Bulk.

          1445. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 44,662 lbs. were transported from

   Semi Bulk, with EPA ID No. MOD000991950, to the LWD Incinerator Site in 1999.

          1446. The total weight attributable to Semi Bulk at the LWD Incinerator Site is 44,662

   lbs.

          1447. To date, Semi Bulk has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1448. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Semling-Manke Co. ("Semling-Manke") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1449. EPA issued EPA ID No. WID006135818 to Semling-Manke.

          1450. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 16,493 lbs. were transported from

   Semling-Manke, with EPA ID No. WID006135818, to the LWD Incinerator Site in 1987; one

   shipment of manifested waste containing hazardous substances totaling 5,040 lbs. was

   transported from Semling-Manke, with EPA ID No. WID006135818, to the LWD Incinerator




                                                 201
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 202 of 255 PageID #: 202




   Site in 1988; and one shipment of manifested waste containing hazardous substances totaling

   459 lbs. was transported from Semling-Manke, with EPA ID No. WID006135818, to the LWD

   Incinerator Site in 1994.

          1451. The total weight attributable to Semling-Manke at the LWD Incinerator Site is

   21,992 lbs.

          1452. To date, Semling-Manke has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1453. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Seville Flexpack Corp. ("Seville Flexpack") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1454. EPA issued EPA ID No. WID091783647 to Seville Flexpack.

          1455. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 36,194 lbs. was transported from

   Seville Flexpack, with EPA ID No. WID091783647, to the LWD Incinerator Site in 1986; four

   shipments of manifested waste containing hazardous substances totaling 86,590 lbs. were

   transported from Seville Flexpack, with EPA ID No. WID091783647, to the LWD Incinerator

   Site in 1987; three shipments of manifested waste containing hazardous substances totaling

   32,987 lbs. were transported from Seville Flexpack, with EPA ID No. WID091783647, to the

   LWD Incinerator Site in 1988 and two shipments of manifested waste containing hazardous

   substances totaling 27,947 lbs. were transported from Seville Flexpack, with EPA ID No.

   WID091783647, to the LWD Incinerator Site in 1989.

          1456. The total weight attributable to Seville Flexpack at the LWD Incinerator Site is

   183,718 lbs.




                                                 202
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 203 of 255 PageID #: 203




          1457. To date, Seville Flexpack has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1458. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Shaw-Lundquist Associates, Inc. ("Shaw-Lundquist") pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1459. EPA issued EPA ID No. MN0000004507 to Shaw-Lundquist.

          1460. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,709 lbs. was transported from

   Shaw-Lundquist, with EPA ID No. MN0000004507, to the LWD Incinerator Site in 1993.

          1461. The total weight attributable to Shaw-Lundquist at the LWD Incinerator Site is

   6,709 lbs.

          1462. To date, Shaw-Lundquist has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1463. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Shop N' Gas, Inc. (“Shop N' Gas”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1464. Shop N' Gas is the successor to Texstar Corp.

          1465. EPA issued EPA ID No. MOD006295646 to Texstar Corp.

          1466. According to Annual Reports for the LWD Incinerator Site, ten shipments of

   manifested waste containing hazardous substances totaling 3,041 lbs. were transported from

   Texstar Corp., with EPA ID No. MOD006295646, to the LWD Incinerator Site in 1985; and four

   shipments of manifested waste containing hazardous substances totaling 136,279 lbs. were

   transported from Texstar Corp., with EPA ID No. MOD006295646, to the LWD Incinerator Site




                                                203
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 204 of 255 PageID #: 204




   in 1986.

          1467. The total weight attributable to Shop N' Gas at the LWD Incinerator Site is

   166,351 lbs.

          1468. To date, Shop N' Gas has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1469. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Signature Flight Support ("Signature Flight") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1470. EPA issued EPA ID No. GAD981277775 and EPA ID No. TND982150708 to

   Signature Flight.

          1471. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 15,819 lbs. was transported from

   Signature Flight, with EPA ID No. TND982150708, to the LWD Incinerator Site in 1993; and

   one shipment of manifested waste containing hazardous substances totaling 550 lbs. was

   transported from Signature Flight, with EPA ID No. GAD981277775, to the LWD Incinerator

   Site in 2001.

          1472. The total weight attributable to Signature Flight at the LWD Incinerator Site is

   16,369 lbs.

          1473. To date, Signature Flight has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1474. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Slocum Pontiac Subaru Inc. ("Slocum Pontiac") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 204
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 205 of 255 PageID #: 205




           1475. EPA issued EPA ID No. WID044674885 to Slocum Pontiac.

           1476. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,537 lbs. was transported from

   Slocum Pontiac, with EPA ID No. WID044674885, to the LWD Incinerator Site in 1986.

           1477. The total weight attributable to Slocum Pontiac at the LWD Incinerator Site is

   10,537 lbs.

           1478. To date, Slocum Pontiac has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1479. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Smith & Wesson Holding Corp. (“Smith & Wesson”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1480. Smith & Wesson is the successor to K.W. Thompson Tool, Inc.

           1481. EPA issued EPA ID No. NHD002059525 to K.W. Thompson Tool, Inc.

           1482. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 11,350 lbs. was transported from

   K.W. Thompson Tool, Inc., with EPA ID No. NHD002059525, to the LWD Incinerator Site in

   1997.

           1483. The total weight attributable to Smith & Wesson at the LWD Incinerator Site is

   11,350 lbs.

           1484. To date, Smith & Wesson has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1485. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Solucorp Industries, Ltd. ("Solucorp") pay its equitable share of LWD Incinerator Site response




                                                 205
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 206 of 255 PageID #: 206




   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1486. Solucorp is also known as Solucorp, Inc.

          1487. EPA issued EPA ID No. NJD002146827 to Solucorp, Inc.

          1488. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 8,000 lbs. was transported from

   Solucorp, Inc., with EPA ID No. NJD002146827, to the LWD Incinerator Site in 1997.

          1489. The total weight attributable to Solucorp at the LWD Incinerator Site is 8,000 lbs.

          1490. To date, Solucorp has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1491. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   South County Technical School ("South Tech") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1492. EPA issued EPA ID No. MOD000000190 to South Tech.

          1493. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,872 lbs. was transported from

   South Tech, with EPA ID No. MOD000000190, to the LWD Incinerator Site in 1987.

          1494. The total weight attributable to South Tech at the LWD Incinerator Site is 6,872

   lbs.

          1495. To date, South Tech has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1496. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Spartan Motors Inc. (“Spartan”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                 206
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 207 of 255 PageID #: 207




          1497. Spartan is the parent company to Carpenter Body Works.

          1498. EPA issued EPA ID No. IND006418008 to Carpenter Body Works.

          1499. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 19,159 lbs. was transported from

   Carpenter Body Works, with EPA ID No. IND006418008, to the LWD Incinerator Site in 1985;

   four shipments of manifested waste containing hazardous substances totaling 40,073 lbs. were

   transported from Carpenter Body Works, with EPA ID No. IND006418008, to the LWD

   Incinerator Site in 1986; ten shipments of manifested waste containing hazardous substances

   totaling 118,857 lbs. were transported from Carpenter Body Works, with EPA ID No.

   IND006418008, to the LWD Incinerator Site in 1987; five shipments of manifested waste

   containing hazardous substances totaling 32,834 lbs. were transported from Carpenter Body

   Works, with EPA ID No. IND006418008, to the LWD Incinerator Site in 1988; and one

   shipment of manifested waste containing hazardous substances totaling 13,495 lbs. was

   transported from Carpenter Body Works, with EPA ID No. IND006418008, to the LWD

   Incinerator Site in 1989.

          1500. The total weight attributable to Spartan at the LWD Incinerator Site is 224,418

   lbs.

          1501. To date, Spartan has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1502. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Spawn Mate, Inc. ("Spawn Mate") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1503. EPA issued EPA ID No. IND038914600 to Spawn Mate.




                                                 207
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 208 of 255 PageID #: 208




          1504. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 161,210 lbs. was transported from

   Spawn Mate, with EPA ID No. IND038914600, to the LWD Incinerator Site in 1997.

          1505. The total weight attributable to Spawn Mate at the LWD Incinerator Site is

   161,210 lbs.

          1506. To date, Spawn Mate has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1507. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant The

   Standard Group (“Standard Group”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1508. Standard Group is the parent company to Southern Standard Cartons, Inc.

          1509. EPA issued EPA ID No. KYD046656732 to Southern Standard Cartons, Inc.

          1510. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,600 lbs. were transported from

   Southern Standard Cartons, Inc., with EPA ID No. KYD046656732, to the LWD Incinerator Site

   in 1983; three shipments of manifested waste containing hazardous substances totaling 9,621 lbs.

   were transported from Southern Standard Cartons, Inc., with EPA ID No. KYD046656732, to

   the LWD Incinerator Site in 1984; one shipment of manifested waste containing hazardous

   substances totaling 2,291 lbs. was transported from Southern Standard Cartons, Inc., with EPA

   ID No. KYD046656732, to the LWD Incinerator Site in 1985; four shipments of manifested

   waste containing hazardous substances totaling 12,787 lbs. were transported from Southern

   Standard Cartons, Inc., with EPA ID No. KYD046656732, to the LWD Incinerator Site in 1986;

   four shipments of manifested waste containing hazardous substances totaling 7,789 lbs. were




                                                 208
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 209 of 255 PageID #: 209




   transported from Southern Standard Cartons, Inc., with EPA ID No. KYD046656732, to the

   LWD Incinerator Site in 1987; three shipments of manifested waste containing hazardous

   substances totaling 6,872 lbs. were transported from Southern Standard Cartons, Inc., with EPA

   ID No. KYD046656732, to the LWD Incinerator Site in 1988; and two shipments of manifested

   waste containing hazardous substances totaling 4,123 lbs. were transported from Southern

   Standard Cartons, Inc., with EPA ID No. KYD046656732, to the LWD Incinerator Site in 1989.

          1511. The total weight attributable to Standard Group at the LWD Incinerator Site is

   47,083 lbs.

          1512. To date, Standard Group has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1513. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   Star Gas Partners, L.P. (“Star Gas”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1514. Star Gas is the parent company to Cibro Petroleum Products, Inc.

          1515. EPA issued EPA ID No. NYD084069426 to Cibro Petroleum Products, Inc.

          1516. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 9,980 lbs. was transported from Cibro

   Petroleum Products, Inc., with EPA ID No. NYD084069426, to the LWD Incinerator Site in

   1985; and one shipment of manifested waste containing hazardous substances totaling 30,500

   lbs. was transported from Cibro Petroleum Products, Inc., with EPA ID No. NYD084069426, to

   the LWD Incinerator Site in 1986.

          1517. The total weight attributable to Star Gas at the LWD Incinerator Site is 40,480

   lbs.




                                                 209
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 210 of 255 PageID #: 210




          1518. To date, Star Gas has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1519. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Steris Corp. (“Steris”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1520. Steris is the successor to American Sterilizer.

          1521. EPA issued EPA ID No. PAD005021582 to American Sterilizer.

          1522. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 9,720 lbs. were transported from

   American Sterilizer, with EPA ID No. PAD005021582, to the LWD Incinerator Site in 1994.

          1523. The total weight attributable to Steris at the LWD Incinerator Site is 9,720 lbs.

          1524. To date, Steris has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1525. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Sterling Hardware, LLC (“Sterling Hardware”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1526. Sterling Hardware is formerly known as Sterling Casket Hardware.

          1527. EPA issued EPA ID No. VAD000020115 to Sterling Casket Hardware.

          1528. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,648 lbs. was transported from

   Sterling Casket Hardware, with EPA ID No. VAD000020115, to the LWD Incinerator Site in

   1998; and three shipments of manifested waste containing hazardous substances totaling 13,222

   lbs. were transported from Sterling Casket Hardware, with EPA ID No. VAD000020115, to the




                                                  210
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 211 of 255 PageID #: 211




   LWD Incinerator Site in 1999.

          1529. The total weight attributable to Sterling Hardware at the LWD Incinerator Site is

   14,870 lbs.

          1530. To date, Sterling Hardware has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1531. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   STMicroelectronics (“ST”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1532. ST is the successor to SGS Thompson Microelectronics.

          1533. EPA issued EPA ID No. NJD044655140 to SGS Thompson Microelectronics.

          1534. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 22,400 lbs. was transported from

   SGS Thompson Microelectronics, with EPA ID No. NJD044655140, to the LWD Incinerator

   Site in 1991.

          1535. The total weight attributable to ST at the LWD Incinerator Site is 22,400 lbs.

          1536. To date, ST has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1537. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Stolle Machinery Company, LLC (“Stolle Machinery”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1538. Stolle Machinery is the successor to Kusan Manufacturing Co.

          1539. EPA issued EPA ID No. KYD006364707 to Kusan Manufacturing Co.

          1540. According to Annual Reports for the LWD Incinerator Site, four shipments of




                                                 211
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 212 of 255 PageID #: 212




   manifested waste containing hazardous substances totaling 140,361 lbs. were transported from

   Kusan Manufacturing Co., with EPA ID No. KYD006364707, to the LWD Incinerator Site in

   1985; two shipments of manifested waste containing hazardous substances totaling 45,815 lbs.

   were transported from Kusan Manufacturing Co., with EPA ID No. KYD006364707, to the

   LWD Incinerator Site in 1986; and two shipments of manifested waste containing hazardous

   substances totaling 31,612 lbs. were transported from Kusan Manufacturing Co., with EPA ID

   No. KYD006364707, to the LWD Incinerator Site in 1987.

          1541. The total weight attributable to Stolle Machinery at the LWD Incinerator Site is

   217,788 lbs.

          1542. To date, Stolle Machinery has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1543. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Stolper Industries, Inc. ("Stolper") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1544. EPA issued EPA ID No. WID006075014 to Stolper Industries, Inc.

          1545. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,413 lbs. was transported from

   Stolper Industries, Inc., with EPA ID No. WID006075014, to the LWD Incinerator Site in 1987.

          1546. The total weight attributable to Stolper at the LWD Incinerator Site is 10,413 lbs.

          1547. To date, Stolper has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1548. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Stout Industries, Inc. ("Stout") pay its equitable share of LWD Incinerator Site response costs




                                                  212
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 213 of 255 PageID #: 213




   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1549. EPA issued EPA ID No. MOD006266266 to Stout.

          1550. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,537 lbs. was transported from

   Stout, with EPA ID No. MOD006266266, to the LWD Incinerator Site in 1985.

          1551. The total weight attributable to Stout at the LWD Incinerator Site is 10,537 lbs.

          1552. To date, Stout has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1553. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   STP, Inc. (“STP”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1554. STP is formerly known as Small Tube Products, Inc.

          1555. EPA issued EPA ID No. PAD051136091 to Small Tube Products.

          1556. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 66,469 lbs. was transported from

   Small Tube Products, with EPA ID No. PAD051136091, to the LWD Incinerator Site in 2000;

   and one shipment of manifested waste containing hazardous substances totaling 23,708 lbs. was

   transported from Small Tube Products, with EPA ID No. PAD051136091, to the LWD

   Incinerator Site in 2001.

          1557. The total weight attributable to STP at the LWD Incinerator Site is 90,177 lbs.

          1558. To date, STP has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1559. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant




                                                 213
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 214 of 255 PageID #: 214




   Streater, Inc. ("Streater") pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

          1560. Streater, Inc. is also known as Streater Industries.

          1561. EPA issued EPA ID No. MND061457149 to Streater.

          1562. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 99,793 lbs. were transported from

   Streater Industries with EPA ID No. MND061457149, to the LWD Incinerator Site in 1986; two

   shipments of manifested waste containing hazardous substances totaling 17,410 lbs. were

   transported from Streater Industries, with EPA ID No. MND061457149, to the LWD Incinerator

   Site in 1987; and three shipments of manifested waste containing hazardous substances totaling

   45,350 lbs. were transported from Streater Industries, with EPA ID No. MND061457149, to the

   LWD Incinerator Site in 1988.

          1563. The total weight attributable to Streater at the LWD Incinerator Site is 162,553

   lbs.

          1564. To date, Streater has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1565. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Stripper Furniture Restoration Inc. ("Stripper Furniture") pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1566. EPA issued EPA ID No. MND981200157 to Stripper Furniture.

          1567. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,660 lbs. was transported from

   Stripper Furniture, with EPA ID No. MND981200157, to the LWD Incinerator Site in 1993; one




                                                  214
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 215 of 255 PageID #: 215




   shipment of manifested waste containing hazardous substances totaling 6,100 lbs. was

   transported from Stripper Furniture, with EPA ID No. MND981200157, to the LWD Incinerator

   Site in 1994; two shipments of manifested waste containing hazardous substances totaling 3,800

   lbs. were transported from Stripper Furniture, with EPA ID No. MND981200157, to the LWD

   Incinerator Site in 1999; one shipment of manifested waste containing hazardous substances

   totaling 4,762 lbs. was transported from Stripper Furniture, with EPA ID No. MND981200157,

   to the LWD Incinerator Site in 2000; and one shipment of manifested waste containing

   hazardous substances totaling 605 lbs. was transported from Stripper Furniture, with EPA ID No.

   MND981200157, to the LWD Incinerator Site in 2001.

          1568. The total weight attributable to Stripper Furniture at the LWD Incinerator Site is

   18,926 lbs.

          1569. To date, Stripper Furniture has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1570. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Sun-

   Times Media Holdings, LLC ("Sun-Times") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1571. Sun-Times is successor to Chicago Sun-Times, Inc.

          1572. EPA issued EPA ID No. ILD980629124 to Chicago Sun-Times, Inc.

          1573. According to Annual Reports for the LWD Incinerator Site, five shipments of

   manifested waste containing hazardous substances totaling 5,914 lbs. were transported from

   Chicago Sun-Times, Inc., with EPA ID No. ILD980629124, to the LWD Incinerator Site in

   1987; four shipments of manifested waste containing hazardous substances totaling 4,457 lbs.

   were transported from Chicago Sun-Times, Inc., with EPA ID No. ILD980629124, to the LWD




                                                 215
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 216 of 255 PageID #: 216




   Incinerator Site in 1988; four shipments of manifested waste containing hazardous substances

   totaling 5,040 lbs. were transported from Chicago Sun-Times, Inc., with EPA ID No.

   ILD980629124, to the LWD Incinerator Site in 1989; three shipments of manifested waste

   containing hazardous substances totaling 16,735 lbs. were transported from Chicago Sun-Times,

   Inc., with EPA ID No. ILD980629124, to the LWD Incinerator Site in 1990; and one shipment

   of manifested waste containing hazardous substances totaling 917 lbs. was transported from

   Chicago Sun-Times, Inc., with EPA ID No. ILD980629124, to the LWD Incinerator Site in

   1991.

           1574. The total weight attributable to Sun-Times at the LWD Incinerator Site is 33,063

   lbs.

           1575. To date, Sun-Times has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1576. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Sunrise Packaging Film ("Sunrise Packaging") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1577. EPA issued EPA ID No. WID002959005 to Sunrise Packaging.

           1578. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 10,496 lbs. was transported from

   Sunrise Packaging, with EPA ID No. WID002959005, to the LWD Incinerator Site in 1985; five

   shipments of manifested waste containing hazardous substances totaling 41,692 lbs. were

   transported from Sunrise Packaging, with EPA ID No. WID002959005, to the LWD Incinerator

   Site in 1986; four shipments of manifested waste containing hazardous substances totaling

   25,656 lbs. were transported from Sunrise Packaging, with EPA ID No. WID002959005, to the




                                                 216
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 217 of 255 PageID #: 217




   LWD Incinerator Site in 1987; and two shipments of manifested waste containing hazardous

   substances totaling 10,537 lbs. were transported from Sunrise Packaging, with EPA ID No.

   WID002959005, to the LWD Incinerator Site in 1988.

           1579. The total weight attributable to Sunrise Packaging at the LWD Incinerator Site is

   88,381 lbs.

           1580. To date, Sunrise Packaging has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

           1581. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Superior Oil Company, Inc. ("Superior Oil") pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1582. EPA issued EPA ID No. IND039994975 to Superior Oil.

           1583. According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 138,440 lbs. were transported from

   Superior Oil, with EPA ID No. IND039994975, to the LWD Incinerator Site in 1999; and one

   shipment of manifested waste containing hazardous substances totaling 139,440 lbs. was

   transported from Superior Oil, with EPA ID No. IND039994975, to the LWD Incinerator Site in

   2000.

           1584. The total weight attributable to Superior Oil at the LWD Incinerator Site is

   277,880 lbs.

           1585. To date, Superior Oil has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1586. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   SynTechnics, Inc. ("SynTechnics") pay its equitable share of LWD Incinerator Site response




                                                  217
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 218 of 255 PageID #: 218




   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1587. EPA issued EPA ID No. KYD058684804 to SynTechnics.

          1588. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 49,500 lbs. was transported from

   SynTechnics, with EPA ID No. KYD058684804, to the LWD Incinerator Site in 1981; two

   shipments of manifested waste containing hazardous substances totaling 10,258 lbs. were

   transported from SynTechnics, with EPA ID No. KYD058684804, to the LWD Incinerator Site

   in 1984; five shipments of manifested waste containing hazardous substances totaling 25,615 lbs.

   were transported from SynTechnics, with EPA ID No. KYD058684804, to the LWD Incinerator

   Site in 1987; two shipments of manifested waste containing hazardous substances totaling

   14,661 lbs. were transported from SynTechnics, with EPA ID No. KYD058684804, to the LWD

   Incinerator Site in 1988; one shipment of manifested waste containing hazardous substances

   totaling 1,374 lbs. was transported from SynTechnics, with EPA ID No. KYD058684804, to the

   LWD Incinerator Site in 1989; one shipment of manifested waste containing hazardous

   substances totaling 916 lbs. was transported from SynTechnics, with EPA ID No.

   KYD058684804, to the LWD Incinerator Site in 1990; one shipment of manifested waste

   containing hazardous substances totaling 3,665 lbs. was transported from SynTechnics, with

   EPA ID No. KYD058684804, to the LWD Incinerator Site in 1992; and one shipment of

   manifested waste containing hazardous substances totaling 1,679 lbs. was transported from

   SynTechnics, with EPA ID No. KYD058684804, to the LWD Incinerator Site in 1993.

          1589. The total weight attributable to SynTechnics at the LWD Incinerator Site is

   107,668 lbs.

          1590. To date, SynTechnics has not paid toward any response costs incurred by the




                                                 218
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 219 of 255 PageID #: 219




   LWD PRP Group at the LWD Incinerator Site.

          1591. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   T&F Industries Inc. ("T&F") pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1592. EPA issued EPA ID No. ILD068451434 to T&F.

          1593. According to Annual Reports for the LWD Incinerator Site, four shipments of

   manifested waste containing hazardous substances totaling 7,789 lbs. were transported from

   T&F, with EPA ID No. ILD068451434, to the LWD Incinerator Site in 1985; three shipments of

   manifested waste containing hazardous substances totaling 4,582 lbs. were transported from

   T&F, with EPA ID No. ILD068451434, to the LWD Incinerator Site in 1986; and two shipments

   of manifested waste containing hazardous substances totaling 2,749 lbs. were transported from

   T&F, with EPA ID No. ILD068451434, to the LWD Incinerator Site in 1987.

          1594. The total weight attributable to T&F at the LWD Incinerator Site is 15,119 lbs.

          1595. To date, T&F has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1596. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Takeda Pharmaceuticals North America, Inc. (“Takeda”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1597. Takeda is the parent company to Takeda Chemical Products, USA and Nycomed.

          1598. EPA issued EPA ID No. NCD127257673 to Takeda Chemical Products, USA and

   EPA ID No. NYD083626077 to Nycomed.

          1599. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 45,502 lbs. were transported from




                                                219
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 220 of 255 PageID #: 220




   Takeda Chemical Products, USA, with EPA ID No. NCD127257673, to the LWD Incinerator

   Site in 1995; four shipments of manifested waste containing hazardous substances totaling

   96,472 lbs. were transported from Takeda Chemical Products, USA, with EPA ID No.

   NCD127257673, to the LWD Incinerator Site in 1996; and one shipment of manifested waste

   containing hazardous substances totaling 33,840 lbs. was transported from Nycomed, with EPA

   ID No. NYD083626077, to the LWD Incinerator Site in 1997.

           1600. The total weight attributable to Takeda at the LWD Incinerator Site is 175,814

   lbs.

           1601. To date, Takeda has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1602. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant Tech

   2000 Woodworks, Inc. ("Tech 2000") pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1603. EPA issued EPA ID No. PAR000042556 to Tech 2000.

           1604. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 2,865 lbs. were transported from

   Tech 2000, with EPA ID No. PAR000042556, to the LWD Incinerator Site in 2000; and three

   shipments of manifested waste containing hazardous substances totaling 2,335 lbs. were

   transported from Tech 2000, with EPA ID No. PAR000042556, to the LWD Incinerator Site in

   2001.

           1605. The total weight attributable to Tech 2000 at the LWD Incinerator Site is 5,200

   lbs.

           1606. To date, Tech 2000 has not paid toward any response costs incurred by the LWD




                                                 220
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 221 of 255 PageID #: 221




   PRP Group at the LWD Incinerator Site.

          1607. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Tetra Pak Inc. (“Tetra Pak”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1608. EPA issued EPA ID No. IND058958125 and EPA ID No. MOD066919275 to

   Tetra Pak.

          1609. According to Annual Reports for the LWD Incinerator Site, manifested waste

   containing hazardous substances totaling 1,833 lbs. was transported from Tetra Pak, with EPA

   ID No. IND058958125, to the LWD Incinerator Site in 1984; two shipments of manifested waste

   containing hazardous substances totaling 9,240 lbs. were transported from Tetra Pak, with EPA

   ID No. IND058958125, to the LWD Incinerator Site in 1992; six shipments of manifested waste

   containing hazardous substances totaling 26,897 lbs. were transported from Tetra Pak, with EPA

   ID No. MOD066919275, to the LWD Incinerator Site in 1992; eight shipments of manifested

   waste containing hazardous substances totaling 39,110 lbs. were transported from Tetra Pak,

   with EPA ID No. IND058958125, to the LWD Incinerator Site in 1993; four shipments of

   manifested waste containing hazardous substances totaling 14,220 lbs. were transported from

   Tetra Pak, with EPA ID No. MOD066919275, to the LWD Incinerator Site in 1993; two

   shipments of manifested waste containing hazardous substances totaling 7,106 lbs. were

   transported from Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in

   1994; six shipments of manifested waste containing hazardous substances totaling 22,018 lbs.

   were transported from Tetra Pak, with EPA ID No. MOD066919275, to the LWD Incinerator

   Site in 1994; three shipments of manifested waste containing hazardous substances totaling

   15,110 lbs. were transported from Tetra Pak, with EPA ID No. IND058958125, to the LWD




                                                 221
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 222 of 255 PageID #: 222




   Incinerator Site in 1995; four shipments of manifested waste containing hazardous substances

   totaling 7,339 lbs. were transported from Tetra Pak, with EPA ID No. MOD066919275, to the

   LWD Incinerator Site in 1995; five shipments of manifested waste containing hazardous

   substances totaling 16,961 lbs. were transported from Tetra Pak, with EPA ID No.

   IND058958125, to the LWD Incinerator Site in 1996; three shipments of manifested waste

   containing hazardous substances totaling 13,798 lbs. were transported from Tetra Pak, with EPA

   ID No. IND058958125, to the LWD Incinerator Site in 1997; two shipments of manifested waste

   containing hazardous substances totaling 9,046 lbs. were transported from Tetra Pak, with EPA

   ID No. MOD066919275, to the LWD Incinerator Site in 1997; four shipments of manifested

   waste containing hazardous substances totaling 18,055 lbs. were transported from Tetra Pak,

   with EPA ID No. IND058958125, to the LWD Incinerator Site in 1998; two shipments of

   manifested waste containing hazardous substances totaling 12,575 lbs. were transported from

   Tetra Pak, with EPA ID No. MOD066919275, to the LWD Incinerator Site in 1998; four

   shipments of manifested waste containing hazardous substances totaling 18,055 lbs. were

   transported from Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in

   1998; six shipments of manifested waste containing hazardous substances totaling 26,922 lbs.

   were transported from Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site

   in 1999; manifested waste containing hazardous substances totaling 14,338 lbs. was transported

   from Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in 2000;

   manifested waste containing hazardous substances totaling 3,322 lbs. was transported from Tetra

   Pak, with EPA ID No. MOD066919275, to the LWD Incinerator Site in 2000; one shipment of

   manifested waste containing hazardous substances totaling 777 lbs. was transported from Tetra

   Pak, with EPA ID No. MOD066919275, to the LWD Incinerator Site in 2001; four shipments of




                                                 222
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 223 of 255 PageID #: 223




   manifested waste containing hazardous substances totaling 5,069 lbs. were transported from

   Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in 2001; one shipment

   of manifested waste containing hazardous substances totaling 978 lbs. was transported from

   Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in 2002; one shipment

   of manifested waste containing hazardous substances totaling 985 lbs. was transported from

   Tetra Pak, with EPA ID No. MOD066919275, to the LWD Incinerator Site in 2003; and two

   shipments of manifested waste containing hazardous substances totaling 1,771 lbs. were

   transported from Tetra Pak, with EPA ID No. IND058958125, to the LWD Incinerator Site in

   2003.

           1610. The total weight attributable to Tetra Pak at the LWD Incinerator Site is 267,468

   lbs.

           1611. To date, Tetra Pak has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1612. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant TI

   Automotive (“TI”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

           1613. TI is the successor to Bundy Tubing.

           1614. EPA issued EPA ID No. KYD004251377 to Bundy Tubing.

           1615. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 22,366 lbs. were transported from

   Bundy Tubing, with EPA ID No. KYD004251377, to the LWD Incinerator Site in 1982; three

   shipments of manifested waste containing hazardous substances totaling 73,762 lbs. were

   transported from Bundy Tubing, with EPA ID No. KYD004251377, to the LWD Incinerator Site




                                                 223
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 224 of 255 PageID #: 224




   in 1986; three shipments of manifested waste containing hazardous substances totaling 60,809

   lbs. were transported from Bundy Tubing, with EPA ID No. KYD004251377, to the LWD

   Incinerator Site in 1987; one shipment of manifested waste containing hazardous substances

   totaling 16,660 lbs. was transported from Bundy Tubing, with EPA ID No. KYD004251377, to

   the LWD Incinerator Site in 1988; two shipments of manifested waste containing hazardous

   substances totaling 5,499 lbs. were transported from Bundy Tubing, with EPA ID No.

   KYD004251377, to the LWD Incinerator Site in 1993; and one shipment of manifested waste

   containing hazardous substances totaling 1,529 lbs. was transported from Bundy Tubing, with

   EPA ID No. KYD004251377, to the LWD Incinerator Site in 1996.

          1616. The total weight attributable to TI at the LWD Incinerator Site is 180,625 lbs.

          1617. To date, TI has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1618. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Titan Express, Inc. (“Titan Express”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1619. EPA issued EPA ID No. ILP200001683 to Titan Express.

          1620. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 33,660 lbs. was transported from

   Titan Express, with EPA ID No. ILP200001683, to the LWD Incinerator Site in 1996.

          1621. The total weight attributable to Titan Express at the LWD Incinerator Site is

   33,660 lbs.

          1622. To date, Titan Express has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.




                                                 224
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 225 of 255 PageID #: 225




          1623. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Titan International, Inc. (“Titan International”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1624. EPA issued EPA ID No. ILD980824734 to Titan International.

          1625. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 7,330 lbs. were transported from

   Titan International, with EPA ID No. ILD980824734, to the LWD Incinerator Site in 1984; one

   shipment of manifested waste containing hazardous substances totaling 12,370 lbs. was

   transported from Titan International, with EPA ID No. ILD980824734, to the LWD Incinerator

   Site in 1985; two shipments of manifested waste containing hazardous substances totaling

   16,952 lbs. were transported from Titan International, with EPA ID No. ILD980824734, to the

   LWD Incinerator Site in 1986; two shipments of manifested waste containing hazardous

   substances totaling 8,247 lbs. were transported from Titan International, with EPA ID No.

   ILD980824734, to the LWD Incinerator Site in 1987; and two shipments of manifested waste

   containing hazardous substances totaling 16,743 lbs. were transported from Titan International,

   with EPA ID No. ILD980824734, to the LWD Incinerator Site in 1988.

          1626. The total weight attributable to Titan International at the LWD Incinerator Site is

   61,642 lbs.

          1627. To date, Titan International has not paid toward any response costs incurred by

   the LWD PRP Group at the LWD Incinerator Site.

          1628. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Titan Tube Fabricators, Inc. (“Titan Tube”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.




                                                  225
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 226 of 255 PageID #: 226




           1629. EPA issued EPA ID No. MOD095485348 to Titan Tube.

           1630. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 458 lbs. was transported from Titan

   Tube, with EPA ID No. MOD095485348, to the LWD Incinerator Site in 1988; one shipment of

   manifested waste containing hazardous substances totaling 916 lbs. was transported from Titan

   Tube, with EPA ID No. MOD095485348, to the LWD Incinerator Site in 1989; and one

   shipment of manifested waste containing hazardous substances totaling 8,247 lbs. was

   transported from Titan Tube, with EPA ID No. MOD095485348, to the LWD Incinerator Site in

   1990.

           1631. The total weight attributable to Titan Tube at the LWD Incinerator Site is 9,621

   lbs.

           1632. To date, Titan Tube has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1633. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Tom

   Frank Enterprises, Inc. (“Tom Frank”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1634. EPA issued EPA ID No. OHD052860624 to Tom Frank.

           1635. According to Annual Reports for the LWD Incinerator Site, one shipments of

   manifested waste containing hazardous substances totaling 23,324 lbs. was transported from

   Tom Frank, with EPA ID No. OHD052860624, to the LWD Incinerator Site in 1986.

           1636. The total weight attributable to Tom Frank at the LWD Incinerator Site is 23,324

   lbs.

           1637. To date, Tom Frank has not paid toward any response costs incurred by the LWD




                                                 226
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 227 of 255 PageID #: 227




   PRP Group at the LWD Incinerator Site.

           1638. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Tower International, Inc. (“Tower”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1639. Tower is the successor to A.O. Smith Automotive Products Co.

           1640. EPA issued EPA ID No. WID006085815 to A.O. Smith Automotive Products Co.

           1641. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 19,159 lbs. was transported from

   A.O. Smith Automotive Products Co., with EPA ID No. WID006085815, to the LWD

   Incinerator Site in 1986; and one shipment of manifested waste containing hazardous substances

   totaling 34,570 lbs. was transported from A.O. Smith Automotive Products Co., with EPA ID

   No. WID006085815, to the LWD Incinerator Site in 1987.

           1642. The total weight attributable to Tower at the LWD Incinerator Site is 53,729 lbs.

           1643. To date, Tower has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

           1644. EPA issued EPA ID No. KYD071329635 and EPA ID No. KYTMP0001049 to

   Transit Authority of River City, Kentucky (“TARC”).

           1645. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 1,200 lbs. was transported from

   TARC, with EPA ID No. KYTMP0001049, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 8,302 lbs. was

   transported from TARC, with EPA ID No. KYD071329635, to the LWD Incinerator Site in

   1992.




                                                 227
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 228 of 255 PageID #: 228




          1646. The total weight attributable to TARC at the LWD Incinerator Site is 9,502 lbs.

          1647. To date, TARC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1648. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant Tri-

   Con Industries, Ltd. (“Tri-Con”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1649. EPA issued EPA ID No. NED980973711 to Tri-Con.

          1650. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 8,414 lbs. was transported from Tri-

   Con, with EPA ID No. NED980973711, to the LWD Incinerator Site in 1990.

          1651. The total weight attributable to Tri-Con at the LWD Incinerator Site is 8,414 lbs.

          1652. To date, Tri-Con has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1653. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Trumbull River Service, Inc. (“Trumbull River”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1654. EPA issued EPA ID No. ILR000002923 to Trumbull River.

          1655. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 3,670 lbs. was transported from

   Trumbull River, with EPA ID No. ILR000002923, to the LWD Incinerator Site in 1995; one

   shipment of manifested waste containing hazardous substances totaling 4,128 lbs. was

   transported from Trumbull River, with EPA ID No. ILR000002923, to the LWD Incinerator Site

   in 1996; and one shipment of manifested waste containing hazardous substances totaling 3,588




                                                 228
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 229 of 255 PageID #: 229




   lbs. was transported from Trumbull River, with EPA ID No. ILR000002923, to the LWD

   Incinerator Site in 1997.

          1656. The total weight attributable to Trumbull River at the LWD Incinerator Site is

   11,386 lbs.

          1657. To date, Trumbull River has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1658. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   TWA Inc. (“TWA”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1659. TWA is also known as Trans World Airlines, Inc.

          1660. EPA issued EPA ID No. MOD043935048 and EPA ID No. MOD981123409 to

   Trans World Airlines, Inc.

          1661. According to Annual Reports for the LWD Incinerator Site, five shipments of

   manifested waste containing hazardous substances totaling 132,364 lbs. were transported from

   Trans World Airlines, Inc., with EPA ID No. MOD043935048, to the LWD Incinerator Site in

   1986; four shipments of manifested waste containing hazardous substances totaling 72,088 lbs.

   were transported from Trans World Airlines, Inc., with EPA ID No. MOD043935048, to the

   LWD Incinerator Site in 1987; and one shipment of manifested waste containing hazardous

   substances totaling 459 lbs. was transported from Trans World Airlines, Inc., with EPA ID No.

   MOD981123409, to the LWD Incinerator Site in 1993.

          1662. The total weight attributable to TWA at the LWD Incinerator Site is 204,911 lbs.

          1663. To date, TWA has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.




                                                229
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 230 of 255 PageID #: 230




          1664. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Twinplex Manufacturing Co. (“Twinplex”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1665. EPA issued EPA ID No. ILD005066717 to Twinplex.

          1666. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 2,291 lbs. was transported from

   Twinplex, with EPA ID No. ILD005066717, to the LWD Incinerator Site in 1985; one shipment

   of manifested waste containing hazardous substances totaling 1,833 lbs. was transported from

   Twinplex, with EPA ID No. ILD005066717, to the LWD Incinerator Site in 1986; and one

   shipment of manifested waste containing hazardous substances totaling 916 lbs. was transported

   from Twinplex, with EPA ID No. ILD005066717, to the LWD Incinerator Site in 1987.

          1667. The total weight attributable to Twinplex at the LWD Incinerator Site is 5,040 lbs.

          1668. To date, Twinplex has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1669. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   United Petroleum Service, Inc. (“United Petroleum”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1670. EPA issued EPA ID No. MOD031106677 to United Petroleum.

          1671. According to Annual Reports for the LWD Incinerator Site, six shipments of

   manifested waste containing hazardous substances totaling 12,456 lbs. were transported from

   United Petroleum, with EPA ID No. MOD031106677, to the LWD Incinerator Site in 1986;

   twelve shipments of manifested waste containing hazardous substances totaling 7,505 lbs. were

   transported from United Petroleum, with EPA ID No. MOD031106677, to the LWD Incinerator




                                                230
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 231 of 255 PageID #: 231




   Site in 1987; and eleven shipments of manifested waste containing hazardous substances totaling

   13,953 lbs. were transported from United Petroleum, with EPA ID No. MOD031106677, to the

   LWD Incinerator Site in 1988.

          1672. The total weight attributable to United Petroleum at the LWD Incinerator Site is

   33,914 lbs.

          1673. To date, United Petroleum has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1674. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   United States Gypsum Co. (“US Gypsum”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1675. EPA issued EPA ID No. IAD005273107 to US Gypsum.

          1676. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 2,294 lbs. was transported from US

   Gypsum, with EPA ID No. IAD005273107, to the LWD Incinerator Site in 1995; one shipment

   of manifested waste containing hazardous substances totaling 170 lbs. was transported from US

   Gypsum, with EPA ID No. IAD005273107, to the LWD Incinerator Site in 1998; two shipments

   of manifested waste containing hazardous substances totaling 3,033 lbs. were transported from

   US Gypsum, with EPA ID No. IAD005273107, to the LWD Incinerator Site in 1999; and one

   shipment of manifested waste containing hazardous substances totaling 231 lbs. was transported

   from US Gypsum, with EPA ID No. IAD005273107, to the LWD Incinerator Site in 2001.

          1677. The total weight attributable to US Gypsum at the LWD Incinerator Site is 5,728

   lbs.

          1678. To date, US Gypsum has not paid toward any response costs incurred by the




                                                231
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 232 of 255 PageID #: 232




   LWD PRP Group at the LWD Incinerator Site.

          1679. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Universal Music Group, Inc. (“Universal Music”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1680. Universal Music is the successor to MCA Distributing Corp.

          1681. EPA issued EPA ID No. ILD075889238 to MCA Distributing Corp.

          1682. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 23,324 lbs. was transported from

   MCA Distributing Corp., with EPA ID No. ILD075889238, to the LWD Incinerator Site in 1988;

   and one shipment of manifested waste containing hazardous substances totaling 24,990 lbs. was

   transported from MCA Distributing Corp., with EPA ID No. ILD075889238, to the LWD

   Incinerator Site in 1989.

          1683. The total weight attributable to Universal Music at the LWD Incinerator Site is

   48,314 lbs.

          1684. To date, Universal Music has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1685. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   University of Illinois-Urbana Main Campus (“Univ. of Illinois”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1686. EPA issued EPA ID No. ILD041544081 to Univ. of Illinois.

          1687. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 33,154 lbs. were transported from

   Univ. of Illinois, with EPA ID No. ILD041544081, to the LWD Incinerator Site in 1985; four




                                                232
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 233 of 255 PageID #: 233




   shipments of manifested waste containing hazardous substances totaling 52,979 lbs. were

   transported from Univ. of Illinois, with EPA ID No. ILD041544081, to the LWD Incinerator Site

   in 1986; six shipments of manifested waste containing hazardous substances totaling 32,445 lbs.

   were transported from Univ. of Illinois, with EPA ID No. ILD041544081, to the LWD

   Incinerator Site in 1987; ten shipments of manifested waste containing hazardous substances

   totaling 83,467 lbs. were transported from Univ. of Illinois, with EPA ID No. ILD041544081, to

   the LWD Incinerator Site in 1988; and three shipments of manifested waste containing

   hazardous substances totaling 41,692 lbs. were transported from Univ. of Illinois, with EPA ID

   No. ILD041544081, to the LWD Incinerator Site in 1989.

          1688. The total weight attributable to Univ. of Illinois at the LWD Incinerator Site is

   243,736 lbs.

          1689. To date, Univ. of Illinois has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1690. By letter dated July 23, 2012, the LWD PRP Group demanded that Defendant

   University of Iowa (“Univ. of Iowa”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1691. EPA issued EPA ID No. IAD062761671 to Univ. of Iowa.

          1692. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 26,656 lbs. was transported from

   Univ. of Iowa, with EPA ID No. IAD062761671, to the LWD Incinerator Site in 1983; one

   shipment of manifested waste containing hazardous substances totaling 41,650 lbs. was

   transported from Univ. of Iowa, with EPA ID No. IAD062761671, to the LWD Incinerator Site

   in 1986; and two shipments of manifested waste containing hazardous substances totaling 83,300




                                                 233
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 234 of 255 PageID #: 234




   lbs. were transported from Univ. of Iowa, with EPA ID No. IAD062761671, to the LWD

   Incinerator Site in 1987.

          1693. The total weight attributable to Univ. of Iowa at the LWD Incinerator Site is

   151,606 lbs.

          1694. To date, Univ. of Iowa has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1695. EPA issued EPA ID No. KYD985115138 to Urban Renewal & Community

   Development Agency (“Urban Renewal”).

          1696. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 118,260 lbs. were transported from

   Urban Renewal, with EPA ID No. KYD985115138, to the LWD Incinerator Site in 1993.

          1697. The total weight attributable to Urban Renewal at the LWD Incinerator Site is

   118,260 lbs.

          1698. To date, Urban Renewal has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1699. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant US

   Ecology, Inc. (“US Ecology”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1700. US Ecology is the successor to Dynecol, Inc.

          1701. EPA issued EPA ID No. MID074259565 to Dynecol, Inc.

          1702. According to Annual Reports for the LWD Incinerator Site, three shipments of

   manifested waste containing hazardous substances totaling 8,515 lbs. were transported from

   Dynecol, Inc., with EPA ID No. MID074259565, to the LWD Incinerator Site in 2000.




                                                234
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 235 of 255 PageID #: 235




           1703. The total weight attributable to US Ecology at the LWD Incinerator Site is 8,515

   lbs.

           1704. To date, US Ecology has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1705. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   USEC, Inc. (“USEC”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

           1706. EPA issued EPA ID No. KYR000004424 and EPA ID No. OHD987054723 to

   USEC.

           1707. According to Annual Reports for the LWD Incinerator Site, thirteen shipments of

   manifested waste containing hazardous substances totaling 2,757 lbs. were transported from

   USEC, with EPA ID No. KYR000004424, to the LWD Incinerator Site in 2000; twenty-five

   shipments of manifested waste containing hazardous substances totaling 9,490 lbs. were

   transported from USEC, with EPA ID No. OHD987054723, to the LWD Incinerator Site in

   2000; one shipment of manifested waste containing hazardous substances totaling 742 lbs. was

   transported from USEC, with EPA ID No. KYR000004424, to the LWD Incinerator Site in

   2001; four shipments of manifested waste containing hazardous substances totaling 4,876 lbs.

   were transported from USEC, with EPA ID No. OHD987054723, to the LWD Incinerator Site in

   2001; three shipments of manifested waste containing hazardous substances totaling 3,750 lbs.

   were transported from USEC, with EPA ID No. OHD987054723, to the LWD Incinerator Site in

   2002; and one shipment of manifested waste containing hazardous substances totaling 573 lbs.

   was transported from USEC, with EPA ID No. OHD987054723, to the LWD Incinerator Site in

   2003.




                                                 235
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 236 of 255 PageID #: 236




          1708. The total weight attributable to USEC at the LWD Incinerator Site is 22,188 lbs.

          1709. To date, USEC has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1710. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Vanchem, Inc. (“Vanchem”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1711. EPA issued EPA ID No. NYD175773779 to Vanchem.

          1712. According to Annual Reports for the LWD Incinerator Site, nine shipments of

   manifested waste containing hazardous substances totaling 96,060 lbs. were transported from

   Vanchem, with EPA ID No. NYD175773779, to the LWD Incinerator Site in 1996.

          1713. The total weight attributable to Vanchem at the LWD Incinerator Site is 96,060

   lbs.

          1714. To date, Vanchem has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1715. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Vi-

   Jon, Inc. (“Vi-Jon”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1716. Vi-Jon is the successor to Cumberland Swan, Inc.

          1717. EPA issued EPA ID No. TND083523996 to Cumberland Swan, Inc.

          1718. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 75,440 lbs. were transported from

   Cumberland Swan, Inc., with EPA ID No. TND083523996, to the LWD Incinerator Site in 1999;

   and one shipment of manifested waste containing hazardous substances totaling 39,280 lbs. was




                                                  236
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 237 of 255 PageID #: 237




   transported from Cumberland Swan, Inc., with EPA ID No. TND083523996, to the LWD

   Incinerator Site in 2000.

          1719. The total weight attributable to Vi-Jon at the LWD Incinerator Site is 114,720 lbs.

          1720. To date, Vi-Jon has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1721. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   W.R. Grace and Co. (“W.R. Grace”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1722. EPA issued EPA ID No. KYD006394225, KYD985114966 and IND066897307

   to W.R. Grace.

          1723. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,258 lbs. was transported from W.R.

   Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1982; one shipment of

   manifested waste containing hazardous substances totaling 6,643 lbs. was transported from W.R.

   Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1983; two shipments

   of manifested waste containing hazardous substances totaling 1,925 lbs. were transported from

   W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1985; three

   shipments of manifested waste containing hazardous substances totaling 3,321 lbs. were

   transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in

   1986; one shipment of manifested waste containing hazardous substances totaling 1,717 lbs. was

   transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in

   1987; three shipments of manifested waste containing hazardous substances totaling 27,281 lbs.

   were transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator




                                                 237
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 238 of 255 PageID #: 238




   Site in 1988; one shipment of manifested waste containing hazardous substances totaling 8,705

   lbs. was transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD

   Incinerator Site in 1989; one shipment of manifested waste containing hazardous substances

   totaling 8,330 lbs. was transported from W.R. Grace, with EPA ID No. IND066897307, to the

   LWD Incinerator Site in 1989; one shipment of manifested waste containing hazardous

   substances totaling 3,211 lbs. was transported from W.R. Grace, with EPA ID No.

   KYD006394225, to the LWD Incinerator Site in 1991; two shipments of manifested waste

   containing hazardous substances totaling 917 lbs. were transported from W.R. Grace, with EPA

   ID No. KYD006394225, to the LWD Incinerator Site in 1994; eight shipments of manifested

   waste containing hazardous substances totaling 23,926 lbs. were transported from W.R. Grace,

   with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1995; seven shipments of

   manifested waste containing hazardous substances totaling 3,670 lbs. were transported from

   W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in 1996; five

   shipments of manifested waste containing hazardous substances totaling 33,948 lbs. were

   transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator Site in

   1997; five shipments of manifested waste containing hazardous substances totaling 93,232 lbs.

   were transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD Incinerator

   Site in 1999; one shipment of manifested waste containing hazardous substances totaling 47,460

   lbs. was transported from W.R. Grace, with EPA ID No. KYD006394225, to the LWD

   Incinerator Site in 2000; six shipments of manifested waste containing hazardous substances

   totaling 155,938 lbs. were transported from W.R. Grace, with EPA ID No. KYD985114966, to

   the LWD Incinerator Site in 2001; and three shipments of manifested waste containing

   hazardous substances totaling 94,780 lbs. were transported from W.R. Grace, with EPA ID No.




                                                 238
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 239 of 255 PageID #: 239




   KYD006394225, to the LWD Incinerator Site in 2002.

          1724. The total weight attributable to W.R. Grace at the LWD Incinerator Site is

   521,262 lbs.

          1725. To date, W.R. Grace has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1726. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Wabtec Corp. (“Wabtec”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1727. Wabtec is the successor to Universal Railway Devices.

          1728. EPA issued EPA ID No. ILD000821801 to Universal Railway Devices.

          1729. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 11,454 lbs. was transported from

   Universal Railway Devices, with EPA ID No. ILD000821801, to the LWD Incinerator Site in

   1986; and one shipment of manifested waste containing hazardous substances totaling 1,374 lbs.

   was transported from Universal Railway Devices, with EPA ID No. ILD000821801, to the LWD

   Incinerator Site in 1987.

          1730. The total weight attributable to Wabtec at the LWD Incinerator Site is 12,828 lbs.

          1731. To date, Wabtec has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1732. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Wade Billadeau Farms, Inc. (“Billadeau Farms”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1733. EPA issued EPA ID No. NDD986270387 to Billadeau Farms.




                                                239
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 240 of 255 PageID #: 240




          1734. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 16,469 lbs. was transported from

   Billadeau Farms, with EPA ID No. NDD986270387, to the LWD Incinerator Site in 1992.

          1735. The total weight attributable to Billadeau Farms at the LWD Incinerator Site is

   16,469 lbs.

          1736. To date, Billadeau Farms has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1737. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Warren Paint and Color Co. (“Warren Paint”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1738. EPA issued EPA ID No. TND089553945 to Warren Paint.

          1739. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 18,600 lbs. was transported from

   Warren Paint, with EPA ID No. TND089553945, to the LWD Incinerator Site in 1997.

          1740. The total weight attributable to Warren Paint at the LWD Incinerator Site is

   18,600 lbs.

          1741. To date, Warren Paint has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1742. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Waste Express, Inc. (“Waste Express”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1743. Waste Express is the successor to Haz-Mat Response Disposal, Inc.

          1744. EPA issued EPA ID No. MOD981123391 to Haz-Mat Response Disposal, Inc.




                                                240
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 241 of 255 PageID #: 241




          1745. According to Annual Reports for the LWD Incinerator Site, ten shipments of

   manifested waste containing hazardous substances totaling 248,260 lbs. were transported from

   Haz-Mat Response Disposal, Inc., with EPA ID No. MOD981123391, to the LWD Incinerator

   Site in 1996.

          1746. The total weight attributable to Waste Express at the LWD Incinerator Site is

   248,260 lbs.

          1747. To date, Waste Express has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1748. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Watts and Durr Oil Company, Inc. (“Watts and Durr”) pay its equitable share of LWD

   Incinerator Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1749. EPA issued EPA ID No. KYD985072453 to Watts and Durr.

          1750. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 8,538 lbs. was transported from

   Watts and Durr, with EPA ID No. KYD985072453, to the LWD Incinerator Site in 1990.

          1751. The total weight attributable to Watts and Durr at the LWD Incinerator Site is

   8,538 lbs.

          1752. To date, Watts and Durr has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1753. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Westwind Composites Inc. (“Westwind”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1754. EPA issued EPA ID No. TXP490318584 to Westwind.




                                                241
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 242 of 255 PageID #: 242




          1755. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 20,306 lbs. were transported from

   Westwind, with EPA ID No. TXP490318584, to the LWD Incinerator Site in 2002.

          1756. The total weight attributable to Westwind at the LWD Incinerator Site is 20,306

   lbs.

          1757. To date, Westwind has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1758. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Wheeler Lumber, LLC (“Wheeler Lumber”) pay its equitable share of LWD Incinerator Site

   response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1759. EPA issued EPA ID No. SDD061536843 to Wheeler Lumber.

          1760. According to Annual Reports for the LWD Incinerator Site, eight shipments of

   manifested waste containing hazardous substances totaling 203,005 lbs. were transported from

   Wheeler Lumber, with EPA ID No. SDD061536843, to the LWD Incinerator Site in 1999.

          1761. The total weight attributable to Wheeler Lumber at the LWD Incinerator Site is

   203,005 lbs.

          1762. To date, Wheeler Lumber has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

          1763. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Wil-

   Rich LLC (“Wil-Rich”) pay its equitable share of LWD Incinerator Site response costs pursuant

   to Sections 107(a) and 113(f)(1) of CERCLA.

          1764. EPA issued EPA ID No. NDD031875719 to Wil-Rich.

          1765. According to Annual Reports for the LWD Incinerator Site, two shipments of




                                                 242
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 243 of 255 PageID #: 243




   manifested waste containing hazardous substances totaling 48,106 lbs. were transported from

   Wil-Rich, with EPA ID No. NDD031875719, to the LWD Incinerator Site in 1989.

          1766. The total weight attributable to Wil-Rich at the LWD Incinerator Site is 48,106

   lbs.

          1767. To date, Wil-Rich has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1768. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Willert Home Products, Inc. (“Willert”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1769. Willert is the successor to Kenova Chemical Co.

          1770. EPA issued EPA ID No. WVD006320899 to Kenova Chemical Co.

          1771. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 56,440 lbs. were transported from

   Kenova Chemical Co., with EPA ID No. WVD006320899, to the LWD Incinerator Site in 1994.

          1772. The total weight attributable to Willert at the LWD Incinerator Site is 56,440 lbs.

          1773. To date, Willert has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1774. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Wipaire, Inc. (“Wipaire”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1775. EPA issued EPA ID No. MND985694736 to Wipaire.

          1776. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 10,050 lbs. were transported from




                                                 243
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 244 of 255 PageID #: 244




   Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site in 1993; two

   shipments of manifested waste containing hazardous substances totaling 32,216 lbs. were

   transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site in

   1994; two shipments of manifested waste containing hazardous substances totaling 2,440 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 1995; two shipments of manifested waste containing hazardous substances totaling 1,220 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 1996; two shipments of manifested waste containing hazardous substances totaling 561 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 1997; two shipments of manifested waste containing hazardous substances totaling 843 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 1998; two shipments of manifested waste containing hazardous substances totaling 1,605 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 1999; two shipments of manifested waste containing hazardous substances totaling 1,632 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 2000; two shipments of manifested waste containing hazardous substances totaling 1,130 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 2001; two shipments of manifested waste containing hazardous substances totaling 1,551 lbs.

   were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator Site

   in 2002; and two shipments of manifested waste containing hazardous substances totaling 1,058

   lbs. were transported from Wipaire, with EPA ID No. MND985694736, to the LWD Incinerator

   Site in 2003.

          1777. The total weight attributable to Wipaire at the LWD Incinerator Site is 54,306 lbs.




                                                 244
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 245 of 255 PageID #: 245




           1778. To date, Wipaire has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1779. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Wolverine Pipe Line Co. (“Wolverine”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1780. EPA issued EPA ID No. MID079283446 and EPA ID No. MI0000105197 to

   Wolverine.

           1781. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 6,405 lbs. was transported from

   Wolverine, with EPA ID No. MID079283446, to the LWD Incinerator Site in 1993; and one

   shipment of manifested waste containing hazardous substances totaling 6,100 lbs. was

   transported from Wolverine, with EPA ID No. MI0000105197, to the LWD Incinerator Site in

   1994.

           1782. The total weight attributable to Wolverine at the LWD Incinerator Site is 12,505

   lbs.

           1783. To date, Wolverine has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1784. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Woodward, Inc. (“Woodward”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1785. Woodward is formerly known as Woodward Governor Co.

           1786. EPA issued EPA ID No. ILD000810549 and EPA ID No. ILD005069380 to

   Woodward Governor Co.




                                                 245
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 246 of 255 PageID #: 246




          1787. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 14,203 lbs. was transported from

   Woodward Governor Co., with EPA ID No. ILD005069380, to the LWD Incinerator Site in

   1985; three shipments of manifested waste containing hazardous substances totaling 11,912 lbs.

   were transported from Woodward Governor Co., with EPA ID No. ILD000810549, to the LWD

   Incinerator Site in 1985; four shipments of manifested waste containing hazardous substances

   totaling 6,331 lbs. were transported from Woodward Governor Co., with EPA ID No.

   ILD005069380, to the LWD Incinerator Site in 1986; and one shipment of manifested waste

   containing hazardous substances totaling 746 lbs. was transported from Woodward Governor

   Co., with EPA ID No. ILD005069380, to the LWD Incinerator Site in 1987.

          1788. The total weight attributable to Woodward at the LWD Incinerator Site is 33,191

   lbs.

          1789. To date, Woodward has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

          1790. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Wurth USA, Inc. (“Wurth”) pay its equitable share of LWD Incinerator Site response costs

   pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1791. EPA issued EPA ID No. NJD000229500 to Wurth.

          1792. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 8,388 lbs. was transported from

   Wurth, with EPA ID No. NJD000229500, to the LWD Incinerator Site in 2001.

          1793. The total weight attributable to Wurth at the LWD Incinerator Site is 8,388 lbs.

          1794. To date, Wurth has not paid toward any response costs incurred by the LWD PRP




                                                 246
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 247 of 255 PageID #: 247




   Group at the LWD Incinerator Site.

          1795. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Xpac, Inc. (“Xpac”) pay its equitable share of LWD Incinerator Site response costs pursuant to

   Sections 107(a) and 113(f)(1) of CERCLA.

          1796. Xpac is formerly known as Export Packaging.

          1797. EPA issued EPA ID No. ILD038409975 to Export Packaging.

          1798. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 5,081 lbs. was transported from

   Export Packaging, with EPA ID No. ILD038409975, to the LWD Incinerator Site in 1984; one

   shipment of manifested waste containing hazardous substances totaling 5,956 lbs. was

   transported from Export Packaging, with EPA ID No. ILD038409975, to the LWD Incinerator

   Site in 1985; two shipments of manifested waste containing hazardous substances totaling 3,665

   lbs. were transported from Export Packaging, with EPA ID No. ILD038409975, to the LWD

   Incinerator Site in 1986; and one shipment of manifested waste containing hazardous substances

   totaling 4,582 lbs. was transported from Export Packaging, with EPA ID No. ILD038409975, to

   the LWD Incinerator Site in 1987.

          1799. The total weight attributable to Xpac at the LWD Incinerator Site is 19,284 lbs.

          1800. To date, Xpac has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1801. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Yenkin-Majestic Paint Corp. (“Yenkin-Majestic”) pay its equitable share of LWD Incinerator

   Site response costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1802. EPA issued EPA ID No. OHD004282976 to Yenkin-Majestic.




                                                 247
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 248 of 255 PageID #: 248




           1803. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 40,320 lbs. were transported from

   Yenkin-Majestic, with EPA ID No. OHD004282976, to the LWD Incinerator Site in 1991.

           1804. The total weight attributable to Yenkin-Majestic at the LWD Incinerator Site is

   40,320 lbs.

           1805. To date, Yenkin-Majestic has not paid toward any response costs incurred by the

   LWD PRP Group at the LWD Incinerator Site.

           1806. By letter dated July 9, 2012, the LWD PRP Group demanded that Defendant

   Yunker Industries, Inc. (“Yunker”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

           1807. EPA issued EPA ID No. WID005124789 to Yunker.

           1808. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 900 lbs. was transported from

   Yunker, with EPA ID No. WID005124789, to the LWD Incinerator Site in 1987; one shipment

   of manifested waste containing hazardous substances totaling 900 lbs. was transported from

   Yunker, with EPA ID No. WID005124789, to the LWD Incinerator Site in 1988; and three

   shipments of manifested waste containing hazardous substances totaling 4,050 lbs. were

   transported from Yunker, with EPA ID No. WID005124789, to the LWD Incinerator Site in

   1989.

           1809. The total weight attributable to Yunker at the LWD Incinerator Site is 5,850 lbs.

           1810. To date, Yunker has not paid toward any response costs incurred by the LWD

   PRP Group at the LWD Incinerator Site.

           1811. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant Zalk




                                                 248
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 249 of 255 PageID #: 249




   Josephs Fabricators, LLC (“Zalk”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1812. EPA issued EPA ID No. WID089854822 to Zalk.

          1813. According to Annual Reports for the LWD Incinerator Site, two shipments of

   manifested waste containing hazardous substances totaling 58,000 lbs. were transported from

   Zalk, with EPA ID No. WID089854822, to the LWD Incinerator Site in 1990.

          1814. The total weight attributable to Zalk at the LWD Incinerator Site is 58,000 lbs.

          1815. To date, Zalk has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

          1816. By letter dated June 8, 2012, the LWD PRP Group demanded that Defendant

   Zeller Technologies, Inc. (“Zeller”) pay its equitable share of LWD Incinerator Site response

   costs pursuant to Sections 107(a) and 113(f)(1) of CERCLA.

          1817. EPA issued EPA ID No. MOD006503593 to Zeller.

          1818. According to Annual Reports for the LWD Incinerator Site, one shipment of

   manifested waste containing hazardous substances totaling 33,380 lbs. was transported from

   Zeller, with EPA ID No. MOD006503593, to the LWD Incinerator Site in 2003.

          1819. The total weight attributable to Zeller at the LWD Incinerator Site is 33,380 lbs.

          1820. To date, Zeller has not paid toward any response costs incurred by the LWD PRP

   Group at the LWD Incinerator Site.

                                  COUNT I – COST-RECOVERY

          1821. The LWD PRP Group realleges and incorporates by reference Paragraph Nos. 1

   through 1820 of this Complaint as if fully restated herein.

          1822. Section 107(a)(4) of CERCLA, 42 U.S.C. §§ 9607(a)(4), provides, in relevant




                                                  249
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 250 of 255 PageID #: 250




   part, that:

           Notwithstanding any other provision or rule of law, and subject only to the
           defenses set forth in subsection (b) of this section --

           (1) the owner and operator of a vessel or facility, (2) any person who at the time
           of disposal of any hazardous substance owned or operated any facility at which
           such hazardous substances were disposed of, ... from which there is a release, or
           threatened release which causes the incurrence of response costs, of a hazardous
           substance, shall be liable for -- (A) all costs of removal or remedial action
           incurred by ... a State ... not inconsistent with the national contingency plan; (B)
           any other necessary costs of response incurred by any other person consistent with
           the national contingency plan; ....

           1823. “Disposal” is defined in CERCLA Section 101(29) by reference to the Solid

   Waste Disposal Act (SWDA). 42 U.S.C. § 9601(29). The SWDA defines “disposal” as “the

   discharge, deposit, injection, dumping, spilling, leaking, or placing of any solid waste or

   hazardous waste into or on any land or water so that such solid waste or hazardous waste or any

   constituent thereof may enter the environment or be emitted into the air or discharged into any

   waters, including ground waters.” 42 U.S.C. § 6903(3).

           1824. “Facility” is defined in CERCLA Section 101(9) as “any building, structure,

   installation, equipment, pipe or pipeline” or “any site or area where a hazardous substance has

   been deposited, stored, disposed of, or placed ....” 42 U.S.C. § 9601(9).

           1825.   “Hazardous Substance” is defined in CERCLA Section 101(14) by reference to

   other federal statutes and by reference to a list of substances published by EPA at 40 C.F.R. §

   302.4. 42 U.S.C. § 9601(14).

           1826. “Owner” or “Operator” is defined in CERCLA Section 101(20) as “ ... in the case

   of an onshore facility or an offshore facility, any person owning or operating such facility....” 42

   U.S.C. § 9601(20).

           1827. “Person” is defined in CERCLA Section 101(21) as “an individual, firm,

   corporation, association, partnership, consortium, joint venture, commercial entity, United States


                                                   250
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 251 of 255 PageID #: 251




   Government, State, municipality, commission, political subdivision of a State, or any interstate

   body.” 42 U.S.C. § 9601(20).

          1828. “Release” is defined in CERCLA Section 101(22) as “any spilling, leaking,

   pumping, pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping or

   disposing into the environment (including the abandonment or discarding of barrels, containers,

   and other closed receptacles containing any hazardous substance or pollutant or contaminant)

   ....” 42 U.S.C. § 9601(22).

          1829. “Response” is defined in CERCLA Section 101(25), and includes “removal”

   actions, “remedial” actions, and enforcement activities related thereto. 42 U.S.C. § 9601(25).

          1830. The LWD Incinerator Site is a “facility” within the meaning of Section 101(9) of

   CERCLA, 42 U.S.C. § 9601(9).

          1831. There has been a “release” and/or a “threatened release” of “hazardous

   substances” at the LWD Incinerator Site which has caused the incurrence of “response costs” by

   the LWD PRP Group and its assignors, within the meanings of Sections 101(22), 101(14) and

   107 of CERCLA, 42 U.S.C. §§ 9601(22), 9601(14) and 9607.

          1832. Each of the Defendants is a “person” within the meaning of Section 101(21) of

   CERCLA, 42 U.S.C. § 9601(21).

          1833. Pursuant to CERCLA, 42 U.S.C. § 9607(a), each Defendant is liable as an

   arranger or generator of materials containing hazardous substances, which materials were

   disposed at the LWD Incinerator Site; and/or a transporter of hazardous substances who selected

   the LWD Incinerator Site for the disposal of such hazardous substances, and who did dispose of

   such hazardous substances at the Site.

          1834. As a result of the release and threatened release of hazardous substances at or




                                                  251
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 252 of 255 PageID #: 252




   from the LWD Incinerator Site, the LWD PRP Group has incurred and will continue to incur

   costs of “response,” as that term is defined by Section 101(25) of CERCLA, 42 U.S.C. §

   9601(25).

           1835. The response costs incurred by the LWD PRP Group in connection with the LWD

   Incinerator Site are consistent with the National Contingency Plan, 40 C.F.R. Part 300.

           1836. Pursuant to CERCLA, 42 U.S.C. §§ 9607 and 9613, each Defendant is strictly,

   jointly and severally liable for past and future response costs incurred and to be incurred in

   response to the release or threatened release of hazardous substances at and from the LWD

   Incinerator Site.

           1837. The LWD PRP Group is also entitled to cost recovery from all Defendants

   pursuant to Kentucky Revised Statutes 224.01-400(25), which provides, with regard to

   hazardous substances releases, that defenses to liability, limitations to liability, and rights to

   contribution shall be determined in accordance with Sections 101(35), 101(40), 107(a) to (d),

   107(q) and (r) and 113(f) of CERCLA.

           WHEREFORE, the LWD PRP Group respectfully prays that this Court enter judgment in

   its favor and against all Defendants holding that each Defendant is strictly, jointly and severally

   liable for the response costs incurred or to be incurred, including appropriate pre-judgment

   interest, in connection with the release and/or threatened release of hazardous substances at the

   LWD Incinerator Site. The LWD PRP Group further requests that this Court award interest and

   costs of suit, including reasonable attorneys’ fees and consultant fees as permitted by law; and

   order any such other relief as the Court may deem just and proper under the circumstances.




                                                     252
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 253 of 255 PageID #: 253




                                      COUNT II - CONTRIBUTION

           1838. The LWD PRP Group realleges and incorporates by reference Paragraph Nos. 1

   through 1837 of this Complaint as if fully restated herein.

           1839. Sections 113(f)(1) and (3)(B) of CERCLA, 42 U.S.C. §§ 9613(f)(1) and (3)(B),

   provide, in relevant part, that:

           Any person may seek contribution from any other person who is liable or
           potentially liable under section 9607(a) . . . .

           A person who has resolved its liability to the United States or a State for some or
           all of a response action or for some or all of the costs of such action in an
           administrative or judicially approved settlement may seek contribution from any
           person who is not party to a settlement . . . .

           1840. The LWD PRP Group has resolved its liability to EPA for matters covered in the

   Removal Action AOC.

           1841. All Defendants are liable parties under CERCLA, but have not resolved their

   liability to the LWD PRP Group, EPA or the State of Kentucky.

           1842. The LWD PRP Group is entitled to contribution from all Defendants under

   Section 113(f)(1) of CERCLA, 42 U.S.C. § 9613(f)(1), for Defendants’ respective equitable

   shares of all costs and damages incurred by LWD PRP Group, including applicable interest as

   provided for in Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).

           1843. The LWD PRP Group is also entitled to contribution from all Defendants

   pursuant to Kentucky Revised Statutes 224.01-400(25), which provides, with regard to

   hazardous substances releases, that defenses to liability, limitations to liability, and rights to

   contribution shall be determined in accordance with Sections 101(35), 101(40), 107(a) to (d),

   107(q) and (r) and 113(f) of CERCLA.

           WHEREFORE, the LWD PRP Group respectfully prays that this Court enter judgment in

   their favor and against all Defendants for their respective equitable shares of response costs


                                                     253
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 254 of 255 PageID #: 254




   incurred to date by the LWD PRP Group. The LWD PRP Group further requests that this Court

   award interest and costs of suit, including reasonable attorneys’ fees and consultant fees as

   permitted by law; and order any such other relief as the Court may deem just and proper under

   the circumstances.

                              COUNT III - DECLARATORY RELIEF

           1844. The LWD PRP Group realleges and incorporates by reference Paragraph Nos. 1

   through 1843 of this Complaint as if fully restated herein.

           1845. There is a present and actual controversy between the LWD PRP Group and all

   Defendants concerning their respective rights and obligations with respect to the response costs

   associated with the LWD Incinerator Site.

           1846. Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), provides, in relevant part,

   that:

           In any such action described in this subsection, the court shall enter a declaratory
           judgment on liability for response costs or damages that will be binding on any
           subsequent action or actions to recover further response costs or damages. A
           subsequent action or actions under section 9607 of this title for further response
           costs at the vessel or facility may be maintained at any time during the response
           action, but must be commenced no later than 3 years after the date of completion
           of all response action. Except as otherwise provided in this paragraph, an action
           may be commenced under section 9607 of this title for recovery of costs at any
           time after such costs have been incurred.

           1847. The LWD PRP Group seek a declaratory judgment under Section 113(g)(2) of

   CERCLA, 42 U.S.C. § 9613(g)(2), against all Defendants holding them liable for their respective

   equitable shares of response costs, that will be binding in any subsequent action to recover

   further response costs.

           1848. The LWD PRP Group is further entitled to a declaratory judgment pursuant to 28

   U.S.C. §§ 2201 and 2202, declaring the LWD PRP Group’s rights against all Defendants.




                                                   254
Case 5:12-cv-00127-GNS-HBB Document 1 Filed 08/31/12 Page 255 of 255 PageID #: 255




          1849. The LWD PRP Group is entitled to judgment against all Defendants for past and

   future response costs incurred in connection with the LWD Incinerator Site.

          WHEREFORE, the LWD PRP Group respectfully prays that this Court enter a

   declaratory judgment against all Defendants finding that they are each liable under CERCLA and

   are obligated to pay for their equitable shares of all past and future response costs associated with

   the LWD Incinerator Site. The LWD PRP Group further requests that this Court award interest

   and costs of suit, including reasonable attorneys’ fees and consultant fees as permitted by law;

   and order any such other relief as the Court may deem just and proper under the circumstances.

   Dated: August 31, 2012

                                                  Respectfully submitted,



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                                                   255
